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 8 Attorneys for Defendants
   RALPHS GROCERY COMPANY AND
 9 THE KROGER CO.
10
11                        UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13
                                   WESTERN DIVISION
14
   YOSUKE HIRADATE, an individual, on           Case No. 2:22-cv-3593
15 behalf of himself and all others similarly
16 situated,                                    DEFENDANTS’ NOTICE OF
                                                REMOVAL
17                        Plaintiff,
                                                [From the Superior Court of California,
18        vs.                                   County of Los Angeles, No.
19                                              21TRCV00301]
   RALPHS GROCERY COMPANY, an
20 Ohio Corporation; THE KROGER                 Compl. Filed:            April 19, 2021
   COMPANY, an Ohio Corporation; and            Amend. Compl. Filed:     April 25, 2022
21 DOES 1-50, inclusive,                        Action Removed:          May 25, 2022
22                        Defendants.
23
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     DEFENDANTS’ NOTICE OF REMOVAL
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 2 of 203 Page ID #:2


 1 TO THE CLERK AND TO PLAINTIFF AND HIS ATTORNEYS:
 2         PLEASE TAKE NOTICE that Defendants Ralphs Grocery Company and
 3 The Kroger Co. (collectively, Defendants) hereby remove this action from the
 4 Superior Court of the State of California for the County of Los Angeles to the
 5 United States District Court for the Central District of California. Defendants are
 6 entitled to remove this action to federal district court pursuant to 28 U.S.C. §§ 1332,
 7 1441, and 1446 based on the following:
 8                                   State Court Action
 9         1.    On April 19, 2021, Plaintiff Yosuke Hiradate commenced an
10 individual action in the Superior Court of the State of California in and for the
11 County of Los Angeles, captioned Hiradate v. Ralphs Grocery Co., et al., Case No.
12 21TRCV00301 (the State Court Action). A true and correct copy of the complaint
13 in the State Court Action is attached hereto as Exhibit 1 (the Complaint).
14         2.    On July 7, 2021, Defendants filed a demurrer to the Complaint. A true
15 and correct copy of the demurrer is attached hereto as Exhibit 10. Mr. Hiradate
16 filed a First Amended Complaint (FAC) on January 20, 2022. A true and correct
17 copy of the FAC is attached hereto as Exhibit 16. On April 25, 2022, Mr. Hiradate
18 filed the operative Second Amended Complaint (SAC). A true and correct copy of
19 the SAC is attached hereto as Exhibit 27. Mr. Hiradate served the SAC on
20 Defendants that day.
21         3.    In the SAC, Mr. Hiradate alleges that he purchased a $500 gift card
22 from a Ralphs store, but that third parties defrauded him and Defendants by
23 tampering with the gift card prior to the sale, rendering it worthless. (SAC ¶¶ 10–
24 11.) When Mr. Hiradate reported the fraud, a store employee assisted him in
25 attempting to obtain a refund from the bank that issued the gift card. (Id. ¶ 11.)
26 Even so, Mr. Hiradate claims Defendants should have done more to prevent the
27 third parties’ fraudulent scheme. (Id. ¶ 23.) For the first time in the SAC, Mr.
28 Hiradate now brings these claims on behalf of a putative nationwide class of “all

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 1 persons who purchased a gift card from Ralph’s and/or Kroger . . . who were not
 2 able to utilize the total monetary amount of gift card value purchased[.]” (Id. ¶ 25.)
 3 Mr. Hiradate seeks restitution, damages, and injunctive relief, among other things.
 4 (Id. at p. 16.)
 5         4.    In addition to the pleadings and filings mentioned above, all other
 6 pleadings, processes, and orders served upon or received by Defendants in the State
 7 Court Action or found on the docket in the State Court Action are attached hereto.
 8               a.     The Complaint is attached hereto as Exhibit 1;
 9               b.     The Summons is attached hereto as Exhibit 2;
10               c.     The Civil Case Cover Sheet is attached hereto as Exhibit 3;
11               d.     The Notice of Case Assignment is attached hereto as Exhibit 4;
12               e.     The April 21, 2021 Order to Show Cause re. Failure to File
13                      Proof of Service is attached hereto as Exhibit 5;
14               f.     The April 21, 2021 Notice of Case Management Conference is
15                      attached hereto as Exhibit 6;
16               g.     Plaintiff’s April 27, 2021 Proof of Personal Service on Kroger is
17                      attached hereto as Exhibit 7;
18               h.     Plaintiff’s April 27, 2021 Proof of Personal Service on Ralphs is
19                      attached hereto as Exhibit 8;
20               i.     Defendants’ June 4, 2021 Declaration of Jacob Harper re.
21                      Inability to Meet and Confer is attached hereto as Exhibit 9;
22               j.     Defendants’ July 7, 2021 Demurrer to Complaint is attached
23                      hereto as Exhibit 10;
24               k.     Defendants’ July 7, 2021 Declaration of Jacob Harper in support
25                      of Demurrer is attached hereto as Exhibit 11;
26               l.     Plaintiff’s July 8, 2021 Request for Entry of Default is attached
27                      hereto as Exhibit 12;
28

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 1              m.    Plaintiff’s July 13, 2021 Certificate of Mailing is attached hereto
 2                    as Exhibit 13;
 3              n.    The Clerk’s July 13, 2021 Notice of Rejection of Electronic
 4                    Filing re. Plaintiff’s Request for Entry of Default is attached
 5                    hereto as Exhibit 14;
 6              o.    Defendants’ September 22, 2021 Notice re. Order Continuing
 7                    Case Management Conference and Hearing on Demurrer is
 8                    attached hereto as Exhibit 15;
 9              p.    Plaintiff’s First Amended Complaint is attached hereto as
10                    Exhibit 16;
11              q.    Plaintiff’s January 24, 2022 Case Management Statement is
12                    attached hereto as Exhibit 17;
13              r.    Defendants’ January 25, 2022 Case Management Statement is
14                    attached hereto as Exhibit 18;
15              s.    Defendants’ January 25, 2022 Notice of Non-Opposition to
16                    Demurrer to Complaint is attached hereto as Exhibit 19;
17              t.    Plaintiff’s January 26, 2022 Notice of Timely Filing and Service
18                    of First Amended Complaint is attached hereto as Exhibit 20;
19              u.    The Court’s February 2, 2022 Minute Order re. Case
20                    Management Conference is attached hereto as Exhibit 21;
21              v.    Defendants’ February 24, 2022 Declaration of Jacob Harper re.
22                    Inability to Meet and Confer is attached hereto as Exhibit 22;
23              w.    Plaintiff’s March 11, 2022 Substitution of Attorney is attached
24                    hereto as Exhibit 23;
25              x.    The April 1, 2022 Stipulation to Extend Deadline to Respond to
26                    First Amended Complaint is attached hereto as Exhibit 24;
27              y.    The April 8, 2022 Notice of Continuance is attached hereto as
28                    Exhibit 25;

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 1                 z.    The April 14, 2022 Stipulation to Extend Deadline to Respond
 2                       to First Amended Complaint is attached hereto as Exhibit 26;
 3                 aa.   Plaintiff’s Second Amended Complaint is attached hereto as
 4                       Exhibit 27;
 5                 bb.   Defendants’ May 17, 2022 Case Management Statement is
 6                       attached hereto as Exhibit 28;
 7                 cc.   Plaintiff’s May 17, 2022 Case Management Statement is
 8                       attached hereto as Exhibit 29;
 9                 dd.   The Notice to Plaintiff is attached hereto as Exhibit 30; and
10                 ee.   A copy of the docket in the State Court Action is attached hereto
11                       as Exhibit 31.
12         5.      The State Court Action is removable to this Court because the Court
13 has original jurisdiction and the Central District of California encompasses the
14 location in which the State Court Action is currently pending (i.e., Los Angeles,
15 California). See 28 U.S.C. § 1332(d)(2) (“The district courts shall have original
16 jurisdiction of any civil action in which the matter in controversy exceeds the sum
17 or value of $5,000,000, exclusive of interest and costs, and is a class action in
18 which . . . any member of a class of plaintiffs is a citizen of a State different from
19 any defendant”); 28 U.S.C. § 1441(a) (“[A]ny civil action brought in a State court
20 of which the district courts of the United States have original jurisdiction, may be
21 removed by the defendant . . . to the district court of the United States for the
22 district and division embracing the place where such action is pending.”).
23              The Action Is Removable Under the Class Action Fairness Act,
24                                     28 U.S.C. § 1332(d)
25         6.      This Court has original jurisdiction pursuant to the Class Action
26 Fairness Act of 2005 (CAFA). CAFA was enacted based on Congress’s concern
27 that “cases involving large sums of money, citizens of many different States, and
28 issues of national concern, have been restricted to State courts even though they

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 1 have national consequences.” 151 Cong. Rec. S1086-01, S1103 (Feb. 8, 2005).
 2 CAFA’s purpose is to allow “[f]ederal court consideration of interstate cases of
 3 national importance . . . .” 28 U.S.C. § 1711, stat. note, subd. (b)(2).
 4         7.     “[N]o antiremoval presumption attends cases invoking CAFA, which
 5 Congress enacted to facilitate adjudication of certain class actions in federal court.”
 6 Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014).
 7         8.     CAFA extends federal jurisdiction over class actions where: (1) any
 8 member of the proposed class is a citizen of a state different from any defendant
 9 (i.e., minimal diversity exists); (2) there are at least 100 members in all proposed
10 plaintiff classes combined; (3) the amount in controversy exceeds $5 million; and
11 (4) no exception to jurisdiction applies. See 28 U.S.C. § 1332(d). As explained
12 below, each of these requirements is satisfied in this case.
13                     The Minimal Diversity Requirement Is Satisfied
14         9.     A putative class action is removable based on diversity jurisdiction if
15 “any member of a class of plaintiffs is a citizen of a State different from any
16 defendant . . . .” 28 U.S.C. § 1332(d)(2)(A).
17         10.    Mr. Hiradate is a citizen and resident of California. (SAC ¶ 3.) The
18 putative nationwide class Mr. Hiradate seeks to represent comprises citizens of any
19 and all states. (Id. ¶ 25.)
20         11.    Ralphs and Kroger are corporations incorporated in Ohio and have
21 their principal places of business in Cincinnati, Ohio. A corporation is a citizen of
22 every state in which it is incorporated and of the state it has its principal place of
23 business. See 28 U.S.C. § 1332(c)(1). Thus, Ralphs and Kroger are citizens of
24 Ohio for determining minimal diversity.
25         12.    Therefore, sufficient (and minimal) diversity of citizenship exists
26 between the relevant parties in this case.
27
28

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 1                     Plaintiff’s Proposed Class Exceeds 100 Members
 2         13.    This action is a proposed “class action” under 28 U.S.C.
 3 § 1332(d)(1)(B), which is defined as “any civil action filed under rule 23 of the
 4 Federal Rules of Civil Procedure or similar State statute or rule of judicial
 5 procedure authorizing an action to be brought by 1 or more representative persons
 6 as a class action . . . .”
 7         14.    To remove a class action under CAFA, “the number of members of all
 8 proposed plaintiff classes in the aggregate” must be at least 100. 28 U.S.C. §
 9 1332(d)(5)(B).
10         15.    Mr. Hiradate seeks to represent a class composed of “[a]ll persons who
11 purchased a gift card from a Ralph’s [sic] and/or Kroger store, for a specified
12 monetary amount, and who were not able to utilize the total monetary amount of
13 gift card value purchased, because the total monetary amount was not available on
14 the gift card after purchase.” (SAC ¶ 25.)
15         16.    According to Mr. Hiradate’s SAC, more than 1,000 persons purchased
16 such gift cards. (Id. ¶ 26.)
17         17.    Therefore, according to the SAC, the members of Mr. Hiradate’s
18 proposed class exceed 100.
19                      The Amount in Controversy Exceeds $5 Million
20         18.    Where, as here, “the plaintiff’s complaint does not state the amount in
21 controversy, the defendant’s notice of removal may do so.” Dart Cherokee, 574
22 U.S. at 84. To establish the amount in controversy, a notice of removal “need not
23 contain evidentiary submissions.” Id. Rather, “a defendant’s notice of removal
24 need include only a plausible allegation that the amount in controversy exceeds the
25 jurisdictional threshold.” Id. at 89.
26         19.    For purposes of removal only, and without conceding that Mr. Hiradate
27 or the putative class are entitled to any damages, remedies, or penalties whatsoever,
28 the aggregated claims of the putative class, as pleaded in the SAC, exceed the

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 1 jurisdictional amount of $5,000,000 exclusive of interest and costs. See 28 U.S.C.
 2 § 1332(d)(2); see also Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 397 (9th Cir.
 3 2010) (removing defendant need only show “that the potential damages could
 4 exceed the jurisdictional amount”); Woods v. CVS Pharm., Inc., 2014 WL 360185,
 5 at *2 (C.D. Cal. Jan. 30, 2014) (“The ultimate inquiry is what amount is put ‘in
 6 controversy’ by the plaintiff’s complaint, not what a defendant will actually owe.”)
 7 (alterations and quotations omitted).
 8         20.    The SAC seeks “restitution and disgorgement of the money and
 9 property” Defendants obtained based on the conduct alleged in the SAC, which
10 includes sales of gift cards ranging up to $500 nationwide, and over an unspecified
11 period of time. (SAC at p. 16.) The SAC also seeks “general damages” and
12 “special damages.” (Id.) During the period 2017 through 2021, which is the time
13 period for this complaint, Defendants have sold gift cards with total sales of at least
14 $2.5 million for the period. Thus, without conceding that Mr. Hiradate’s alleged
15 measure of damages would be the proper measure of relief for any of his claims, or
16 that he or any putative plaintiff are entitled to any relief, based on Defendants sales
17 of gift cards nationwide over the past four years, it is reasonably possible that
18 disgorgement or compensatory damages would exceed $2,500,000 in liability.
19         21.    The SAC also seeks “exemplary damages.” (SAC at p. 16.) Juries
20 regularly award exemplary or punitive damages in cases involving CLRA claims at
21 ratios higher than 1:1 compared to compensatory damages. Greene v. Harley-
22 Davidson, Inc., 965 F.3d 767, 772 (9th Cir. 2020) (holding defendant satisfied its
23 burden of establishing the amount in controversy on removal “by citing four cases
24 where juries had awarded punitive damages at ratios higher than 1:1 for claims
25 based on the CLRA”). Thus, without conceding that Mr. Hiradate’s alleged
26 measure of damages would be the proper measure of relief for any of his claims, or
27 that he or any putative plaintiff are entitled to any relief, it is reasonably possible
28 that Defendants could be liable for punitive damages exceeding $2,500,000.

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 1         22.   The SAC also seeks attorneys’ fees. (SAC at p. 16.) In the Ninth
 2 Circuit, likely attorneys’ fees should also be included in the amount in controversy.
 3 See Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155 (9th Cir. 1998). A removing
 4 defendant can establish the likely attorneys’ fees by identifying cases in which
 5 plaintiff’s counsel has requested similar fees. See Greene, 965 F.3d at 774 n.4
 6 (“Based on [defendant’s] evidence that [plaintiff’s] attorney sought 35 percent in a
 7 similar case, it is reasonable to assume that [plaintiff’s] attorney would seek fees
 8 equal to 25 percent of the amount in controversy if he were to prevail.”). Mr.
 9 Hiradate’s attorneys have sought attorneys’ fees equal to 25 percent of the common
10 fund in other class actions involving claims under the UCL, CLRA, FAL, and
11 implied warranty of merchantability. See, e.g., In re MagSafe Apple Power Adapter
12 Litig., 2015 U.S. Dist. LEXIS 11353, at *46 (N.D. Cal. Jan. 30, 2015); In re Toll
13 Rds. Litig. Penny Davidi Borsuk, 2021 U.S. Dist. LEXIS 248189, at *27 (C.D. Cal.
14 May 5, 2021). Accordingly, attorneys’ fees in the amount of 25 percent of the
15 possible common fund should be included in the amount in controversy here.
16 Because it is reasonably possible that the common fund could amount to at least
17 $5,000,000 (compensatory and punitive damages) attorneys’ fees would amount to
18 at least $1,250,000. This comports with numerous class action cases involving
19 California consumer protection statute causes of action (such as claims under the
20 CLRA, the UCL, and warranties) and allegations of false or misleading sales
21 practices, where attorneys have sought in excess of $1,250,000 million in attorneys’
22 fees. See, e.g., Hendricks v. Starkist Co., 2016 WL 5462423 (N.D. Cal. Sep. 29,
23 2016) (UCL, CLRA, false advertising, and implied warranty consumer protection
24 class action; seeking approval of $4 million in fees); Brown v. Hain Celestial Grp.,
25 Inc., 2016 WL 631880 (N.D. Cal. Feb. 17, 2016) (UCL and CLRA consumer
26 protection class action; seeking approval in excess of $3 million in fees); Retta v.
27 Millennium Prods., Inc., 2017 WL 5479637 (C.D. Cal. Aug. 22, 2017) (same;
28 seeking approval in excess of $2 million).

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  1          23.   In sum, based on Mr. Hiradate’s pleaded assertions and theories of
  2 recovery, the amount in controversy exceeds $5,000,000.
  3                         Exceptions to Jurisdiction Do Not Apply
  4          24.   The complete diversity between Mr. Hiradate and Defendants not only
  5 satisfies the minimal diversity requirements under CAFA, but also precludes the
  6 “local controversy” and “home state” exceptions in 28 U.S.C. § 1332(d)(3) &
  7 (d)(4), exemptions for which Mr. Hiradate would bear the burden of proof in any
  8 event.
  9                Kroger Satisfies the Requirements of 28 U.S.C. § 1446
 10          25.   This Notice of Removal is signed pursuant to Rule 11 of the Federal
 11 Rules of Civil Procedure. See 28 U.S.C. § 1446(a).
 12          26.   This Notice of Removal has been filed within 30 days of service of the
 13 SAC on Defendants, from which it was first ascertainable that this case was
 14 removable pursuant to CAFA. See 28 U.S.C § 1446(b)(2)(3). Because the SAC is
 15 the first pleading to bring claims on behalf of a putative class, the one-year
 16 limitation to removal under 28 U.S.C. § 1446(c)(1) does not apply. See 28 U.S.C.
 17 § 1453(b).
 18          27.   Concurrently with the filing of this Notice, Defendants will give
 19 written notice to all adverse parties and will file a copy of this Notice with the clerk
 20 of the Superior Court of the State of California in and for the County of Los
 21 Angeles. See 28 U.S.C. § 1446(d).
 22          28.   Defendants do not waive and expressly preserve all objections,
 23 defenses, and exceptions authorized by law, including but not limited to those
 24 permitted pursuant to Rule 12 of the Federal Rules of Civil Procedure.
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  1        WHEREFORE, Defendants remove the State Court Action to this Court.
  2
  3 DATED: May 25, 2022                        DAVIS WRIGHT TREMAINE LLP
                                               JACOB M. HARPER
  4                                            JAMES H. MOON
                                               PETER K. BAE
  5
  6                                            By: /s/ Jacob M. Harper
                                                 Jacob M. Harper
  7
                                               Attorneys for Defendants
  8                                            Ralphs Grocery Company and The
                                               Kroger Co.
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              Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 13 of 203 Page ID #:13
Electronically FILED by Superior Court of California, County of Los Angeles on 04/19/2021i 12:41_ PO~ Bherri R. Carter, Executive Officer/Clerk of Court, by E. Johnston,Deputy Clerk

                                         Assigned for all purposes to: Torrance Colurt~hKoCu
                                                                                           :s
                                                                                            Ve,OJ3uUdlicial Officer: Gary Tanaka




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                    5 Cozrnselfor PlaintiffYosuke Hiradate

                    6
                                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    7
                                                           COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                    8

                    9
                         YOSUKE HIRADATE,                                                                 CaseNo.              21—FROV00301
                  10
                                                Plaintiff,                                                 COMPLAINT FOR DAMAGES AND
                  11
                                                V.                                                         PERMANENT INJUNCTIVE RELIEF:
                  12
                        RALPH'S G.ROCERY COMPANY, an Ohio                                                       1. Violation of California's Unfair
                  13 Corporation; THE KROGER COMPANY, an                                                           Competition Law ("UCL"); Bus. &
                        Ohio Corporation; and DOES 1-50, inclusive,                                                Prof. Code § 17200 et seq.
                  14 I'                                                                                         2. Violation of California's Consumer
                                                Defendants.                                                        Legal Remedies Act ("CLRA"); Cal.
                  15
                                                                                                                   Civil Code §1750 et seq.
                  16                                                                                            3. Violation of California's False
                                                                                                                   Advertising Law ("FAL"), Bus & Prof.
                  17                                                                                               Code § 17500 et seq.

                  18                                                                                       JURY TRIAL DEMANDED
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                                                                                               COMPLAINT
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   1          Plaintiff YOSUKE HIRADATE ("Plaintiff' or "Mr. Hiradate") alleges as follows:

   2                                               THE PARTIES

   3          1.     Plaintiff, at all relevant times herein, was and is a citizen and resident of Los Angeles

   4 County, California. On December 21, 2019, Plaintiff visited Ralph's Grocery Store located at 1770

   5 Carson Street in Torrance, California, and purchased a$500 Visa Gift Card, as confirmed on the

   6 receipt. Plaintiff also incurred a$5.95 Gift Card activation fee. As soon as Plaintiff returned liome, he

   7 opened tlie Gift Card package and checked the balance for the first time, prior to using tlie Gift Card.

   g Plaintiff was shocked to learn the Gift Card he had just paid Ralph's $500 for actually had zero value.

   9 Plaintiff quickly returned to the Ralph's store that day to get an explanation for why the Gift Card had

  10 no value when he first accessed it. There, Plaintiff spoke to the Store Manager, who specifically

  11 informed him the Gift Card had been tampered with prior to purchase, which according to the Store

  12 Manager involved someone's placement of a photo copy of another gift card over the Gift Card

  13 Plaintiff had purchased, prior to check out at Ralph's, so the bar card for the otlier gift card would be

  14 visible to receive any money added to the card by the Ralph's cashier at check out. The Store Manager

  15 also informed Plaintiff that a stafP member meeting regarding this exact problem had been held that

  16 very same morning at the store, because valueless gift card sales at Ralpli's were apparently a regular,

  17 recurring problem. Additionally, a former assistant manager from another Ralph's store also told
  18 Plaintiff gift card tampering lias been an ongoing problem for years at Ralph's and that Ralph's is

  19 aware of this precise issue happening frequently at its stores. Thereafter, despite his efforts, neither
  20 Ralph's nor the bank returned Plaintiff's money, and he thus incurred a$500 payment to Ralph's in

  21 addition to the $5.95 activation fee for nothing in return.

  22          2.     Plaintiff is informed and believes, and upon such information and belief alleges, that

  23 defendant Ralpli's Grocery Company ("RALPH'S") is an Ohio Corporation with its principal place of

  24 business in Cincinnati, Ohio. RALPH'S is registered to do business in Californiia and operates in Los

  25 Angeles County, where its local headquai-ters are in Compton, Califomia. RALPH'S is a multistate

  26 corporation that operates a chain of grocery stores, selling goods to consumers tliroughout the country.

  27          3.     Plaintiff is informed and believes, and upon sucli information and belief alleges, that

  28 defendant The Kroger Company ("KROGER") is an Ohio Corporation with its principal place of
                                                           2

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  1 business in Cincinnati, Ohio. KROGER is registered to do business in California and operates in Los

  2 Angeles County, where its local headquarters are in Compton, California. Kroger operates, either

  3 directly or through its subsidiaries such as defendant RALPH'S, which it wholly owtis and operates,

  4 supermarkets and multi-department stores nationwide. Defendants herein are collectively referred to

  5 as "RALPH' S".

  6          4.      Plaintiff does not know the true names or capacities of the persons or entities sued

  7 herein as DOES 1-50, inclusive, and therefore sues such Defendants by such fictitious names. Plaintiff

  8 is informed and believes, and upon such information and belief alleges, that each of the DOE

  9 Defendants is in soine maiiner legally responsible for the damages suffered by Plaintiff as alleged

 10 lierein. Plaintiff will amend this Coinplaint to set fortli the true names and capacities of these

 11 Defendants when they have been ascertained, along with appropriate cliarging allegations, as may be

 12 necessary.

 13          5.      At all times herein mentioned, Defendants, and each of them, were the agents,

 14 principals, servants, employees, and subsidiaries of each of the remaining Defendants, and were at all

 15 times acting within the purpose and scope of such agency, service, and employment, and directed,

 16 consented, ratified, permitted, encouraged, and approved the acts of each remaining Defendant.

 17                                       JURISDICTION AND VENUE

 18          6.      This Coui•t has jurisdiction over all causes of action asserted herein under the California

 19 Constitution.

 20          7.      Venue is proper in this County because the acts and occurrences alleged herein occurred

 21 in this County, and pursuant to California Civil Code § 1780(d) because Defendants do business here.

 22                                        FACTUAL ALLEGATIONS

 23          8.       This action arises out of RALPH's practice of selling gift cards to California consumers

 24 for specified monetary values where the gift cards actually have no value and are thus worthless to the

 25 consumers. Despite RALPH's knowledge ofthis issue, RALPH'S sold Mr. Hiradate a worthless gift

 26 card for which he paid a substantial amount of money to RALPH'S.

 27          9.      On December 212019, Plaintiff visited the RALPH'S store at 1770 Carson Street in

 28 Torrance, California, and purchased a$500 Visa Gift Card, as conftrmed on the receipt he received.
                                                          3

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   1 Plaintiff also incurred a$5.95 activation fee for the Gift Card. As soon as Plaintiff returned home after

  2 making this purchase, he opened the Gift Card package and checked the balance for the first time, prior

   3 to using the Gift Card. Plaintiff was shocked to learn the Gift Card he had just paid RALPH'S $500

   4 for actually had zero value.

   5'         10.     Plaintiff quickly returned to the RALPH'S store on the same day to get an explanation

   61 for why the Gift Card liad no value when he first attempted to access it. There, Plaintiff spoke to the

   7 Store Manager, Stephanie, wlio told him the Gift Card had been tampered with prior to purcllase.

   8 Stephanie also told Plaintiff she would call the Gift Card merchant in order to file a claim for gift card

   9 fraud. After Stephanie filed the claim on that date, she was apparently provided a case number and 10

 10 digit ID which she wrote on Plaintiff's Gift Card receipt. Stephanie also told Plaintiff on that same

 11 date the scenario involved someone's placement of a photo copy of another gift card over the Gift Card

  121 Plaintiff had purchased, prior to check out at RALPH'S, so the bar card for the other gift card would be

 13 visible to receive any inoney added to the card by the RALPH'S cashier at check out.

  141         11.     Stephanie also informed Plaintiff during their conversation that a staff inember meeting

  15 regarding this exact problem had been held that very same morning at the store. There, staff inembers

  16 at the RALPH' S store were apparently instructed to check for any of the detectable signs of tampering

  17 on any gift cards RALPH' S sold, such as different textures between a valid card with ridges at tlie bar

  18 code area and one that had been tampered with and had no such ridges. Additionally, a former

  19 assistant manager Plaintiff spoke to from anotlier RALPH'S store in the area also told him gift card

  20 tampering has been an on-going problem for years at RALPH' S and that RALPH' S is aware of this

  21 precise issue happening at its stores such as the one in Torrance.

  22          12.     Thereafter, Stephanie the RALPH'S Store Manager told Plaintiff he needed to call the

  23 gift card company to request a new gift card, and then after calling, lie would need to fax a copy of the

  24 receipt, gift card, the tampering gift card number (i.e. the photo with a gift card number that was placed

  25 over Plaintiff's gift card prior to his purcliase of it at RALPH.' S), and that Plaintiff would then receive

  26 a new gift card within a few weeks. That night, Plaintiff tried to reacli out to the Gift Card merchant

  27 several times at the phone number on the back of the card, in order to attempt to have this issue

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   I   addressed but, despite several attempts, could not reach a service associate or anyone in management

   2 at the Gift Card merchant to resolve this matter.

   3          13.     Thereafter, that same night Plaintiff returned to the RALPH'S store in Torrance where

   4 Stephanie the Store Manager assisted him in submitting the documeiits via fax including the receipt

   5(with her writing of the case number and 10 digit ID), a photo copy of the gift card, a photo copy of the

   6 package including the false bar code from the gift card, Plaintiffls photo ID and contact information.

   7 To date, Plaintiff received no response from the gift card merchant or a replacement card with the

   g value of $500 and the activation fee waived, and RALPH'S also has not compensated Plaintiff for the

   9 loss.

 10           14.     Thus, RALPH'S knew gift cards such as the one Plaintiff purchased are subject to

 11 tampering which can render them worthless, yet it still sold the Gift Card Plaintiff purchased to him

 12 and retained $505.95 of Plaintiffls money, despite that Plaintiff received no value in return whatsoever.

 13           15.     Subsequently, Plaintiff has learned of a number of California consumers who have been

 14 similarly affected by purchasing a gift card at RALPH' S whicli had been tampered with prior to

 15 purchase.

 16           16.     RALPH'S should not be selling these gift cards, or be allowed to sell these gift cards at

 17 all, considering its actual knowledge of the pervasive tampering issue at its stores, and that consumers
  18 sucli as Plaintiff end up having purchased gift cards with no value at all.

 19                                        FIRST CAUSE OF ACTION

 20                                Business & Pi-ofessioizs Code 617200 et seg.

 21                                   (Violation of Unfair Competition Law)

 22                 (By Plaintiff Against Defendants RALPH'S and I{ROGER and Does 1-50)

 23           17.     Plaintiff restates and incorporates by reference each and every allegation contained in

 24 paragraphs 1-16 as though fully set foi-th herein.

 25           18.     California Business & Professions Code § 17200 et seq. (hereafter referred to as the

 26 "Unfair Competition Law" or "UCL") autliorizes private lawsuits to enjoin acts of "unfair

 27 competition," whicli include any unlawful, unfair, or fi•audulent business practice.

  28          19.     The UCL iinposes strict liability. Plaintiff need not prove that Defendants intentionally
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  1 or negligently engaged in unlawful, unfair, or fi•audulent business practices — only that such practices

  2 occurred.

  3         20.     RALPH'S selling of gift cards with specified values when the gift cards actually have

  4 zero value to the consumer who purchased them, is an unlawful, unfair, and fraudulent business

  5 practice prohibited by the UCL.

  6         21.      In carrying out their selling of gift cards for specified values when the gift cards

  7 actually have zero value to the consumer who purchased them, Defendants have violated the Consumer

  8 Legal Remedies Act, the False Advertising Law, and various other laws, regulations, statutes, and/or

  9 common law duties. Defendants' business practices alleged herein, tlierefore, are unlawful within the

 10 meaning of the UCL.

 11          22•    The harm to Plaintiff and members of the public outweighs the utility of Defendants'

 12 practices and, consequently, Defendants' practices, as set forth fully above, constitute an unfair

 13 business act or practice within the meaning of the UCL.

 14          23.    Defendants' practices are additionally unfair because they have caused Plaintiff and

 15 members of the public substantial injury, whicli is not outweighed by any countervailing benefits to

 16 consumers or to competition, and whicli is not an injury the consumers themselves could have

 17 reasonably avoided.
 18          24.    Defendants' practices, as set fortli above, have misled the general public in the past and

 19 will mislead the general public in tlie future. Consequently, Defendants' practices constitute an
 20 unlawful and unfair business practice within the meaning of the UCL.

 21          25.    Pursuant to Business a»d Prrofessions Code § 17204, an action for unfair competition

 22 may be brought by any "person ... who has suffered injury in fact and lias lost money or property as a
 23 result of such unfair competition." Defendants' misleading business practice — selling gift cards for

 24 specified values when the gift cards actually have zero value to the consumer who purchased them —

 25 directly and seriously injured Plaintiff and other members of the public who were thus deprived of

 26 their property rights.

 27          26.     The unlawful, unfair and fraudulent business practices of Defendants are ongoing and

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                                                    COMPLAINT
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  1 present a continuing threat that members of the public will be misled into believing they are purchasing

  2 gift cards for specified values but, lilce Plaintiff, will be deprived of that value and damaged

  3 financially.

  4          27.     Pursuant to the UCL, Plaintiff is entitled to preliminary and permanent injunctive relief

  5 ordering Defendants to cease this unfair business practice, as well as disgorgement and restitution of

  6 the money Defendants wrongfully obtained from him associated with its unfair business practice.

  7                                       SECOND CAUSE OF ACTION

  8                                            Civil Code § 1750 et seg.

  9                              (Violation of the Consumer Legal Remedies Act)

 10                      (By Plaintiff Against RALPH'S and KROGER and Does 1-50)

 11          28.     Plaintiff restates and incorporates by reference each and every allegation contained in

 12 paragraphs 1-27 as though fully set forth herein.

 13          29.     The Consumer Legal Remedies Act (hereafter referred to as the "CLRA") creates a

 14 non-exclusive statutory remedy for unfair metliods of competition and unfair or deceptive acts or

 15 business practices. See Reveles v. Toyota by the Bay, 57 Cal. App. 4t" 1139, 1164 (1997). Its self-

 16 declared purpose is to protect consumers against these unfair and deceptive business practices, and to

 17 provide efficient and economical procedures to secure such protection. Cal. Civ. Code § 1760. The

 18 CLRA was designed to be liberally construed and applied in favor of consumers to promote its

 19 underlying purposes. Id.

 20          30.     More specifically, Plaintiff alleges that Defendants have violated paragraphs 4, 5, 9 and

 21 14 of Civil Code Section 1770(a) by engaging in the unfair and/or deceptive acts and practices set forth

 22 herein. Defendants' unfair and deceptive business practices in carrying out the selling of gift cards for

 23 specified values when the gift cards actually liave zero value to the consumer who purchased them, as

 24 described herein, were and are intended to and did and do result in Plaintiff, and other members of the

 25 public, being deprived of their riglit to a gift card with the value they paid for actually on it, in

 26 violation of the CLRA. Cal. Civ. Code § 1770 et seq. Plaintiff, and other members of the public, were

 27 damaged in that they paid purchase prices for gift cards higlier than the zero value they received on the

 28 cards.
                                                           7

                                                     COMPLAINT
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              31.     As a result of Defendants' unfair and/or deceptive business practices, Plaintiff and other

       members of the public, as a result of RALPH'S business practice, have suffered damage in that tliey

       lost a vested riglit in gift cards at specified values, because Defendants misrepresented that the offers

       for sale conferred rights to Plaititiff, and otlier members of the public, whicli they did not. Plaintiff

   5 seeks and is entitled to an order permanently enjoining Defendants from continuing to engage in the

   6 unfair and deceptive business practices alleged herein.

   7          32.     Pursuant to section 1782 of the CLRA, Plaintiff has notified Defendants in writing of

   8 I the particular violations of Section 1770 of the CLRA Plaintiff alleges Defendants committed. In

   9 I response, RALPH' S has not agreed to provide the monetaiy coinpensation Plaintiff demanded.

  10                                        THIRD CAUSE OF ACTION

 11                                  Business & Professions Code S 17500, et seg.

  12                                   (Violation of the False Advertising Law)

 13                       (By Plaintiff Against RALPH'S and KROGER and Does 1-50)

  14          33.     Plaintiff re-alleges and incorporates by reference each and every allegation contained in

  15 paragraphs 1-32 as if fully set forth herein.
                                                                         ~
  16          34.     California Busisiess & Professions Code § 17500 provides that "[I]t is unlawful for any

  17 ... corporation ... with intent ... to dispose of ... personal property ... to induce the public to enter into

  18 any obligation relating tliereto, to make or disseininate or cause to be made or disseniinated ... fi•om

  19 this state before the public in any state, in any newspaper or other publication, or any advertising

 20 device, or by public outcry or proclamation, or in any other manner or means whatever ... any

 21 statement ... which is untrue or misleading, and which is known, or wliich by exercise of reasonable

 22 care should be ]cnown, to be untrue or misleading..."

 23           35.     Defendants misled consumers by selling gift cards for specified values when the gift

 24 cards actually have zero value to the consumer who purchased them.

 25           36.     As a direct and proximate result of Defendants' misleading and false advertising,

 26 Plaintiff, along with other members of the public, has suffered injury in fact and has lost money and/or

 27 property.

 28           37.     Tlie misleading and false advertising described lierein presents a continuing tllreat to
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                                                      COMPLAINT
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  1 Plaintiff, and other members of the public, in that Defendants persist and continue to engage in these

  2 practices, and will not cease doing so unless and until forced to do so by this Court. Defendants'

  3 conduct will continue to cause irreparable injury to members of the public unless enjoined or

  4 restrained, permanently.

   5                                          PRAYER FOR RELIEF

   6          WHEREFORE, Plaintiff prays for relief and judgment as follows:

   7      1. For restitution and disgorgement of the money and property wrongfully obtained by Defendants

   8          by means of its herein-alleged unlawful, unfair and fraudulent business practices;

   9      2. An award of general damages according to proof;

 10       3. An award of special damages accordiiig to proof;

  11      4. Exemplay damages in light of Defendants' fraud, malice, and conscious disregard for the

  12          rights of Plaintiff;

  13      5. Injunctive relief, including without limitation, public injunctive relief, in the form of a

  14          permanent injunction enjoining Defendants from engaging in the unlawful, unfair, and

  15          fraudulent business practices alleged herein;

  16      6. For attorneys' fees and expenses pursuant to all applicable laws, including, without limitation,

  17          the CLRA, the common law private attorney general doctrine, and Code of Civil Procedure §

  18          1021.5;

  19      7. For costs of suit;

  20      8. For sucli other and fui-ther relief as the court deems just and proper.

  21
       Dated: April 19, 2021                                    KIRTLAND & PACKARD, LLP
  22

  23
                                                               By: _/s/ Joshua A. Fields
  24                                                                 MICHAEL LOUIS KELLY
                                                                     JOSHUA A. FIELDS
  25
                                                                    Counselfor Plaintiff Yosuke Hiradate
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                                                     COMPLAINT
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  1                                  DEIVIAND FOR JURY TRIAL

  2          Plaintiff YOSUKE HIRADATE hereby demands a jury trial.

  3
      Dated: April 19, 2021                             KIRTLAND & PACKARD, LLP
  4

  5
                                                    By: _   /s/ Joshua A. Fields
  6                                                         MICHAEL LOUIS KELLY
                                                            JOSHUA A. FIELDS
  7

  8                                                         Counselfor PlaintiffYosuke Hiradate

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                                              COMPLAINT
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  1                   DECLARATION OF PROPER VENUE BY YOSUKE HIRADATE

  2           I, Yosuke Hiradate, declare as follows:
  13               I am a Plaintiff in this action, and I am a resident and citizen of the State of California. I
              1.
  4
       have personal knowledge of the facts alleged herein and, if called as a witness, I could and would
  5
       testify competently thereto.
  6
              2. The Complaint in this action, filed concurrently with this Declaration, is filed in the proper
  7
       place for trial under Civil Code § 1780(d) in that Los Angeles County is a county where Defendant
   8

  9 does business.

 10           I declare under penalty of perjury under the laws of the State of California that the foregoing is

 11    true and correct and that this declaration was executed in Torrance, California on April 15, 2021.
 12

 13

  14                                                                    v~             ®
                                                                      Yosuke Hiradate
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                                                       COMPLAINT
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              Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 25 of 203 Page ID #:25
Electronically FILED by Superior Court of California, County of Los Angeles on 04/19/2021 12:41 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Johnston,Deputy Clerk
                                                                                       21TRCV00301




                                                           SL IYI I V!® itl S                                                                      FOR COURT USE ONLY
                                                                                                                                               (SOLO PARA USO DE LA CORTE)
                                                  (CITACICN JUDICIAL)

              NOTICE TO DEFENDANT:
              (AVISO AL DEMANDADO):
              RALPH'S GROCERY COMPANY, an Ohio Corporation; (continued on 2nd page)

              YOU ARE BEING SUED BY PLAINTIFF:
              (LO ESTb DEMANDANDO EL DEMANDANTE):
              YOSUKE HIRADATE,

              IVV I fGt! Tou nave neen suea. I ne coun may aecide agalnst you without your being heartl unless you respontl within 30 days. ttead the Intormation
              below.
                 You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
              served on the plaintiff. A letter or phone call will not protect you. Your wriften response must be in proper legal form if you want the court to hear your
              case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
              Online Self-Help Center (www.courtinfo.ea.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
              court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
              be taken without further warning from the court.
                 There are other legal requirements. You may want to call an attomey right away. If you do not know an attomey, you may want to call an attorney
              referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonproflt legal services program. You can locate
              these nonprofit groups at the California Legal Services Web site (www.lawhelpca!ifornia.org), the California Courts Online Self-Help Center
              (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
              costs on any setilement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
              tAVlSO! Lo han demandado. Si no responde dentro de 30 dtas, !a corte puede decfdfr en su contra sin escuchar su versi6n. Lea la informaci6n a

                Tiene 30 DIAS DE CALENDARIO despu6s de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrifo en esta
              corte y hacer que se entregue una copia al demandanfe. Una carta o una llamada telef6nica no lo protegen. Su respuesta por escrfto tiene que estar
              en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
              Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
             bfblioteca de leyes de su condado o en la corte que le quede m6s cerca. Si no puede pagar la cuota de presentacibn, pida al secretario de la corte que
              le d6 un formulario de exenc!6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y ta corte le podra
              quitar su sueldo, dinero y btenes sin mds advertencia.
                 f-lay otros requisitos legales. Es recomendable que I!ame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un senricio de
             remisi6n a abogados. Si no puede pagar a trn abogado, es posfble que cumpla con los requisitos para obtener servicios /egales gratuitos de un
             programa de seivicios legales sin ffnes de lucro. Puede encontrar estos grupos sin flnes de lucro en el sitio web de Ca!ifornia Legal Services,
              (www.!awhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o ponl6ndose en contacto con la corte o e/
              colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
              cualquier recuperaci6n de $10,000 6 mbs de valor recibida mediante un acuerdo o una concesi6n de arbltraje en un caso de derecho civ!l. Tiene que
              pagar el gravamen do la corte antes de que la corte pueda desechar el caso.
             The name and address of the court is:                                                                I CASE NUMBER: (Nfimero del Caso):
             (EI nombre y direcci6n de la corte es):                                                                            2 1 T R OV 0 0 3 0 1
              SUPERIOR COURT OF CALIFORNIA, 825 Maple Ave, Torrance, CA 90503

             The name, address, and telephone number of plaintifPs attorney, or plaintiff without an attorney, is:                     (EI nombre, la direcci6n y el numero
             de telftno del abogado del demandante, o del demandante que no tiene abogado, es):
              KIRTLAND & PACKARD LLP, 1638 S. Pacific Coast Hwy, Redondo Beach, CA 90277
              DATE: Sherrl R. Carter Executive Gfflcer f CIerk of Court Clerk, by                                                       E. Johnstan                        Deputy
             (Fecha)O 41 gf2 0 21                                                                           (Secretario)                                                  (Adjunto)
              (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
              (Para prueba de entrega de esta citati6n use ei formulario Proof of Service of Summons, (POS-010)).
                                                      NOTICE TO THE PERSON SERVED: You are served
                                                      1.    0     as an individual defendant.
                                                      2.          as the person sued under the fictitious name of (specify):

                                                      3. .®       on behalf of (specify): Ralph's Grocery Company,an Ohio Corporation
                                                            under:         CCP 416.10 (corporation)                                     CCP 416.60 (minor)
                                                                     ~     CCP 416.20 (defunct corporation)                     0       CCP 416.70 (conservatee)
                                                                     0     CCP 416.40 (association or partnership)              0       CCP 416.90 (authorized person)
                                                                   ~     other (specify):
                                                      4.    =     by personal delivery on (date):
              Form Adoptedfor Mandafory Use
                                                                                        SUMMONS                                                    Code of Civil Procedure §§ 412.20, 46s
              Judicial Council of California                                                                                                                          www.courts.ca.gov
              SUM-100 IRev. July 1, 2009]
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     SUMMONS—PAGE 2

         YOSUKE HIRADATE v. RALPH'S GROCERY COMPANY,        Caselc~ T~             ~       ~
         et al.                                                   I
                                                                          CV 0 0       0


     NOTICE TO DEFENDANT: (continued from Page 1)

     THE KROGER COMPANY, an Ohio Corporation; and DOES 1-50, inclusive,
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 27 of 203 Page ID #:27
             Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 28 of 203 Page ID #:28
Electron
            %TTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)< I I tt
                                                                                                                                             FOR COURT USE ONLY
           Michael Louis Kelly-SBN 82063 / Joshua A. Fields-SBN 242938
           KIRTLAND & PACKARD LLP

                      TELEPHONE NO.: (310) 536-1000                         FAx NO. (OPtionaq: (310) 536-1001
                ATTORNEY FOR (Name): Plalntlff

           SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
            STREETADDRESs:82rj MaDle Avenue
            MAILING ADDRESS:
           CITY AND zIP CODE:Torrance, CA 90503
                BRANCH NAME: Southwest Dlstrlct

           CASE NAME:
           YOSUKE HIRADATE v. RALPH'S GROCERY COMPANY, et al.
                    CIVIL CASE COVER SHEET                                                                                  CASENUMBER:
                                                                                Complex Case Designation
           F—x-1 Unlimited                            Limited               0      Counter           0        Joinder        21 TROV                        003 01
                     (Amount                          (Amount
                                                                        Filed with first appearance by defendant            JUDGE:
                     demanded                         demanded is
                                                                            (Cal. Rules of Court, rule 3.402)                DEPT.:
                     exceeds $25,000)                 $25,000)
                                                       i'tems 7—o vetow must ve compteteo (see tnstruct►ons on page z).
                    Check one box below for the case type that best describes this case:
                Auto Tort                                               Contract                                        Provisionally Complex Civil Litigation
                ~        Auto (22)                                      0        Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
                ~     Uninsured motorist (46)                          0         Rule 3.740 collections (09)            ~       Antitrust/Trade regu[ation (03)
                Other PI/PDIWD (Personal Injury/Property                         Other collections (09)                 0       Construction defect (10)
                DamagelWrongful Death) Tort                                                           1                 0       Mass tort (40)
                                                                        0        Insurance coverage ( 8)
                0        Asbestos (04)                                                                                  0       Securities litigation (28)
                                                                       =     Other contract (37)
                ~        Product liability (24)                                                                         0     Environmental/Toxic tort (30)
                                                                       Real Property
                ~        Medical ma[practice (45)                                                                       0     Insurance coverage claims arising from the
                                                                       0         Eminent domain/Inverse
                                                                                                                              above listed provisionally complex case
                0     Other PI/PD/WD (23)                                        condemnation (14)
                                                                                                                              types (41)
                Non-PI/PD/WD (Other) Tort                              ~         Wrongful eviction (33)                 Enforcement of Judgment
                Ox       Business torUunfair business practice (07) 0    Other real property (26)                       0       Enforcement ofjudgment (20)
                ~        Civil rights (08)                          Unlawful Detainer
                                                                                                                        Miscellaneous Civil Complaint
                0        Defamation (13)                                0        Commercial (31)
                                                                                                                        0       RICO (27)
                0       Fraud (16)                                      0        Residential (32)
                                                                                                                        0       Other complaint (not speciffed above) (42)
                0        Intellectual property (19)                     0        Drugs (38)
                                                                                                                        Miscellaneous Civil Petition
                ~        Professional neg[igence (25)                   Judicial Review
                                                                                                                        0       Partnership and corporate govemance (21)
                ~    Other non-PI/PD/WD tort (35)                      ~         Asset forfeiture (05)
                Employment                                             ~         Petition re: arbitration award (11)    0       Other petition (not speciffed above) (43)

                0        Wrongful termination (36)                      0        Writ of mandate (02)
                0        Other emp[oyment (15)                          0        Other judicial review (39)

           2.  This case 0       is    0      is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
              factors requiring exceptional judicial management:
              a. 0      Large number of separately represented parties       d.        Large number of witnesses
              b. 0      Extensive motion practice raising difficult or novel e.        Coordination with related actions pending in one or more
                        issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
              c. 0      Substantial amount of documentary evidence                     court
                                                                             f. 0      Substantial postjudgmentjudicial supervision
           3. Remedies sought (check all that apply): a. x~ monetary b. ~x nonmonetary; declaratory or injunctive relief c. x0 punitive
           4. Number of causes of action (specify): Three
           5. This case 0       is   0      is not   a class action suit.
           6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.) /
           Date: April 16, 2021                                                                   ~
           Michael Louis Kelly/Joshua A. Fields
                                       (TYPE OR PRINT NAME)                                                             XI     (SIGNATUR OF ARTY OR


             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
               under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
               in sanctions.
             • File this cover sheet in addition to any cover sheet required by local court rule.
               If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
               other parties to the action or proceeding.
               Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                               Page 1 of 2
           Form Adopted for Mandatory Use                                                                                         Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
           Judicial Council of California                                   CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, sld. 3.10
           CM-010 [Rev. July 1, 20071                                                                                                                                      www.courts.ca.gov
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 SHORTTiTLE: YOSUKE HIRADATE v. RALPH'S GROCERY COMPANY, et al.                                             CASE NUMBER
                                                                                                                2y1TROV0030'1

                            CIVIL CASE COVER SHEET ADDENDUM AND
                                    STATEMENT OF LOCATION
            ,(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
              This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                  Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                               Applicable Reasons for Choosing Court Filing Location (Column C)

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.            7. Location where petitioner resides.
2.Permissive filing in central district.                                                   8. Location wherein defendant/respondent functions wholly.
3.Location where cause of action arose.                                                    9.Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                    10.Location of Labor Commissioner Office.
                                                                                          11.Mandatory filing location (Hub Cases — unlawful detainer, limited
5.Location where performance required or defendant resides.
                                                                                          non-collection, limited collection, or personal injury).
6.Location of property or permanently garaged vehicle.




                                A                                                                B                                                      C
                     Civil Case Cover Sheet                                               Type of Action                                     Applicable Reasons -
                           Category No.                                                  (Check only one)                                     See Step 3 Above

                            Auto (22)                  ❑   A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death              1, 4, 11

                    Uninsured Motorist (46)            ❑   A7110 Personal Injury/Property DamageNVrongful Death — Uninsured Motorist         1, 4, 11


                                                       ❑   A6070 Asbestos Property Damage                                                    1, 11
                          Asbestos(04)
                                           '           ❑   A7221 Asbestos - Personal Injury/Wrongful Death                                   1, 11

                      Product Liability (24)           ❑   A7260 Product Liability (not asbestos or toxic/environmental)                     1, 4, 11

                                                       ❑   A7210 Medical Malpractice- Physicians & Surgeons                                  1, 4, 11
                    Medical Malpractice (45)                                                                                                 1, 4, 11
                                                       ❑   A7240 Other Professional Health Care Malpractice

                                                       ❑   A7250 Premises Liability (e.g., slip and fall)                                    1, 4, 11
                         Other Personal
                         Injury Property               ❑   A7230 Intentional Bodily Injury/Property DamageNVrongful Death (e.g.,             1, 4, 11
                        Damage Wrongful                          assault, vandalism, etc.)
                           Death (23)                                                                                                        1, 4, 11
                                                       ❑   A7270 Intentional Infliction of Emotional Distress
                                                                                                                                             1, 4, 11
                                                       ❑   A7220 Other Personal Injury/Property DamageNVrongful Death




   LASC CIV 109 Rev. 12/18                            CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3

   For Mandatory Use
                                                         AND STATEMENT OF LOCATION                                                           Page 1 of 4
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SHORTTiTLE: YOSUKE HIRADATE v. RALPH'S GROCERY COMPANY, et aI.                               CASE NUMBER

                                                                                             2'1Tecayn n ---'~ nr1
                         A                                                          B                                               C Applicable
               Civil Case Cover Sheet                                          Type of Action                                    Reasons - See Step 3
                     Category No.                                             (Check only one)                                         Above

                 Business Tort (07)         1ZI A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3

                     Civil Rights (08)      ❑   A6005 Civil Rights/Discrimination                                                1, 2, 3


                     Defamation (13)        ❑   A6010 Defamation (slander/libel)                                                 1, 2, 3


                        Fraud (16)          ❑   A6013 Fraud (no contract)                                                        1, 2, 3


                                            ❑   A6017 Legal Malpractice                                                          1, 2, 3
            Professional Negligence (25)
                                            ❑   A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3


                        Other (35)          ❑   A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3


   c         Wrongful Termination (36)      ❑   A6037 Wrongful Termination                                                       1, 2, 3
    m
    E
   ~                                        ❑   A6024 Other Employment Complaint Case                                            1, 2, 3
   0
   c           Other Employment (15)
    E                                       ❑   A6109 Labor Commissioner Appeals                                                 10
   w

                                            ❑   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                 2,5
                                                      eviction)
            Breach of Contract! Warranty                                                                                         2' S
                        (06)                ❑   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                  (not insurance)           ❑   A6019 Negligent Breach of ContractM/arranty (no fraud)                           1, 2, 5
                                                                                                                                 1, 2, 5
                                            ❑   A6028 Other Breach of ContractNVarranty (not fraud or negligence)

   ~
    u                                       ❑   A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
   12                Collections (09)
   c                                        ❑   A6012 Other Promissory Note/Collections Case                                     5, 11
   0
   U
                                            ❑   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                      Purchased on or after JanuarV 1 2014

              Insurance Coverage (18)       ❑   A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8


                                            ❑   A6009 Contractual Fraud                                                          1, 2, 3, 5

                Other Contract (37)         ❑   A6031 Tortious Interference                                                      1, 2, 3, 5

                                            ❑   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

              Eminent Domain/Inverse
                                            ❑   A7300 Eminent Domain/Condemnation                Number of parcels               2,6
                Condemnation (14)
   f~
               Wrongful Eviction (33)       ❑   A6023 Wrongful Eviction Case                                                     2,6


                                            ❑   A6018 Mortgage Foreclosure                                                       2,6
              Other Real Property (26)      ❑   A6032 Quiet Title                                                                2,6
                                            ❑   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

            Unlawful Detainer-Commercial
                                            ❑   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
                           (31)
            Unlawful Detainer-Residential
                                            ❑   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                            32
                Unlawful Detainer-
                                            ❑   A6020FUnlawful Detainer-Post-Foreclosure                                         2, 6, 11
               Post-Foreclosure 34

            Unlawful Detainer-Drugs (38)    ❑   A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                            CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
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                                               AND STATEMENT OF LOCATION                                                         Page 2 of 4
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sHORT riTLE: YOSUKE HIRADATE v. RALPH'S GROCERY COMPANY, et al.                                  casE NUnnBER
                                                                                                       21TROV00301
                         A                                                              B                                 C Applicable
              Civil Case Cover SheeY                                               Type of Action                      Reasons - See Step 3
                    Category No:                                                  (Check only one)                           Above


               Asset Forfeiture (05)         ❑       A6108 Asset Forfeiture Case                                       2, 3, 6


             Petition re Arbitration (11)    ❑       A6115 Petition to CompeUConfirm/VacateArbitration                 2,5
   3
    d
   .~
                                             ❑       A6151 Writ - Administrative Mandamus                              2,8
   fr
   w
   .~           Writ of Mandate (02)         ❑       A6152 Writ - Mandamus on Limited Court Case Matter                2
   =a
    3                                        ❑       A6153 Writ - Other Limited Court Case Review                      2
   7

             Other Judicial Review (39)      ❑       A6150 Other Writ /Judicial Review                                 2,8


           Antitrust/Trade Regulation (03)   ❑       A6003 Antitrust/Trade Regulation                                   1, 2, 8


              Construction Defect (10)       ❑       A6007 Construction Defect                                          1, 2, 3

             Claims Involving Mass Tort                                                                                 1, 2, 8
                                             ❑       A6006 Claims Involving Mass Tort
                        (40)

              Securities Litigation (28)     ❑       A6035 Securities Litigation Case                                   1, 2, 8

                     Toxic Tort                                                                                         1, 2, 3, 8
                                             ❑       A6036 Toxic Tort/Environmental
                 Environmental (30)

            Insurance Coverage Claims                                                                                   1, 2, 5, 8
                                             ❑       A6014 Insurance Coverage/Subrogation (complex case only)
              from Complex Case (41)

                                             ❑       A6141 Sister State Judgment                                        2, 5, 11

                                             ❑       A6160 Abstract of Judgment                                         2,6

                                             ❑       A6107 Confession of Judgment (non-domestic relations)              2,9
                    Enforcement
                  of Judgment (20)           ❑       A6140 Administrative Agency Award (not unpaid taxes)               2,8

                                             ❑       A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2,8

                                             ❑       A6112 Other Enforcement of Judgment Case                           2, 8, 9


                      RICO (27)              ❑       A6033 Racketeering (RICO) Case                                     1, 2, 8


                                             ❑       A6030 Declaratory Relief Only                                      1, 2, 8

                                             ❑       A6040 Injunctive Relief Only (not domestic/harassment)             2,8
                 Other Complaints
             (Not Specified Above) (42)      ❑       A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8

  ~ CU                                       ❑       A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

               Partnership Corporation                                                                                  2,8
                                             ❑       A6113 Partnership and Corporate Governance Case
                  Governance (21)

                                                 ❑   A6121 Civil Harassment With Damages                                2, 3, 9

                                                 ❑   A6123 Workplace Harassment With Damages                            2, 3, 9

                                                 ❑   A6124 Elder/DependentAdult Abuse Case With Damages                 2, 3, 9
                 Other Petitions (Not
                Specified Above) (43)            ❑   A6190 Election Contest                                             2

  m U                                            ❑   A6110 Petition for Change of Name/Change of Gender                 2,7
                                                 ❑   A6170 Petition for Relief from Late Claim Law                      2, 3, 8

                                                 ❑   A6100 Other Civil Petition                                         2 g




                                             CIVIL CASE COVER SHEET ADDENDUM                                          Local Rule 2.3
 LASC CIv 109 Rev.12/1s                         AND STATEMENT OF LOCATION                                               Page 3 of 4
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 SHORT TITLE: YOSUKE HIRADATE v. RALPH'S GROCERY COMPANY, et al.                      CASE NUMBER
                                                                                             21TRCV0030'1

Step 4:    Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                 ADDRESS:
  REASON:                                                                                  1770 Carson Street

    ❑ 1. ❑ 2.o3. ❑ 4. ❑ 5. ❑ 6. ❑ 7. ❑ 8. ❑ 9. ❑ 10. ❑ 11.



   CITY:                                 STATE:     ZIP CODE:

  Torrance                              CA         90501

                                                                                         Southwest
Step 5:    Certification of Assignment: I certify that this case is properlyfiled in the                               District of
           the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].



                                                                                                             t-l"

  Dated: April 16, 2021                                                                                  ~
                                                                                (SI      MAA
                                                                                      ATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.

       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.

       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement,of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).

       5. Payment in full of the filing fee, unless there is court orderforwaiver, partial orscheduled payments.

       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




                                        CIVIL CASE COVER SHEET ADDENDUM                                             Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                           AND STATEMENT OF LOCATION                                                    Page 4 of 4
  For Mandatory Use
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                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                             CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease                           AntitrustlTrade Regulation (03)
        Uninsured Motorist (46) (if the                       Contract (not unlawful detainer             Construction Defect (10)
         case involves an uninsured                                or wrongful eviction)                  Claims Involving Mass Tort (40)
         motorist claim subject to                       Contract/Warranty Breach—Seller                  Securities Litigation (28)
         arbitration, check this item                         Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
         instead ofAuto)                                 Negligent Breach of Contract/                    Insurance Coverage Claims
  Other PI/PDNVD (Personal Injury/                            Warranty                                           (arising from provisionally comp/ex
  Property Damage/Wrongful Death)                        Other Breach of Contract/Warranty                       case type listed above) (41)
  Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case—Seller Plaintiff                   Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                        County)
                Wrongful Death                                Case                                      Confession of Judgment (non-
      Product Liability (not asbestos or             Insurance   Coverage     (not provisionally             domestic relations)
           toxic%nvironmental) (24)                      complex) (18)                                  Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation                               Administrative Agency Award
            Medical Malpractice—                         Other Coverage                                     (not unpaid taxes)
                 Physicians & Surgeons               Other Contract (37)                                Petition/Certification of Entry of
      Other Professional Health Care                     Contractual Fraud                                   Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                         Other Enforcement of Judgment
      Other PI/PD/WD (23)                        Real Propery  t                                               Case
            Premises Liability (e.g., s[ip           Eminent Domain/Inverse                        Miscellaneous Civil Complaint
                 and fall)                               Condemnation (14)                              RICO (27)
            Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                             Other Complaint (not specified
                  (e.g., assault, vandalism)         Other Real Property (e.g., quiet tit[e) (26)             above) (42)
            Intentional Infliction of                    Writ of Possession of Real Properry                  Declaratory Relief Only
                 Emotional Distress                      Mortgage    Foreclosure                              Injunctive Relief Only (non-
            Negligent Infliction of                      Quiet Title                                               harassment)
                  Emotional Distress                     Other Real Property (not eminent                     Mechanics Lien
            Other PI/PD/WD                               domain, landlord/tenant,     or                      Other Commercial Complaint
  Non-PI/PD/WD (Other) Tort                              foreclosure)                                              Case (non-tort/non-complex)
      Business Tort/Unfair Business              Unlawu f l Deaner
                                                               t i                                            Other Civil Complaint
           Practice (07)                             Commercial     (31)                                           (non-tort/non-complex)
       Civil Rights (e.g., discrimination,           Residential (32)                              Miscellaneous Civil Petition
             false arrest) (not civil                Drugs (38) (if the case involves illegal            Partnership and Corporate
             harassment) (08)                        drugs, check this item; otherwise,                      Governance (21)
       Defamation (e.g., s[ander, libel)             report as Commercial or Residential)                Other Petition (not specirred
              (13)                               Judicial Review                                             above) (43)
       Fraud (16)                                    Asset Forfeiture (05)                                   Civil Harassment
       Intellectual Property (19)                    Petition Re: Arbitration Award (11)                     Workplace Violence
       Professional Negligence (25)                  Writ of Manaed t () 02                                  Elder/Dependent Adult
           Legal Malpractice                             Writ—Administrative Mandamus                             Abuse
           Other Professional Malpractice                Writ—Mandamus on Limited Court                      E[ection Contest
                                                                            '
                (not medical or legal)                       Case Matter                                     Petition for Name Change
                                                         Writ—Other Limited Court Case                       Petition for Relief From Late
       Other Non-PI/PD/WD Tort (35)
  Employment                                                Review                                                Claim
       Wrongful Termination (36)                     Other Judicial Review (39)                              Other Civil Petition
       Other Employment (15)                             Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                               Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                  aage 2 of 2
                                                          CIVIL CASE COVER SHEET
For your protection and privacy, please press the Clear
This Form button after you have printed the form.              Print this form'       Save this form !                        rClear this form !
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  Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 35 of 203 Page ID #:35

                                                                                                       tor Clerk's
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
                                                                                                       FILED
Torrance Courthouse                                                                         $>Jpark)r CouTt of Casifarnia
                                                                                              Gvuntpof LosAngales
825 Maple Avenue, Torrance, CA 90503
                                                                                                   04f19M021
                   NOTICE OF CASE ASSIGNMENT                                         S~mr`rF L~ Caexa-, ErivJF:va t5E= J Qe& ag Carli
                                                                                      Iyy            E. Jb9instan          f,lEgu1y
                          UNLIMITED CIVIL CASE


  Your case is assigned for all purposes to the judicial officer indicated below. 121 TRCV00301


                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT      ROOM                  ASSIGNED JUDGE                     DEPT      ROOM
         Gary Y. Tanaka                     B




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 04/20/2021                                                        By E. Johnston                                    Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
   Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 36 of 203 Page ID #:36


                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are sunimarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the otliers are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be seived within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUSCONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Cliapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Tliree Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

xProvisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courtliouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 37 of 203 Page ID #:37
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 38 of 203 Page ID #:38
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 39 of 203 Page ID #:39
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 40 of 203 Page ID #:40
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 41 of 203 Page ID #:41
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 42 of 203 Page ID #:42
Electronically FILED by Superior Court of California, County of Los Angeles on 04/27/2021 02:43 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Johnston,Deputy Clerk
                            Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 43 of 203             POS-010
                                                                                                 Page ID #:43
            0-TOHAIF Y OR          I   ARTY WITHOUT             r   I   TORNEY (f»arne Stale FORBarn mbe and add ass)                                                                 COURT USE ONLY
              Michael Louis Kelly, Esq SBN 82063
              Kirtland & Packard LLP
              1638 South Pacific Coast Highway Redondo Beach CA 90277
             TFLFPHDNFND,                  10 636      000, FAxND 310)636100t                    IE MAlLADLIREss   foofo   n'issa,   ta dnaoka   d

              7       TTDRNEY10R,Name               plantif Yosoke H adale


            TORRANCE COURTHOUSE
                        STREET ADDRESS            825 MAPLE AVE
                        IAAI'NC ADDRESS

                       CITY ANO ZIP CODE          TORRANCE CA 90503
                            BRANCH NAILIE

                                          Yosuke Hiradate
                                        'LAINTIFF                                                                                                             CASE NUMBER 21TRCV00301 Dept 8

             DEFENDANT                    Ralph'6 Grocery Company

                                                                                                                                                                   Re'o   a I-le No
                                                                            PROOF OF SERVICE OF SUMMONS                                                                                   2710-1

                                                                                     (Separale proof of serwce             rs   regfnred for each party served )
        I     At       the time of service was at least 18 years of age and not a party to this action
                                                            I
                                                                                                                                                                                          BY FAX
        2     I       served copies of
              a         v    Summons
              b        lZ    Complaint
              c        2     Alternative Dispute Resolution (ADR) package
              d        R     Cwii Case Cover Sheet (served in complex cases only)
              e              Cross-complaint
                       t — t other (specify documen/s). Addendum, Notice of Case Assignment, Stipulation Package
        3     a         Party served (specify name of party as shown on documents served)
              The Kroger Company, an Ohio Corporation

              b        2     Person (other than the party in item 3a) served on behalf of an entity or as an authonzed agent (and not a person under
                             item 5b on whom substituted service was made) (specify name and relationship fo the party named in item 3a)
                       Kaitlyn Mannix                           -       Authorized to Accept Service
        4 Address where the party was served                                                   CSC
                                                                                               2710 Gateway Oaks Dr Ste 150N
                                                                                               Sacramento, CA 95833-3502
        5         I   served the party (check proper box)
              a        I — I by personal service.    personally delivered the documents listed tn item 2 to the party or person authonzed to
                                                                                 I


                             recewe service of process for the party (1) on(date) 4/23/2021   (2) at(time) 2:44 PM

                             by         substituted service. On (date) at (time) left the documents listed in item 2 with or
                                                                                                                    I


                             in        the presence of (name and title or relationship lo person indicated m I/em 3bj

                             (1)             (business) a person at least                            18 years of age apparently in charge at the office or usual place of business of the
                                             person to be served                           I   informed him of her of the general nature of the papers

                             (2)             (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                                             abode of the party informed him or her of the general nature of the papers
                                                                                       I




                             (3)             (physical address unknown) a person at least 18 years of age apparently in charge at the usual maikng
                                             address of the person to be served, other than a United States Postal Service post office box informed him of                            I


                                             her of the general nature of the papers
                                             Ithereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                                             place where the copies were left (Code Civ Proc, $ 415 20) mailed the documents on                      I




                                             (date) from (ci/y)                                                  or   a declaration of mailing is attached
                             (5)             I   attach a declaration of diligence stattng actions taken first to attempt personal serwce


                                                                                                                                                                                                         Page   I   of 2
         Fo m Aoo o eo 'oi Ma"nato                us                                                                                                                                      CodeofC IPormd re 141710
                                                                                                     PROOF OF SERVICE OF SUMMONS                                                             POS010-1/CW385992
                Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 44 of 203 Page ID #:44
         PETITIONER Yosoke Hiradate                                                                                          CASE NUMBER

                                                                                                                                          21TRCV00301
        RESPONDENT Ralph'a Grocery Company


    c            by mail and acknowledgment of receipt of service.               I   mailed the documents hated in item 2 to the party, to the address
                 shown in item 4, by first-class mail, postage prepaid.
                 (1) on (date)                                                          (2) from (city)
                 (3)     with two       copies of the Notice and Acknowledgment of Receiptand a postage-paid return envelope addressed to me.
                               (Attach completed Notice and Acknowledgement of Receipt ) (Code Civ Proc., I} 415.30 )
                 (4)    to an address outside California with return receipt requested (Code               Civ   Proc,   g   415.40   )

    d            by other means fspecify means of service and authorizing code sec/ion)


         Additional page descnbing service is attached
6 The "Notice to the Person Served" (on the summons) was completed                          as follows
    a            as an indwidual defendant
                 as the person sued under the fictitious name of (specify)
    c            as occupant
    d    +       On behalf of (speci/y) The Kroger Company, an                   Ohio Corporation
                 under the following Cade of Civil Procedure section
                                   g     416 10 (corporation)
                                         416 20 (defunct corporation)
                                                                                             415 95
                                                                                             416 60
                                                                                                      (business organization, form unknown)
                                                                                                      (minor)
                                         416 30 ()oint stock company/association)            416 70   (ward or conservatee)
                                         416.40 (association or partnership)                 416.90   (authonzed person)
                                         416 50 (public entity)                              415 46   (occupant)
                                                                                             other
7   Person who served papers
    a Name Robert J. Mason - Cal West Attorney Services, Inc
    b Address 1201 W. Temple Street Los Angeles, CA 90026
    c Telephone number (213} 353-9100
    d    The fee for service was. $ 95.00
    e 1am

         (1)             not a registered Cahfornia process server
         (2)
         (3)
                 +
                 L)
                         exempt from registration under Business and Professions Code section 22350(b)
                         registered Cakfornia process server
                       (i)    Q  owner               employee              Z         independent contractor.
                       (ii)   Registration No 03-007
                       (m)    County. Placer County

8   5      I


           OI
                declare under penalty of periury under the laws of the State of Cakfarnia that the foregoing is true and correct

9          I    am a California sheriff or marshal and certify that the foregoing is true and correct
                                                                I




                 Date 4/23/2021
                 Cal West Attorney Services, Inc
                 1201 W. Temple Street
                 Los Angeles, CA 90026
                 (213) 353-9100
                 www.calwest.info



                                         Robert J. Mason
                        INAME OF PERSON WHO SERVED PAPERSISIIERIFF OR MARSHAL)




POS     IS IR    Ja J     «J   Silo rj
                                                              PROOF OF SERVICE OF SUMMONS
                                                                                                                                                        Page of 2
                                                                                                                                                POS010/CW388002
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 45 of 203 Page ID #:45
Electronically
          r''.3FILED by Superior Court of California, County of Los Angeles on 04/27/2021 02:43 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Johnston,Deputy Clerk
                        2021
                           Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 46 of 203 Page ID #:46
                                                                                                        POS-010
            ATTORNEY OR PARTY INITHOUT                                    'TORNEY IName, State Ba      umoer, andaddressl                                                      FOR COURT IJSE ONLY
              Michael Louis Kelly, Eso SBN. 82063
              Kirlland & Packard LLP
              1638 South Paofic Coast Hrghway Redondo Beach, CA 90277
             TELEPHONE NO                         1310) 330 IDCC      I
                                                                          FAX   No f310) 030 1001 IE   MAIL   ADDRESS fOPfonag mfmgkinlandpacka d corn
                  ATTORNEY FOR INamel Plainttf Yosuke                             Hradate


            TORRANCE COURTHOUSE
                         STREET ADDRESS                      825 MAPLE AVE.
                         MAILING ADDRESS

                        CI'I   Y   ANO ZIP CODE             TORRANCE, CA 90503
                                   BRANCH NAI IE

                   PLAINTIFF. Yosuke Hiradate                                                                                                            CASE NUMBER. 21TRCV00301 Dept: 8

             DEFENDANT                             Rslph's Grocery Company,et al

                                                                                                                                                           Ref No or File No
                                                                                PROOF OF SERVICE OF SUMMONS                                                                           271 0-1

                                                                                        (Separate proof of service is required for each party served.)
        1     At    the time of service was at least 18 years of age and not a party to this action.
                                                                  I
                                                                                                                                                                                       BY FAX
        2     I    served copies of
              a 2 Summons
              b R Complaint
              c R Alternative Dispute Resolution (ADR) package
              d I—I  Case Cover Sheet (servedin complex cases only)
                                    Civil
              e Cross-complaint
                    R
                other (specify documents): Addendum, Notice of case Assignment, stipulation Package
        3 a Party served (specify name of party as shown on documents served)
              Ralph's Grocery Company, an Ohio Corporation

              b.    2      Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                           item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                        Kaitlyn Mannix - Authorized to Accept Service
        4 Address where the party was served:                                                     2710 Gateway Oaks Dr Ste 150N
                                                                                                  Sacramento, CA 95833-3502
        5.    Iserved the party (check proper box)
              a —"I by personal service. personally delivered the documents listed in item 2 to the party or person authorized to
                    )                                                               I


                     receive service of process for the party (1) on(date).4723(2021 (2) at(lime). 2:44 PM

              b                    by substituted service. On (date): at (lime): left the documents listed in item 2 wtth or
                                                                                                                         I


                                   ln the presence of (name and title or relationship lo person indrcaled in item 35):


                                   (1)                 (business) a person at least                     18 years of age apparently in charge at the office or usual place of business of the
                                                       person to be served                    I   informed him of her of the general nature of the papers.

                                   (2)                 (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                                                       abode of the party. informed him or her of the general nature of the papers.
                                                                                          I




                                   (3)                 (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                                       address of the person to be served, other than a United States Postal Service post office box. informed him of             I

                                                       her of the general nature of the papers
                                                       Ithereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                                                       place where the copies were left (Code Civ Proc., 5415 20) mailed the documents on        I


                                                       (dale) from (city)                                                  or   a declaration of mailing is attached.
                                   (5)                 I   attach a declaration of diligence stating actions taken first to attempt personal service



                                                                                                                                                                                                           Page   I   of 2
             ., App 0          eo for    I
                                             land story     Use                                                                                                                       code of civil procedure   5 417 10
                                                                                                       PROOF OF SERVICE OF SUMMONS
        POSCICIR                    3        ar    I   2007)                                                                                                                              POS010-1ICW385989
                   Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 47 of 203 Page ID #:47
           PETITIONER Yosuke Hiradate                                                                                    CASE NUMBER

                                                                                                                                          21TRCV00301
          RESPONDENT Raipwa Grocery Company,et al


      c             by mail and acknowledgment of receipt of service.             I   mailed the documents listed tn item 2 to the party, to the address
                    shown in item 4, by first-class mail, postage prepaid,
                    (1) on (dale)                                                       (2) from (c//y):
                    (3)     with two    copies of the Notice and Acknowledgment of Rece/ptand a postage-paid return envelope addressed to me.
                               (A/tach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., Q 415 30.)
                    (4)    to an address outside California with return receipt requested. (Code           Civ   Proc, g 415 40 )
      d             by other means (specify means of service and authorizing code section):


          Additional page describing service is attached.
6. The "Notice to the Person Served" (on the summons) was completed                         as follows:
      a             as an individual defendant.
                    as the person sued under the fictitious name of (specify):
      c             as occupant.
      d    +        On behalf of (spec/fy). Ralph's Grocery Company,                  an Ohio Corporation
                    under the following Code of Civil Procedure section.
                                  g    416.10
                                       416 20
                                                (corporation)
                                                (defunct corporation)
                                                                                             415.95
                                                                                             416.60
                                                                                                      (business organization, form unknown)
                                                                                                      (minor)
                                       416.30   (joint stock company/association)            416.70   (ward or conservatee)
                                       416.40   (association or partnership)                 416.90   (authorized person)
                                       416 50   (public entity)                              415.46   (occupant)
                                                                                             other.
7     Person who served papers
      a Name.   Robert J. Mason - Cal West Attorney Services, Inc
      b Address 1201 W. Temple Street Los Angeles, CA 90026
      c. Telephone number: (213) 353-9100
      d The fee for service was: $ 47.50
      e.   I   am
           (1)            not a registered California process server.
           (2)      D     exempt from registration under Business and Professions Code section 22350(b).
           (3)      U
                       (i)
                          registered California piness server:

                       (ii)
                              U  owner           U employee
                              Registration Noz 03-007
                                                                            g     independent contractor

                       (in)   County: Placer County

8     5        I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
               or
9              I   am a California sheriff or marshal and certify that the foregoing is true and correct.
                                                                 I




                    Date 4/23/2021
                    Cal West Attorney Services, inc
                    1201 W. Temple Street
                    Los Angeles, CA 90026
                    (213) 353-9100
                    www.calwest.info



                                      Robert J. Mason
                          (NAME OF PERSON WHO SERVED PAPERSISHERIFF OR MARSHAL)                                             (SIGNATURE)




POS   010)Rev Ja aa 71 2007)                                                                                                                             page 2 of 2
                                                              PROOF OF SERVICE OF SUMMONS
                                                                                                                                                POS-010/CW385989
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 48 of 203 Page ID #:48
Electronically FILED by Superior Court of California, County of Los Angeles on 06/04/2021 11:50 AM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Johnston,Deputy Clerk
                  Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 49 of 203 Page ID #:49


                       1     DAVIS WRIGHT TREMAINE LLP
                               Jacob M. Harper (SBN 259463)
                       2       jharper@dwt.com
                       3     865 South Figueroa Street, Suite 2400
                             Los Angeles, California 90017-2566
                       4     Telephone: (213) 633-6800
                             Facsimile: (213) 633-6899
                       5
                             Attorneys for Defendants
                       6
                             Ralphs Grocery Company
                       7     and The Kroger Co.

                       8

                       9                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                     10                                                         COUNTY OF LOS ANGELES

                     11

                     12      YOSUKE HIRADATE,                                                               Case No. 21TRCV00301
                                                                                                            Assigned to the Hon. Gary Y. Tanaka
                     13                                               Plaintiff,
                                                                                                            DECLARATION OF JACOB M. HARPER
                     14
                                         vs.                                                                REGARDING MEET INABILITY TO
                     15                                                                                     MEET AND CONFER [CCP 430.41]
                             RALPHS GROCERY COMPANY, an Ohio
                     16      Corporation; THE KROGER COMPANY, an                                            Action Filed: April 19, 2021
                             Ohio Corporation; and DOES 1-50, inclusive,                                    Trial Date:   N/A
                     17
                                                                      Defendants.
                     18

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                                                                             DECLARATION OF JACOB M. HARPER
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 50 of 203 Page ID #:50


  1                             DECLARATION OF JACOB M. HARPER

  2          I, Jacob M. Harper, declare as follows:

  3          1.     I am an attorney at law duly licensed to practice before all of the courts in the State

  4 of California. I am a partner in the law firm of Davis Wright Tremaine LLP, counsel of record for

  5 defendants Ralphs Grocery Company and The Kroger Company (collectively, Defendants). I have

  6 personal knowledge of the facts set forth in this declaration and, if called as a witness, could and

  7 would testify competently to such facts under oath. I make this declaration pursuant to Code of

  8 Civil Procedure section 430.41(a)(2) based on the inability of the parties to meet and confer at

  9 least five days prior to the date Defendants’ response to the Complaint was due.
 10          2.     Defendants were served with the Complaint of plaintiff Yosuke Hiradate on April

 11 23, 2021. Their original deadline to respond to the Complaint was May 24, 2021. On or about

 12 May 21, 2021, counsel for Mr. Hiradate provided a two-week extension until June 7, 2021, and we

 13 set a date to meet and confer on Defendants’ anticipated demurrer in response to the complaint. I

 14 called counsel for Mr. Hiradate on that date but could not reach him. Counsel for Mr. Hiradate

 15 called me back but I was unavailable to take his call and the parties could not connect prior to June

 16 2, 2021, the statutory deadline to meet and confer under Section 430.41. I intend to meet and

 17 confer with counsel for Mr. Hiradate at a mutually agreeable date and time prior to filing any

 18 demurrer, if one proves necessary after the parties’ meet and confer discussions. Based on this

 19 declaration, Defendants’ deadline to respond to the Complaint is continued by 30 days until
 20 July 7, 2021.

 21          I declare under penalty of perjury under the laws of the State of California that the

 22 foregoing is true and correct. Executed this 4th day of June 2021, at Los Angeles, California.

 23

 24
                                                                      Jacob M. Harper
 25

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                                                       2
                                     DECLARATION OF JACOB M. HARPER
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 51 of 203 Page ID #:51



                                PROOF OF SERVICE BY MAIL

        I am employed in the County of Los Angeles, State of California. I am over the age of 18
 and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
 2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.

         On June 4, 2021, I served the foregoing document(s) described as: DECLARATION OF
 JACOB M. HARPER REGARDING MEET INABILITY TO MEET AND CONFER [CCP
 430.41] by placing a true copy of said document(s) enclosed in a sealed envelope(s) for each
 addressee named below, with the name and address of the person served shown on the envelope
 as follows:

  Michael Louis Kelly, Esq.                        Attorneys for Plaintiff Yosuke Hiradate
  Joshua A. Fields, Esq.
  Kirtland & Packard LLP
  1638 South Pacific Coast Highway
  Redondo Beach, CA 90277
  mlk@kirtlandpackard.com
  jf@kirtlandpackard.com


         I placed such envelope(s) with postage thereon fully prepaid for deposit in the United
 States Mail in accordance with the office practice of Davis Wright Tremaine LLP, for collecting
 and processing correspondence for mailing with the United States Postal Service. I am familiar
 with the office practice of Davis Wright Tremaine LLP, for collecting and processing
 correspondence for mailing with the United States Postal Service, which practice is that when
 correspondence is deposited with the Davis Wright Tremaine LLP, personnel responsible for
 delivering correspondence to the United States Postal Service, such correspondence is delivered
 to the United States Postal Service that same day in the ordinary course of business.

        Executed on June 4, 2021, at Los Angeles, California.


       State        I declare under penalty of perjury, under the laws of the State of California,
                     that the foregoing is true and correct.
       Federal      I declare under penalty of perjury under the laws of the United States of
                     America that the foregoing is true and correct and that I am employed in the
                     office of a member of the bar of this Court at whose direction the service
                     was made.


                   Frank M. Romero
                      Print Name                                         Signature
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 52 of 203 Page ID #:52



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Torrance Courthouse
Mailing Address: 825 Maple Avenue
City, State and Zip Code: Torrance CA 90503



SHORT TITLE: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.                 CASE NUMBER:
                                                                                21TRCV00301
         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Legal Connect
Reference Number: 4350316_2021_06_04_18_45_46_986_9
Submission Number: 21LA03651482
Court Received Date: 06/04/2021
Court Received Time: 11:50 am
Case Number: 21TRCV00301
Case Title: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.
Location: Torrance Courthouse
Case Type: Civil Unlimited
Case Category: Other Commercial/Business Tort (not fraud/ breach of contract)
Jurisdictional Amount: Over $25,000
Notice Generated Date: 06/04/2021
Notice Generated Time: 1:54 pm

Documents Electronically Filed/Received                  Status

Declaration (name extension)                           Accepted




Comments
Submitter's Comments:

Clerk's Comments:

Electronic Filing Service Provider Information
Service Provider: Legal Connect
Contact: Legal Connect
Phone: (800) 909-6859




                                     NOTICE OF CONFIRMATION OF FILING
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 53 of 203 Page ID #:53
Electronically FILED by Superior Court of California, County of Los Angeles on 07/07/2021 03:12 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Johnston,Deputy Clerk
                  Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 54 of 203 Page ID #:54


                       1     DAVIS WRIGHT TREMAINE LLP
                               Jacob M. Harper (SBN 259463)
                       2       jharper@dwt.com
                               James H. Moon (SBN 268215)
                       3       jamesmoon@dwt.com
                             865 South Figueroa Street, Suite 2400
                       4
                             Los Angeles, California 90017-2566
                       5     Telephone: (213) 633-6800
                             Facsimile: (213) 633-6899
                       6
                             Attorneys for Defendants
                       7     Ralphs Grocery Company
                             and The Kroger Co.
                       8

                       9
                                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     10
                                                         COUNTY OF LOS ANGELES, SOUTHWEST DISTRICT
                     11

                     12
                             YOSUKE HIRADATE,                                                               Case No. 21TRCV00301
                     13                                                                                     Assigned to the Hon. Gary Y. Tanaka
                                                                      Plaintiff,
                     14                                                                                     DEFENDANTS’ NOTICE OF DEMURRER
                                         vs.                                                                AND DEMURRER TO PLAINTIFF’S
                     15                                                                                     COMPLAINT FOR DAMAGES AND
                             RALPHS GROCERY COMPANY, an Ohio                                                PERMANENT INJUNCTIVE RELIEF;
                     16      Corporation; THE KROGER COMPANY, an                                            MEMORANDUM OF POINTS AND
                             Ohio Corporation; and DOES 1-50, inclusive,                                    AUTHORITIES
                     17
                                                                      Defendants.                           [Declaration of Jacob M. Harper and
                     18                                                                                     Proposed Order Filed Concurrently]
                     19                                                                                     Date:                  December 21, 2021
                                                                                                            Time:                  8:30 a.m.
                     20                                                                                     Dept.:                 B
                     21                                                                                     Reservation ID No. 299213979011
                     22                                                                                     Action Filed: April 19, 2021
                                                                                                            Trial Date:   N/A
                     23

                     24

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                                                                                    DEMURRER TO COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 55 of 203 Page ID #:55


  1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2          PLEASE TAKE NOTICE that on December 21, 2021, at 8:30 a.m., in Department B of
  3   the above-captioned Court, Defendants Ralphs Grocery Company and The Kroger Co.
  4   (collectively, Defendants) will and hereby do move for an order sustaining its demurrer to the
  5   First, Second, and Third Causes of Action for violation of the Unfair Competition Law, Bus. &
  6   Prof. Code, § 17200 et seq. (UCL), Consumers Legal Remedies Act, Civ. Code, § 1750 et seq.
  7   (CLRA), and the False Advertising Law, Bus. & Prof. Code, § 17500 et seq. (FAL), asserted in
  8   Plaintiff Yosuke Hiradate’s Complaint, without leave to amend.
  9          Defendants’ demurrer is made on the grounds that the Complaint fails to state a viable
 10   cause of action. (See Code Civ. Proc., § 430.10.) Mr. Hiradate’s claims fail as a matter of law
 11   because he (1) lacks standing to assert claims under California’s consumer protection statutes
 12   based on his failure to allege his actual reliance on Defendants’ purported misrepresentations;
 13   (2) failed to plead any factual allegations sufficient to hold both Ralphs (a retailer) and Kroger
 14   (a manufacturer) responsible for the unidentified misrepresentations, and (3) admits a third-party
 15   wrongdoer caused Mr. Hiradate’s claimed harm.
 16          This demurrer is based on this notice and demurrer; the attached Memorandum of Points
 17   and Authorities; the concurrently filed documents in support; all pleadings, records, and files in
 18   this action; and such evidence and argument as may be presented at or before the hearing.
 19
 20   Dated: July 7, 2021                                   DAVIS WRIGHT TREMAINE LLP
 21

 22                                                         By:
                                                                  Jacob M. Harper
 23
                                                            Attorneys for Defendants
 24                                                         Ralphs Grocery Company
                                                            and The Kroger Co.
 25

 26

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                                                        2
                                          DEMURRER TO COMPLAINT
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  1                                              DEMURRER

  2                           DEMURRER TO THE FIRST CAUSE OF ACTION

  3          Defendants demur generally and specially to Mr. Hiradate’s First Cause of Action in the

  4   Complaint for violation of the Unfair Competition Law, Business & Professions Code

  5   section 17200, on the ground that the pleading fails to state a cause of action. (See Code Civ.

  6   Proc., § 430.10, subd. (e).)

  7                         DEMURRER TO THE SECOND CAUSE OF ACTION

  8          Defendants demur generally and specially to Mr. Hiradate’s Second Cause of Action in

  9   the Complaint for violation of the Consumers Legal Remedies Act, Civil Code section 1750 et

 10   seq. on the ground that the pleading fails to state a cause of action. (See Code Civ. Proc.,

 11   § 430.10, subd. (e).)

 12                           DEMURRER TO THE THIRD CAUSE OF ACTION

 13          Defendants demur generally and specially to Mr. Hiradate’s Third Cause of Action in the

 14   Complaint for False and Misleading Advertising in Violation of the False Advertising Law,

 15   Business & Professions Code section 17500 et seq. on the ground that the pleading fails to state a

 16   cause of action. (See Code Civ. Proc., § 430.10, subd. (e).)

 17

 18   Dated: July 7, 2021                                   DAVIS WRIGHT TREMAINE LLP

 19
 20                                                         By:
                                                                  Jacob M. Harper
 21
                                                            Attorneys for Defendants
 22                                                         Ralphs Grocery Company
                                                            and The Kroger Co.
 23

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  1                       MEMORANDUM OF POINTS AND AUTHORITIES

  2 I.       INTRODUCTION

  3          Plaintiff Yosuke Hiradate filed this individual action against Defendants Ralphs Grocery

  4 Company and The Kroger Company (collectively, Defendants) to recover the value of a $500 gift

  5 card that he purchased from a Ralphs store and the $5.95 activation fee. (Compl. ¶ 1.) As alleged

  6 in his Complaint, third parties allegedly defrauded Mr. Hiradate and Defendants by tampering

  7 with the gift card prior to the sale. (Ibid.) When Mr. Hiradate reported the fraud, a store

  8 employee assisted him in obtaining a refund from the bank that issued the gift card. (Ibid.) Even

  9 so, Mr. Hiradate claims Defendants should have done more to prevent the third parties’ fraudulent
 10 scheme. The action should be dismissed with prejudice because Mr. Hiradate failed to (1) allege

 11 his standing to sue Defendants under California’s consumer protection statutes, (2) identify the

 12 representations made by the two Defendants, and (3) show that any purported representations were

 13 false when made.

 14          First, Mr. Hiradate has failed to establish his statutory standing to assert claims under

 15 California’s Unfair Competition Law (UCL), Consumers Legal Remedies Act (CLRA), and False

 16 Advertising Law (FAL). Mr. Hiradate’s burden is to plead that Defendants’ purported

 17 “misrepresentations were an immediate cause of the injury-causing conduct.” (In re Tobacco II

 18 Cases (2009) 46 Cal.4th 298, 328.) Here, Mr. Hiradate has not alleged what, if anything, he saw

 19 before buying the Gift Card or which Defendant was responsible for the representation. (See
 20 Durell v. Sharp Healthcare (2010) 183 Cal.App.4th 1350, 1363 [affirming dismissal where

 21 plaintiff failed to allege that he ever saw and read the alleged misrepresentations].)

 22          Second, Mr. Hiradate has sued two independent entities without any effort to explain what

 23 each defendant did or said. “The concept of vicarious liability has no application to actions

 24 brought under the unfair business practices act.” (Emery v. Visa Internat. Serv. Ass’n (2002) 95

 25 Cal.App.4th 952, 960.) To the contrary, “[a] defendant’s liability must be based on his personal

 26 ‘participation in the unlawful practices’ and ‘unbridled control’ over the practices that are found

 27 to violate section 17200 or 17500.” (Ibid.) Even so, the Complaint conflates two distinct

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  1 corporate defendants and provides no explanation for what each entity purported said or did with

  2 respect to the Gift Card.

  3          Third, Mr. Hiradate fails to allege that any statement made by Defendants (whatever they

  4 might be), were false when made. The common-sense rule is that “where a defendant lacked

  5 knowledge of the facts that rendered its representations misleading at the time it made the

  6 representations, courts have been unwilling to impose liability.” (Kowalsky v. Hewlett-Packard

  7 Co. (N.D.Cal. 2011) 771 F.Supp.2d 1156, 1160.) Here, Mr. Hiradate does not allege that either

  8 Defendant knew that any representation about the Gift Card was false when made. To the

  9 contrary, he concedes that the Gift Cards worked as intended when put out for sale, but were
 10 “tampered with” by third parties prior to purchase. (Compl. ¶¶ 10-11.)

 11          Because Mr. Hiradate failed to allege any valid claim, the Court should sustain

 12 Defendants’ Demurrer to his Complaint.

 13 II.      FACTUAL BACKGROUND

 14          A.     Mr. Hiradate Purchased a $500 Gift Card from a Ralphs Store.

 15          Mr. Hiradate alleges that he purchased a $500 gift card at a Ralphs store on December 21,

 16 2019. (Compl. ¶ 9.) In connection with his purchase, Mr. Hiradate paid $500 plus a $5.95

 17 activation fee. (Ibid.) Upon returning home, Mr. Hiradate “opened the Gift Card package and

 18 checked the balance for the first time” and was “shocked to learn the Gift Card … actually had

 19 zero value.” (Ibid.)
 20          B.     Mr. Hiradate Is Informed That Third Parties Tampered With the Gift Card.

 21          Mr. Hiradate returned to the Ralphs store that same day. (Compl. ¶ 10.) He spoke with a

 22 store manager who explained that the Gift Card “had been tampered with prior to purchase.”

 23 (Ibid.) The store manager told Mr. Hiradate about a staff meeting that morning about third parties

 24 tampering with gift cards to steal their value. (Id. ¶¶ 10-12.) According to Mr. Hiradate, the third

 25 party placed a “photo copy of another gift card over the Gift Card Plaintiff had purchased, prior to

 26 check out at Ralph’s, so the bar card for the other gift card would be visible to receive any money

 27 added to the card by the Ralph’s cashier at check out.” (Id. ¶ 1.) The store manager assisted Mr.

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  1 Hiradate with pursuing a fraud claim with the Gift Card merchant. (Id. ¶ 10.) Mr. Hiradate claims

  2 he did not receive any response from the merchant or compensation from Ralphs. (Id. ¶ 13.)

  3          C.      Mr. Hiradate Files His Complaint Against Defendants.

  4          On April 19, 2021, Mr. Hiradate initiated this action against Ralphs and Kroger. The

  5 Complaint alleges three causes of action against Defendants under the UCL, CLRA, and FAL.

  6 (Compl. ¶¶ 17-37.) The claims are each exclusively premised on Defendants allegedly selling Mr.

  7 Hiradate a gift card with zero value. (Ibid.) The Complaint refers to the two distinct corporate

  8 defendants collectively as “RALPH’S.” (Id. ¶ 3.) The only allegations against Kroger are that it

  9 is an Ohio corporation doing business in California, and that it “operates, either directly or through
 10 its subsidiaries such as defendant RALPH’s, which it wholly owns and operates, supermarkets and

 11 multi-department stores nationwide.” (Ibid.) Mr. Hiradate brings his claims for $505.95 and other

 12 relief in his individual capacity and does not claim to be asserting a class action.

 13 III.     ARGUMENT

 14          A.      Mr. Hiradate Lacks Standing to Maintain His Claims.

 15          Mr. Hiradate lacks standing to pursue his claims under the UCL, FAL, and CLRA because

 16 his Complaint lacks basic factual allegations showing his reliance on any representation made by

 17 either Defendant.

 18          “The CLRA makes unlawful . . . various ‘unfair methods of competition and unfair or

 19 deceptive acts or practices undertaken by any person in a transaction intended to result or which
 20 results in the sale or lease of goods or services to any consumer.’” (Veera v. Banana Republic,

 21 LLC (2016) 6 Cal.App.5th 907, 915 [quoting Civ. Code, § 1770].) “The UCL prohibits, and

 22 provides civil remedies for, unfair competition, which it defines as ‘any unlawful, unfair or

 23 fraudulent business act or practice [or misleading advertising].’” (Id. at p. 914-15 [quoting Bus. &

 24 Prof. Code, § 17200].) “The [FAL] generally prohibits advertising that contains ‘any

 25 statement . . . which is untrue or misleading, and which is known, or . . . should be known, to be

 26 untrue or misleading.’” (Id. at p. 915 [quoting Bus. & Prof. Code, § 17500].)

 27          To survive a demurrer, each of these consumer protection statutes requires factual

 28 allegations sufficient to establish a private plaintiff’s “standing.” “CLRA actions may be brought


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  1 only by a consumer who suffers any damage as a result of the use or employment of a proscribed

  2 method, act, or practice.” (Durell v. Sharp Healthcare (2010) 183 Cal.App.4th 1350, 1366

  3 [emphasis in original].) “Relief under the CLRA is specifically limited to those who suffer

  4 damage, making causation a necessary element of proof.” (Id. at p. 1367.) “Accordingly,

  5 plaintiffs in a CLRA action must show not only that a defendant’s conduct was deceptive but that

  6 the deception caused them harm.” (Ibid.)

  7          Likewise, the UCL and FAL were amended by California voters in 2004 such that a

  8 private party must now “(1) establish a loss or deprivation of money or property sufficient to

  9 qualify as injury in fact, i.e., economic injury, and (2) show that that economic injury was the
 10 result of, i.e., caused by, the unfair business practice or false advertising that is the gravamen of

 11 the claim.” (Veera, 6 Cal.App.5th at p. 916 [emphases in original].) A plaintiff may demonstrate

 12 “lost money or property” (i.e., “economic injury”) in a number of ways. For example, a plaintiff

 13 may “(1) surrender in a transaction more, or acquire in a transaction less, than he or she otherwise

 14 would have; (2) have a present or future property interest diminished; (3) be deprived of money or

 15 property to which he or she has a cognizable claim; or (4) be required to enter into a transaction,

 16 costing money or property, that would otherwise have been unnecessary.” (Id. at p. 323.)

 17 Importantly, “intangible” harms that do not involve economic injury do not constitute an injury

 18 sufficient to confer standing under the UCL or the FAL. (Id. at p. 324.)

 19          This common “standing” requirement requires allegations of “actual reliance” sufficient to

 20 link the purported misrepresentation to the plaintiff’s purchase decision. (See Durell, supra, 183

 21 Cal.App.4th at p. 1367 [under the CLRA, a “misrepresentation is material for a plaintiff only if

 22 there is reliance—that is, without the misrepresentation, the plaintiff would not have acted as he

 23 did”]; Veera, supra, 6 Cal.App.5th at pp. 326-27 [under the UCL and FAL, a plaintiff “proceeding

 24 on a claim of misrepresentation . . . must demonstrate actual reliance on the allegedly deceptive or

 25 misleading statements, in accordance with well-settled principles regarding the element of reliance

 26 in ordinary fraud actions”].) In the broadest terms, to plead actual reliance, the “plaintiff must

 27 allege that the defendant’s misrepresentations were an immediate cause of the injury-causing

 28 conduct.” (In re Tobacco II Cases (2009) 46 Cal.4th 298, 328.)


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  1          As explained by the California Supreme Court, to meet this threshold standard, a plaintiff

  2 is required to—at the least—allege facts showing they, at the very least, “viewed the defendant’s

  3 advertising.” (Kwikset, supra, 51 Cal.4th at p. 321; accord Durell, supra, 183 Cal.App.4th at p.

  4 1363 [affirming order sustaining demurrer based on plaintiff’s lack of standing under UCL, FAL,

  5 and CLRA because “The SAC does not allege Durell relied on . . . Sharp’s Web site

  6 representations . . . . Indeed, the SAC does not allege Durell ever visited Sharp’s Web site or even

  7 that he ever read the Agreement for Services.”]; Letizia v. Facebook Inc. (N.D.Cal. 2017) 267

  8 F.Supp.3d 1235, 1244 [collecting cases]; Kane v. Chobani, Inc. (N.D.Cal. Sep. 19, 2013) 2013

  9 U.S.Dist.LEXIS 134385, at *30 [applying Kwikset]; Cohen v. E. W. Tea Co., LLC (S.D.Cal. Aug.
 10 2, 2018) 2018 U.S.Dist.LEXIS 130151, at *10 [“Reliance requires that a plaintiff allege she saw

 11 and read deceptive statements.”]; Guzman v. Polaris Indus. (C.D.Cal. May 12, 2021) 2021

 12 U.S.Dist.LEXIS 98389, at *11 [“Courts have recognized there can be no actual reliance where the

 13 buyer did not see, read, or hear an alleged misrepresentation before purchasing the product, and

 14 that mere receipt of or exposure to a statement is insufficient to establish reliance and standing.”]

 15 [citing Brazil v. Dole Packaged Foods, LLC (9th Cir. 2016) 660 F.App’x 531, 533-34].)1

 16          Mr. Hiradate failed to allege his reliance on any allegedly false or deceptive representation

 17 regarding the Gift Card. The SAC does not even include a conclusory allegation that Mr.

 18 Hiradate saw, viewed, or relied on any representation made by either Defendant in deciding to

 19 purchase the Gift Card or even identify what the purported representation could be. The words
 20 “reliance” or “rely” do not appear anywhere in the Complaint. There is no description of any

 21 aspect of the presentation of the Gift Card that Mr. Hiradate claims to have viewed—let alone

 22 allegations showing which Defendant was responsible for the statement or presentation. The only

 23 statements Mr. Hiradate identifies at all are (1) a receipt he received from the Ralphs store

 24 (Compl. ¶¶ 1, 9), and (2) purported “specified values” on the Gift Card (Compl. ¶¶ 8, 20). But the

 25

 26          1
              Federal courts have developed a robust body of case law concerning mislabeling claims
    under California’s UCL, FAL, and CLRA. California has routinely adopted the rationales of
 27 these federal cases, which are based on the application of California law. (See, e.g., Demetriades

 28 v. Yelp, Inc. (2014) 228 Cal.App.4th 294, 311; Lavie v. Procter & Gamble Co. (2003) 105 Cal
    App.4th 496, 504.)

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  1 Complaint does not include any allegation that Mr. Hiradate ever saw or viewed the receipt or the

  2 specified values prior to his purchase. (Ibid.)

  3          To be clear, standing under California’s consumer protection statutes cannot be

  4 satisfied based on Mr. Hiradate’s purported mere receipt of information that he claims was

  5 misleading if he did not see and rely upon that representation in making his purchase. (See,

  6 e.g., Graham v. VCA Antech, Inc. (C.D.Cal. Sep. 12, 2016) 2016 U.S.Dist.LEXIS 145778, at *15

  7 [“it is not enough to ‘receive’ a misrepresentation in a document; a plaintiff must see, read, or hear

  8 the alleged misrepresentation and rely on it”]; In re iPhone App. Litig. (N.D.Cal. 2013) 6

  9 F.Supp.3d 1004, 1022 [“Plaintiffs suggest that standing is established as long as a plaintiff
 10 ‘receives’ a misrepresentation. The implication of this argument seems to be that a plaintiff can

 11 show standing as long as the defendant has disseminated the alleged misrepresentation to her in

 12 some fashion, regardless of whether the plaintiff ever actually sees, reads, or hears the defendant’s

 13 statement. The Court questions how one can act in reliance on a statement one does not see, read,

 14 or hear. Moreover, this argument is foreclosed by case law interpreting the actual reliance

 15 requirements in the UCL and CLRA.”] [citing Durell, 183 Cal.App.4th at 1356; Kwikset, 51

 16 Cal.4th at pp. 327-28]; Phillips v. Apple Inc. (N.D.Cal. Apr. 19, 2016) 2016 U.S.Dist.LEXIS

 17 53148, at *22 [“If Plaintiffs did not view Apple’s statement until after suffering injury, then

 18 viewing the statement could not have been the ‘immediate cause’ of the injury.”]]; Rothman v.

 19 Equinox Holdings, Inc. (C.D.Cal. Jan. 13, 2021) 2021 U.S.Dist.LEXIS 6839, at *14 [accord].)
 20          In addition to Mr. Hiradate’s failure to show that Defendants made any statement on which

 21 he actually relied, Mr. Hiradate’s Complaint goes as far as to admit that third-party fraudsters were

 22 the actual cause for his harm based on their independent and subsequent illegal actions. As

 23 alleged in the Complaint, the Gift Card Mr. Hiradate purchased was “tampered with prior to

 24 purchase.” (Compl. ¶ 1.) In particular, a third-party criminal placed a “photo copy of another gift

 25 card over the Gift Card Plaintiff had purchased . . . so the bar card for the other gift card would be

 26 visible to receive any money added to the card by the Ralph’s cashier at check out.” (Ibid.)2

 27          2
             If this case continues (it should not), Mr. Hiradate will have to demonstrate why he did
 28 not obtain a full refund through the refund process that a Ralphs employee personally assisted him
    with. His failure to mitigate his purported harm will prove fatal in this case.

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  1          In other words, Mr. Hiradate suffered his claimed loss because a third-party actor engaged

  2 in fraud against Defendants and tampered with the gift card before it came into his

  3 possession. His claims are thus barred—independent of statutory standing requirements—based

  4 on well-established rules of causation. (See Kane v. Hartford Accident & Indem. Co. (1979) 98

  5 Cal.App.3d 350, 360 [“The act of a third person in committing an intentional tort or crime is a

  6 superseding cause of harm to another resulting therefrom”]; O’Keefe v. Inca Floats (N.D.Cal. Oct.

  7 31, 1997) 1997 WL 703784, at *4 [“independent illegal acts of third parties are deemed

  8 unforeseeable and therefore, the sole proximate cause of the injury which excludes negligence of

  9 another as a cause of injury”]; Jesse v. Malcmacher (C.D.Cal. Apr. 5, 2016) 2016 WL 9450683, at
 10 *10 [“The illegal acts of third parties are unforeseeable as a matter of law.”].)

 11          In short, Mr. Hiradate’s Complaint fails as a matter of law because it does not allege that

 12 representations by Defendants—as opposed to subsequent actions by third parties—caused his

 13 purported loss.

 14          B.       Mr. Hiradate Failed to Allege a Claim Against the Two Defendants.

 15          The failure to allege standing is particularly problematic in this case because Mr. Hiradate

 16 is attempting to assert his claims against two separate and distinct defendants without any effort to

 17 differentiate between the two and what representations each made.

 18          Ralphs is the retail grocer and Kroger is a distinct corporate entity that has some affiliation

 19 with Ralphs. (Compl. ¶¶ 2-3.) Mr. Hiradate simply refers to both collectively as “RALPH’S” in
 20 his Complaint and points to vague statements without any effort to attribute responsibility for any

 21 statement between the two separate entities. (Id. ¶ 3.) This improper, conclusory, and deficient

 22 attempt at “group pleading” is insufficient.

 23          “The concept of vicarious liability has no application to actions brought under the unfair

 24 business practices act.” (Emery v. Visa Internat. Serv. Ass’n (2002) 95 Cal.App.4th 952, 960.) To

 25 the contrary, “[a] defendant’s liability must be based on his personal ‘participation in the unlawful

 26 practices’ and ‘unbridled control’ over the practices that are found to violate section 17200 or

 27 17500.” (Ibid. [citing People v. Toomey (1984) 157 Cal.App.3d 1, 14]; accord In re Firearm

 28 Cases (2005) 126 Cal.App.4th 959, 983.) “Similarly, under the CLRA, absent allegations of


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  1 participation or control, defendants cannot be held secondarily liable for the acts of third parties.”

  2 (In re Hydroxycut Mktg. & Sales Practices Litig. (S.D.Cal. 2014) 299 F.R.D. 648, 656.)

  3          Applying established California law in the context of companies at different points in the

  4 chain of distribution, e.g., retailers and manufacturers, a private plaintiff must offer factual

  5 allegations about each party’s purported involvement in the alleged fraudulent scheme. (See, e.g.,

  6 Hydroxycut, supra, 299 F.R.D. at 656 [applying Emery]; Musgrave v. Taylor Farms Pac., Inc.

  7 (N.D.Cal. Feb. 20, 2019) 2019 U.S.Dist.LEXIS 229391, at *19 [dismissing claims against retailers

  8 based on failure to allege retailers’ responsibility for product representations]; Tortilla Factory,

  9 LLC v. Health-Ade LLC (C.D.Cal. July 13, 2018) 2018 U.S.Dist.LEXIS 157538, at *32-33
 10 [“courts have uniformly dismissed aiding-and-abetting false advertising claims against

 11 retailers/distributors that are alleged to have done nothing more than sell a deceptively advertised

 12 product that is manufactured and advertised by a third party . . . plaintiff does not identify a single

 13 case in which a court permitted a false advertising claim to proceed against a distributor whose

 14 only alleged wrong was selling a mislabeled product”] [collecting cases]; In re Jamster Mktg.

 15 Litig. (S.D.Cal. May 22, 2009) 2009 U.S.Dist.LEXIS 43592, at *26 [“the court grants the motion

 16 to dismiss the §17200 and 17500 claims against Wireless Providers to the extent those claims are

 17 based upon the alleged false advertising of Content Providers”].)

 18          Here, Mr. Hiradate offers no factual allegations supporting his allegations that Kroger and

 19 Ralphs each made actionable misrepresentations (let alone specific representations that he relied
 20 upon). Mr. Hiradate cannot hold Kroger liable under California’s consumer protection statutes

 21 based on statements made by Ralphs and vice versa, without any allegation of how they both

 22 directly participated in or controlled the purported misrepresentations (whatever they might be).

 23 His failure to plead these fundamental facts further supports dismissal of his claims.

 24          C.      Mr. Hiradate Failed to Allege Any Statement Was False When Made.

 25          Mr. Hiradate also fails to allege that any potentially false statement made by either

 26 defendant was knowingly false when made. In particular, because Defendants’ true statements,

 27 e.g., regarding the value of the Gift Card, were apparently rendered false based on the later

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                                          DEMURRER TO COMPLAINT
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  1 fraudulent actions of third parties, they were not false when made and cannot give rise to liability

  2 under the UCL, FAL, or CLRA.

  3          “[W]hile the language of strict liability is frequently repeated in descriptions of the UCL

  4 generally, California courts have not applied the language of strict liability” in practice when true

  5 statements are rendered false based on the later actions of third parties. (See Kowalsky v. Hewlett-

  6 Packard Co. (N.D. Cal. 2011) 771 F.Supp.2d 1156, 1160.) In particular, “where a defendant

  7 lacked knowledge of the facts that rendered its representations misleading at the time it made the

  8 representations, courts have been unwilling to impose liability . . . .” (Ibid. [dismissing claims

  9 under the CLRA and UCL based on statements made by defendant that were true when made].)
 10          Courts have regularly rejected similar attempts by private plaintiffs to make out

 11 indistinguishable claims under the UCL, FAL, and CLRA based on true statements rendered false

 12 based on the later actions of others. (See Neu v. Terminix Int’l, Inc. (N.D.Cal. July 24, 2008) 2008

 13 U.S.Dist.LEXIS 60505, at *11 [“Even where Plaintiff has alleged false or misleading statements

 14 that could support a fraud claim, she has not alleged facts to support a finding that Defendants

 15 knew that those statements were false when made. Plaintiff’s California Business and Professions

 16 Code §§ 17200 and 17500 and California Civil Code § 1750 claims are dismissed without leave to

 17 amend.”]; Kowalsky, 771 F Supp.2d at p. 1162 [“it seems that HP eventually became aware of the

 18 alleged problems with the 8500 Printer, but Plaintiff has not pled sufficient facts to suggest that

 19 HP had knowledge of that basic fact at the time that it marketed”]; Klein v. Earth Elements, Inc.
 20 (1997) 59 Cal.App.4th 965, 970 [“The public is not likely to be deceived by Earth Elements’

 21 unintentional distribution of unmerchantable pet food. While the customer buying ‘Nature’s

 22 Recipe’ would anticipate that the product was pet-edible, that same customer would not

 23 be deceived when the food turned out to be contaminated.”].)

 24          Here, Mr. Hiradate apparently concedes that the Gift Card had no value because a third-

 25 party enacted a fraud on him and Ralphs after the Gift Card was printed and put on the shelves.

 26 (Compl. ¶¶ 10-11.) When Mr. Hiradate complained, a Ralphs’ employee assisted him and

 27 provided recourse to receive a refund. (Id. ¶¶ 10-13.) The Ralphs employee even “assisted him in

 28 submitting the documents via fax” to facilitate his refund. (Id. ¶ 13.) Despite Mr. Hiradate’s


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                                          DEMURRER TO COMPLAINT
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  1 vague and distorted efforts to suggest that Defendants were or should have been aware of the third

  2 parties’ fraud based on prior incidents, there are no allegations in the Complaint that Defendants

  3 were aware of the third-party schemes prior to the printing of any statement that Mr. Hiradate

  4 could have relied upon. The Gift Cards were printed and labeled well before the December 21,

  5 2019, incident, and the purported staff meeting that morning to address that issue. (Id. ¶¶ 9, 11.)

  6          The purpose of California’s consumer protection statutes is to protect consumers from

  7 preventable, deceptive, and sharp practices. It is not the tool to remedy harms caused by the

  8 actions of third-party fraudsters who take independent steps to render true statements false by their

  9 malicious actions.
 10 IV.      CONCLUSION

 11          Based on the deficiencies identified above, the Court should dismiss Mr. Hiradate’s UCL,

 12 CLRA, and FAL claims with prejudice.

 13

 14 Dated: July 7, 2021                                    DAVIS WRIGHT TREMAINE LLP

 15

 16                                                        By:
                                                                 Jacob M. Harper
 17
                                                           Attorneys for Defendants
 18                                                        Ralphs Grocery Company
                                                           and The Kroger Co.
 19
 20

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                                                      16
                                         DEMURRER TO COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 70 of 203 Page ID #:70



                                PROOF OF SERVICE BY MAIL

        I am employed in the County of Los Angeles, State of California. I am over the age of 18
 and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
 2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.

                 On July 7, 2021, I served the foregoing document(s) described as:
 DEFENDANTS’ NOTICE OF DEMURRER AND DEMURRER TO PLAINTIFF’S
 COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF;
 MEMORANDUM OF POINTS AND AUTHORITIES
  by placing a true copy of said document(s) enclosed in a sealed envelope(s) for each addressee
 named below, with the name and address of the person served shown on the envelope as follows:

  Michael Louis Kelly, Esq.                        Attorneys for Plaintiff Yosuke Hiradate
  Joshua A. Fields, Esq.
  Kirtland & Packard LLP
  1638 South Pacific Coast Highway
  Redondo Beach, CA 90277
  mlk@kirtlandpackard.com
  jf@kirtlandpackard.com

         I placed such envelope(s) with postage thereon fully prepaid for deposit in the United
 States Mail in accordance with the office practice of Davis Wright Tremaine LLP, for collecting
 and processing correspondence for mailing with the United States Postal Service. I am familiar
 with the office practice of Davis Wright Tremaine LLP, for collecting and processing
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 delivering correspondence to the United States Postal Service, such correspondence is delivered
 to the United States Postal Service that same day in the ordinary course of business.

        Executed on July 7, 2021, at Los Angeles, California.


       State        I declare under penalty of perjury, under the laws of the State of California,
                     that the foregoing is true and correct.
       Federal      I declare under penalty of perjury under the laws of the United States of
                     America that the foregoing is true and correct and that I am employed in the
                     office of a member of the bar of this Court at whose direction the service
                     was made.


                   Frank M. Romero
                      Print Name                                         Signature
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1 of 2                                                                                                     7/7/2021, 9:48 AM
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2 of 2                                                                                                     7/7/2021, 9:48 AM
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 73 of 203 Page ID #:73



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Torrance Courthouse
Mailing Address: 825 Maple Avenue
City, State and Zip Code: Torrance CA 90503



SHORT TITLE: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.                 CASE NUMBER:
                                                                                21TRCV00301
         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Legal Connect
Reference Number: 4464499_2021_07_07_21_29_26_883_4
Submission Number: 21LA03787819
Court Received Date: 07/07/2021
Court Received Time: 3:12 pm
Case Number: 21TRCV00301
Case Title: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.
Location: Torrance Courthouse
Case Type: Civil Unlimited
Case Category: Other Commercial/Business Tort (not fraud/ breach of contract)
Jurisdictional Amount: Over $25,000
Notice Generated Date: 07/09/2021
Notice Generated Time: 11:20 am

Documents Electronically Filed/Received                  Status

Demurrer - without Motion to Strike                    Accepted




Declaration (name extension)                           Accepted




Order (name extension)                                 Accepted




Comments
Submitter's Comments:

Clerk's Comments:
                                      NOTICE OF CONFIRMATION OF FILING
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Phone: (800) 909-6859




                                    NOTICE OF CONFIRMATION OF FILING
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 75 of 203 Page ID #:75
Electronically FILED by Superior Court of California, County of Los Angeles on 07/07/2021 03:12 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Johnston,Deputy Clerk
                  Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 76 of 203 Page ID #:76


                       1     DAVIS WRIGHT TREMAINE LLP
                               Jacob M. Harper (SBN 259463)
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                               James H. Moon (SBN 268215)
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                             Los Angeles, California 90017-2566
                       5     Telephone: (213) 633-6800
                             Facsimile: (213) 633-6899
                       6
                             Attorneys for Defendants
                       7     Ralphs Grocery Company
                             and The Kroger Co.
                       8

                       9
                                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     10
                                                         COUNTY OF LOS ANGELES, SOUTHWEST DISTRICT
                     11

                     12
                             YOSUKE HIRADATE,                                                               Case No. 21TRCV00301
                     13                                                                                     Assigned to the Hon. Gary Y. Tanaka
                                                                      Plaintiff,
                     14                                                                                     DECLARATION OF JACOB M. HARPER
                                         vs.                                                                IN SUPPORT OF DEFENDANTS’
                     15                                                                                     DEMURRER TO PLAINTIFF’S
                             RALPHS GROCERY COMPANY, an Ohio                                                COMPLAINT FOR DAMAGES AND
                     16      Corporation; THE KROGER COMPANY, an                                            PERMANENT INJUNCTIVE RELIEF
                             Ohio Corporation; and DOES 1-50, inclusive,
                     17                                                                                     [Demurrer and Proposed Order Filed
                                                                      Defendants.                           Concurrently]
                     18
                                                                                                            Date:                  December 21, 2021
                     19                                                                                     Time:                  8:30 a.m.
                                                                                                            Dept.:                 B
                     20
                                                                                                            Reservation ID No. 299213979011
                     21
                                                                                                            Action Filed: April 19, 2021
                     22                                                                                     Trial Date:   N/A
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                                                     HARPER DECLARATION IN SUPPORT OF DEMURRER TO COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 77 of 203 Page ID #:77


  1                             DECLARATION OF JACOB M. HARPER

  2          I, Jacob M. Harper, declare as follows:

  3          1.     I am an attorney at law duly licensed to practice before all of the courts in the State

  4 of California. I am a partner in the law firm of Davis Wright Tremaine LLP, counsel of record for

  5 defendants Ralphs Grocery Company and The Kroger Company (collectively, Defendants). I have

  6 personal knowledge of the facts set forth in this declaration and, if called as a witness, could and

  7 would testify competently to such facts under oath. I make this declaration in support of the

  8 concurrently filed Demurrer to the Complaint of plaintiff Yosuke Hiradate.

  9          2.      Defendants were served with the Complaint of plaintiff Yosuke Hiradate on April

 10 23, 2021. On or about May 21, 2021, counsel for Mr. Hiradate provided a two-week extension

 11 until June 7, 2021, and we set a date to meet and confer on Defendants’ anticipated demurrer in

 12 response to the complaint. I called counsel for Mr. Hiradate on that date but could not reach him.

 13 Defendants submitted a declaration under Code of Civil Procedure section 430.41 on June 4, 2021.

 14          I declare under penalty of perjury under the laws of the State of California that the

 15 foregoing is true and correct. Executed this 7th day of July 2021, at Los Angeles, California.

 16

 17
                                                                      Jacob M. Harper
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                     HARPER DECLARATION IN SUPPORT OF DEMURRER TO COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 78 of 203 Page ID #:78



                                PROOF OF SERVICE BY MAIL

        I am employed in the County of Los Angeles, State of California. I am over the age of 18
 and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
 2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.

         ON JULY 7, 2021, DECLARATION OF JACOB M. HARPER IN SUPPORT OF
 DEFENDANTS’ DEMURRER TO PLAINTIFF’S COMPLAINT FOR DAMAGES AND
 PERMANENT INJUNCTIVE RELIEF
  by placing a true copy of said document(s) enclosed in a sealed envelope(s) for each addressee
 named below, with the name and address of the person served shown on the envelope as follows:

  Michael Louis Kelly, Esq.                          Attorneys for Plaintiff Yosuke Hiradate
  Joshua A. Fields, Esq.
  Kirtland & Packard LLP
  1638 South Pacific Coast Highway
  Redondo Beach, CA 90277
  mlk@kirtlandpackard.com
  jf@kirtlandpackard.com

         I placed such envelope(s) with postage thereon fully prepaid for deposit in the United
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 and processing correspondence for mailing with the United States Postal Service. I am familiar
 with the office practice of Davis Wright Tremaine LLP, for collecting and processing
 correspondence for mailing with the United States Postal Service, which practice is that when
 correspondence is deposited with the Davis Wright Tremaine LLP, personnel responsible for
 delivering correspondence to the United States Postal Service, such correspondence is delivered
 to the United States Postal Service that same day in the ordinary course of business.

        Executed on July 7, 2021, at Los Angeles, California.


       State        I declare under penalty of perjury, under the laws of the State of California,
                     that the foregoing is true and correct.

       Federal      I declare under penalty of perjury under the laws of the United States of
                     America that the foregoing is true and correct and that I am employed in the
                     office of a member of the bar of this Court at whose direction the service
                     was made.


                   Frank M. Romero
                      Print Name                                          Signature




                                                 2
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1 of 2                                                                                                     7/7/2021, 9:48 AM
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              Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 80 of 203 Page ID #:80




2 of 2                                                                                                     7/7/2021, 9:48 AM
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 81 of 203 Page ID #:81
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 82 of 203 Page ID #:82
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 83 of 203 Page ID #:83
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 84 of 203 Page ID #:84
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 85 of 203 Page ID #:85
  Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 86 of 203 Page ID #:86
                                                                                Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Torrance Courthouse
825 Maple Avenue, Torrance, CA 90503
PLAINTIFF/PETITIONER:
Yosuke Hiradate
DEFENDANT/RESPONDENT:
Ralph's Grocery Company et al
                                                                          CASE NUMBER:
                        CERTIFICATE OF MAILING                            21TRCV00301

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Request for Entry of Default / Judgment upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Torrance, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    Michael Kelly
    Kirtland & Packard LLP
    1638 South Pacific Coast Hwy.
    Redondo Beach, CA 90277




                                                    Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 07/13/2021                                   By:   M. Fondon
                                                          Deputy Clerk




                                     CERTIFICATE OF MAILING
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 87 of 203 Page ID #:87
       Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 88 of 203 Page ID #:88

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
Branch Name: Torrance Courthouse
Mailing Address: 825 Maple Avenue
City, State and Zip Code: Torrance CA 90503


SHORT TITLE:   YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et                 CASE NUMBER:
al.                                                                           21TRCV00301
             NOTICE OF REJECTION OF ELECTRONIC FILING

The electronic filing described by the summary data below was reviewed and rejected by the Superior Court of
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Documents Electronically Rejected
Request for Entry of Default / Judgment

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The Defendant's have responded to the case.




07/13/2021                                E-FILING REJECTION NOTICE                                  Page: 1
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 89 of 203 Page ID #:89
             Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 90 of 203 Page ID #:90
Electronically FILED by Superior Court of California, County of Los Angeles on 09/22/2021 12:15 PM Sherri R. Carter, Executive Officer/Clerk of Court, by P. Perez,Deputy Clerk




                1       DAVIS WRIGHT TREMAINE LLP
                         Jacob M. Harper (SBN 259463)
                2        jharper@dwt.com
                3        James H. Moon (SBN 268215)
                         jamesmoon@dwt.com
                4       865 South Figueroa Street, Suite 2400
                        Los Angeles, California 90017-2566
                5       Telephone: (213) 633-6800
                        Facsimile: (213) 633-6899
                6

                7       Attorneys for Defendants
                        Ralphs Grocery Company
                8       and The Kroger Co.

                9

              10
                                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
              11
                                                   COUNTY OF LOS ANGELES, SOUTHWEST DISTRICT
              12

              13

              14
                        YOSUKE HIRADATE,                                                              Case No. 21TRCV00301
              15                                                                                      Assigned to the Hon. Gary Y. Tanaka
                                                                Plaintiff,
              16                                                                                      DEFENDANTS’ NOTICE REGARDING
              17                   vs.                                                                ORDER CONTINUING CASE
                                                                                                      MANAGEMENT CONFERENCE AND
              18        RALPHS GROCERY COMPANY, an Ohio                                               HEARING ON DEMURRER
                        Corporation; THE KROGER COMPANY,
              19        an Ohio Corporation; and DOES 1-50,                                           Action Filed: April 19, 2021
                        inclusive,                                                                    Trial Date:   N/A
              20

              21                                                Defendants.

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                                                                            NOTICE REGARDING ORDER
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 91 of 203 Page ID #:91




 1    TO THE COURT AND TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:
 2             PLEASE TAKE NOTICE that Defendants have been informed by the Court that the
 3    (1) case management conference set for October 19, 2021 (reset to December 21, 2021), and
 4    (2) hearing on Defendants’ Demurrer set for December 21, 2021, at 8:30 a.m., have both been
 5    continued until February 2, 2022, at 8:30 a.m. in Department B due to the unavailability of the
 6    Court on December 21, 2021.
 7
      Date: September 22, 2021                              DAVIS WRIGHT TREMAINE, LLP
 8

 9

10
                                                            James H. Moon
11
                                                            Attorneys for Defendants Ralphs Grocvery
12                                                          Company and The Kroger Company

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     Error! Unknown document property name.             1
                                              NOTICE REGARDING ORDER
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 92 of 203 Page ID #:92



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        I am employed in the County of Los Angeles, State of California. I am over the age of 18
 and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
 2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.

                 On September 22, 2021, I served the foregoing document(s) described as:
 DEFENDANTS’ NOTICE REGARDING ORDER CONTINUING CASE
 MANAGEMENT CONFERENCE AND HEARING ON DEMURRER
  by placing a true copy of said document(s) enclosed in a sealed envelope(s) for each addressee
 named below, with the name and address of the person served shown on the envelope as follows:

  Michael Louis Kelly, Esq.                        Attorneys for Plaintiff Yosuke Hiradate
  Joshua A. Fields, Esq.
  Kirtland & Packard LLP
  1638 South Pacific Coast Highway
  Redondo Beach, CA 90277
  mlk@kirtlandpackard.com
  jf@kirtlandpackard.com

         I placed such envelope(s) with postage thereon fully prepaid for deposit in the United
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 with the office practice of Davis Wright Tremaine LLP, for collecting and processing
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 delivering correspondence to the United States Postal Service, such correspondence is delivered
 to the United States Postal Service that same day in the ordinary course of business.

        Executed on September 22, 2021, at Los Angeles, California.


       State        I declare under penalty of perjury, under the laws of the State of California,
                     that the foregoing is true and correct.

       Federal      I declare under penalty of perjury under the laws of the United States of
                     America that the foregoing is true and correct and that I am employed in the
                     office of a member of the bar of this Court at whose direction the service
                     was made.


                   Frank M. Romero
                      Print Name                                         Signature
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 93 of 203 Page ID #:93



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Torrance Courthouse
Mailing Address: 825 Maple Avenue
City, State and Zip Code: Torrance CA 90503



SHORT TITLE: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.                 CASE NUMBER:
                                                                                21TRCV00301
         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Legal Connect
Reference Number: 4747426_2021_09_22_19_11_09_824_9
Submission Number: 21LA04116792
Court Received Date: 09/22/2021
Court Received Time: 12:15 pm
Case Number: 21TRCV00301
Case Title: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.
Location: Torrance Courthouse
Case Type: Civil Unlimited
Case Category: Other Commercial/Business Tort (not fraud/ breach of contract)
Jurisdictional Amount: Over $25,000
Notice Generated Date: 09/22/2021
Notice Generated Time: 3:22 pm

Documents Electronically Filed/Received                  Status

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Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 94 of 203 Page ID #:94
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Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 96 of 203 Page ID #:96
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 97 of 203 Page ID #:97
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 98 of 203 Page ID #:98
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 99 of 203 Page ID #:99
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 100 of 203 Page ID #:100
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 101 of 203 Page ID #:101
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 102 of 203 Page ID #:102
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 103 of 203 Page ID #:103
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 104 of 203 Page ID #:104
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 105 of 203 Page ID #:105
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 106 of 203 Page ID #:106
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 107 of 203 Page ID #:107
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 108 of 203 Page ID #:108
              Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 109 of 203 Page ID #:109
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                                                                                                                                                                          CM-110
          ATTORNEY OR PARTY WITHOUT ATTORNEY INsme, State Bar number    and address):
                                                                                                                                              FOR COURT USE ONLY
          Michael Louis Kelly-82063/ Joshua A. Fields-242938
          KIRTLAND & PACKARD LLP
          1638 S. Pacific Coast Hwy., Redondo Beach, CA 90277

                      TELEPHQNE No.   310-536-1000                       FAx No toplton elf. 31   0-536-1 001
                     E-Mait AooREss   mlktmkittlandoackard.corn
                ATTORNEY FOR INamei   Plaintiff YOSuke Hiradate
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
              sTREETADDREss      825 Maole Ave
          MAiLING ADDRESS.

         clTY AND zIP coDE: Torrance        90503
                BRANcH   NAME'Torrance      Courthouse
                 PLAINTIFF/PETITIONER: Yoauke Hiradate
              DEFENDANT/RESPONDENT: Reich's Grocery Company and The Krotier ComDanv, et. al.

                                          CASE MANAGEMENT STATEMENT
         (Check one):            ~x       UNLIMITED CASE
                                          (Amount demanded
                                                                      ~       LIMITED CASE
                                                                              (Amount demanded is $ 25,000
                                                                                                                         CASE
                                                                                                                                NUMBER'1TRCV00301




                                          exceeds $ 25,000)                   or less)
         A CASE MANAGEMENT CONFERENCE is                        scheduled as follows:
          Date: Februarv 2. 2022                         Time: 8:30 a.m.                Dept.: B                  Divu                              Room:
         Address of court (if different from the address above):

         ~          Notice of Intent to Appear by Telephone, by (name)r
                   INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
         1. Party or parties (answer one):
            a. ~x This statement is submitted by party (name): Yosuke Hiradate
            b.      ~This statement is submitted jointly by parties (names):
         2. Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
            a. The complaint was filed on (date): April 19, 2021


         3.
                b.  ~    The cross-complaint, if any, was filed on (data):
                Service (lo be answered by plaintiffs and cross-comp/ainanfs only)

                b.  ~ ~
                a. ~x All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
                         The following parties named in the complaint or cross-complaint
                           (1)            have not been served (specify names and explain why nor):

                      ~    (2)            have been served but have not appeared and have not been dismissed (specify names):


                      ~    (3)            have had a default entered against them (specify names):

               c.   ~      The following additional parties may be added (specify names, nature of involvement in case, and date by which
                           they may be served):




         4.     Description of case
               a.
                            action)'laims
                   Type of case in ~x           complaint
                              for violations of Bus.
                                                                     ~
                                                                    cross-complaint         (Describe, inc/uding causes of
                                                  & Prof. Code 17200, et seq. ("UCLe), Civil Code 1750, et seq. (eCLRAe), and Bus. & Prof. Code
                     17500, et seq. (eFALe), and unjust enrichment against Ralph's 8 Kroger for selhng a valueless gift card but charging $ 505 95.

                                                                                                                                                                          Page 1 of 5
         Form Adopted for Mandatory Use
         Judtuai Counnl of Caltfomia                           CASE MANAGEMENT STATEMENT                                                                           Cal Rules of Court,
                                                                                                                                                                    n les 3 72ILS 730
         CM-110 [Rsv September I, 2021]
                                                                                                                                                                     ww cocos ca gov
  Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 110 of 203 Page ID #:110

                                                                                                                                                 CM-110
          PLAINTIFF/PETITIONER:          Fklr adate                                                        CASE NUMBER.

 DEFENDANT/RESPONDENT:                   Ralph'a                                                           21TRCVOC301
     b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
        damages claimed, including medica/ expenses to date (indicate soume and amount), estimated future medical expenses, lost
        earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief)
        Defendants Ralph's Grocery and Kroger Co. sold Plaintiff a valueless gift card while charging him $ 500 for the supposed card
        value and $ 5.95 to activate it Defendants did not return Plaintiffs money, which they'e unlawfully retained. Plaintiff seeks a
        permament public inlunction enjoining Defendants from engaging in this unfair and unlawful business practice & damages
    ~     (If more space is needed, check this box and attach e page designated as Attachment 4b.)
     Jury or nonjury trial
     The party or parties request ~x a jury trial
     requesting ejury trial):
                                                                    ~
                                                            a nonjury trial (If more than one party, provide the name of each party



     Trial date
     a.
     b.
           ~
           ~x
                   The trial has been set for (date):
                   No trial date has been set. This case     will   be ready for trial within 12 months of the date of the filing of the complaint (If
                   not, explain):


     c.     Dates on which parties or attorneys will not be available for trial (specify dates and exp/ain reasons for unavailability):
            See attached Dates of Trial and Unavailability

    Estimated length of trial
    The party or parties estimate that the trial     will   take (check one):

     b.    ~
    a. ~x days (specify number): 3
                   hours (short causes) (specify):
    Trial representation (to be answered for each party)
    The party or parties will be represented at trial ~x
    a. Attorney:
                                                                        by the attorney or party listed in the caption    ~      by the following:

     b.    Firm:
    c. Address:
     d. Telephone number:                                                              f.   Fax number:


    ~e. E-mail address:


    Preference
              Additional representation is described in Attachment 8.
                                                                                       g. Party   represented



    ~     This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
    a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
       the ADR information package provided by the court under rule 3.221 of the California Rules of Court for information about the
       processes available through the court and community programs in this case.
      (1) Forpartiesrepresentedbycounseh Counsel ~x has                             ~
                                                                                 has not providedtheADR informationpackage identified

      (2) For self-represented parties: Party        ~ ~
           in rule 3.221 to the client and reviewed ADR options with the client.
                                                      has           has not reviewed the ADR information package identified in rule 3.221.

       (1)       ~
    b. Referral to judicial arbitration or civil action mediation (if available)
                  This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                  mediation under Code of Civil Procedure section 1775 3 because the amount in controversy does not exceed the

           (2)   ~   statutory limit.
                     Plaintiff elects to refer this case to iudicial arbitration and agrees to limit recovery to the amount specified in Code of

           (3)   ~   Civil Procedure section 1141.11.
                     This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                     mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):

CM.110 IRev September 1, 2021I
                                                      CASE MANAGEMENT STATEMENT                                                                  Paga2afe
  Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 111 of 203 Page ID #:111

                                                                                                                                                    CM-110
       PLAINTIFF/PETITIONER;                 Hiradace                                                   CASE
  DEFENDANT/RESPONDENT:                      Ralph's                                                            NUMBER'1TRCV00301




10. c. Indicate the ADR            process or processes that the party or parties are willing to participate   in,   have agreed to participate   in,   or
          have already participated        in (check a// that apply and provide the specified information):




                                    The party or parties completing If the party or parties completing this form in the case have agreed to
                                    this form are willing to          participate in or have already completed an ADR process or processes,
                                    parbcipate in the following ADR indicate the status of the processes (a/tach a copy of the parties'DR
                                    processes (check a// that apply): stipulation):
                                                                         ~
                                                                         ~      Mediation session not yet scheduled
                                                                                Mediation session scheduled for (date):
     (1) Mediation
                                                                         ~
                                                                         ~
                                                                               Agreed to complete mediation by (date):
                                                                               Mediation completed on (da/e):

                                                                         ~
                                                                         ~     Settlement conference not yet scheduled
                                                                               Settlement conference scheduled for(date):
     (2) Settlement
          conference
                                                                         ~
                                                                         ~     Agreed to complete settlement conference by (date):
                                                                               Settlement conference completed on (da/e):

                                                                         ~
                                                                         ~     Neutral evaluation not yet scheduled
                                                                               Neutral evaluation scheduled for (date)
   (3) Neutral evaluation
                                                                         ~
                                                                         ~     Agreed to complete neutral evaluation by (da/e):
                                                                               Neutral evaluation completed on (da/e):



   (4) Nonbinding jud/cia/
                                                                         ~
                                                                         ~     Judicial arbitration not yet scheduled
                                                                               Judicial arbitration scheduled for (da/a):
          arbitration
                                                                         ~
                                                                         ~     Agreed to complete iudicial arbitration by (da/e):
                                                                               Judicial arbitration completed on (daie):



     (5) Binding private
                                                                         ~
                                                                         ~     Private arbitration not yet scheduled
                                                                               Private arbitration scheduled for (date)/
         arbitration
                                                                         ~
                                                                         ~     Agreed to complete private arbitration by (date):
                                                                               Private arbitration completed on (da/e):

                                                                         ~
                                                                         ~     ADR session not yet scheduled
                                                                               ADR session scheduled for (da/e):
     (6) Other (specify):
                                                                         ~
                                                                         ~     Agreed to complete ADR session by (da/e):
                                                                               ADR completed on (date):




CM-110 [Rev. Stlpiember 1, 2021/
                                                         CASE MANAGEMENT STATEMENT                                                                  Peee3 15
  Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 112 of 203 Page ID #:112

                                                                                                                                               CM-110
           PLAINTIFF/PETITIONER.              Hiradate                                                     CASE NUMBER
  DEFENDANT/RESPONDENT'.                      Ralphra                                                       21TRCV00301
11.   Insurance
      a.    ~ Insurance carrier,
      b. Reservation of rights:       ~ ~
                                       if   any, for party fikng this statement (name):
                                               Yes
            ~
                                                              No
      c.            Coverage issues will significantly affect resolution of this case (explain):



12.   Jurisdiction

      ~     Bankruptcy
      Status:
                                 ~
      Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
                                Other (specify):




       ~
13 Related
      a.
                  cases, consolidation, and coordination
                   There are companion, underlying, or related cases.
                   (1) Name of case:
                   (2) Name of court:
                   (3) Case number.
                   (4) Status:
       ~           Additional cases are described in Attachment 13a.

       ~
      b.           A motion to       ~        consohdate        ~        coordinate       will   be filed by (name party):



      ~
14. Bifurcation
              The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
              action (specify moving party, type of motion, and reasons):



15.   Other motions
      ~x      The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues).
              Motion for preliminary public injunctive relief under UCL, FAL, and CLRA.


      Discovery
            ~
16.
      a.           The party or parties have completed all discovery.
      b.    ~x     The following discovery will be completed by the date specified (describe all anticipated discovery).
                 ~Part                                     Descriotion                                                                  Date
      Plaintiff                                            Percipient depositions                                            Per Code
      Plaintiff                                            Written discovery (RFAs, Rogs, RFPs)                              Per Code
      Plaintiff                                            Expert discovery                                                  Per Code


      c.    ~      The following discovery issues, including issues regarding the discovery of electronically stored information, are
                   antiapated (specgfy):




CM.110 I Neo sepiemoer L 2021I
                                                         CASE MANAGEMENT STATEMENT                                                             Reg   core
    Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 113 of 203 Page ID #:113

                                                                                                                                        CM-110
       PLAINTIFF/PETITIONER;                 Hiradare                                              CASE NUMBER
    DEFENDANT/RESPONDENT:                    Ralph's                                                21TRCV00301

17. Economic litigation
      a.   ~      This is a limited civil case (i.e., the amount demanded is $ 25,000 or less) and the economic litigation procedures in Code
                  of Civil Procedure sections 90-98 will apply to this case.
      b.   ~      This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                  discovery will be filed (if checked, exp/am specifica/ly why economic litigation procedures relating to drscovery or trial
                  should nof apply to this case):




18. Other     issues
     ~       The party or parties request that the following additional matters be considered or determined at the case management
             conference (specify):




19. Meet and       confer
      a.   ~      The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
                  of Court (if nol, explain):




     b.    ~      After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
                  (spec/fy):




20. Total number of pages attached (if any):       1

I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required.
Date: 1/24/22

Joshua A. Fields                                                                           a/ Joshua       A.    Fields
                            (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATTORNEY)




                            (TYPE OR PRINT NAME)


                                                                                ~
                                                                                                  (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                       Additional signatures are attached.




cM-(10 (Re v sePtember I, 202()
                                                   CASE MANAGEMENT STATEMENT                                                             Page 6 of 5
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 114 of 203 Page ID #:114


                              MLK-DATES OF TRIAL AND UNAVAILABILITY
                                            Rcv 1/24/22 128912

      DATE                                          CASE

      January 31, 2022                              Sheer v. City of CC - Mediation
      February 2,2022                               Otzega v FPU - MSC - Fresno
      February 25, 2022                             Ortega v FPU - TRC - Fresno

      February 28, 2022                             Ortega v. FPU - Trial - Fresno
      April 25, 2022                                Jane Doe      I   v. MBUSD pretrial (USDC)

      April 26, 2022                                Jane Doe v. English - FSC - LASC

      May 3, 2022                                   Jane Doe      I   v. MBUSD Trial (USDC)

      May 10, 2022                                  Jane Doe v. English - Trial - LASC
      June 9, 2022                                  Sheer v. City of CC - FSC - LASC

      June 22, 2022                                 Silva v. Imagine Schools - MSC - Riverside

      June 23, 2022                                 Sheer v. City of CC- Trial-LASC

      July I, 2022                                  Silva v. hnagine Schools - Trial - Riverside
      September 19, 2022                           Elliott v. YMCA - FSC - LASC
      October 3, 2022                              Elliott v. YMCA Trial - LASC
                                                                          —




      October 24-28, 2022                          Ortega v. PPB - Arbitration
      November 10, 2022                            Adle v. Isaab - MSC - Orange County

      November 28, 2022                            Adle v. Isaab - Trial - Orange County

      January 18, 2023                             Cruz v. Redondo Beach - FSC - LASC
      January 20, 2023                             Thompson v. Airbahn - MSC - Orange County
      February I, 2023                             Cruz v. Redondo Beach Trial - LASC
                                                                                —




      February 21, 2023                            Thompson v. Airbahn - Trial - Orange County
      May 2, 2023                                  Aspef v.      CityofRPV-FSC
      May 10, 2023                                 Jane Doe (Rich-Ortiz) - FSC - LASC

      May 16, 2023                                 Aspel v. City of RPV - Trial
      May 16, 2023                                 Gallucci v. Mosser - FSC
      May 24, 2023                                 Jane Doe (Rich-Ortiz) - Trial - LASC

      May 24, 2023                                 Kanamala v. - FSC - LASC
      May 30, 2023                                 Gallucci v. Mosser - Trial - LASC
      June 7, 2023                                 Kanamala v. - Trial - LASC




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Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 115 of 203 Page ID #:115



                                         PROOF OF SERVICE
                     [CCP tjtj1010.6, 1011, 1013, 1013a, 2015.3; CRC 2.251, 2.306]
                       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

               I, the undersigned, am employed in the County of Los Angeles, State of
        California. I am over the age of 18 and not a party to the within action. My business
        address is 1638 South Pacific Coast Highway, Redondo Beach, California 90277.

               On January 24, 2022, I served a copy of each of the documents listed below by
        placing said copies for processing as indicated herein:      CASK MANAGEMENT
        STATEMENT

               By ELECTROMC SERVICE pursuant to CCP 1010.6(a)(6), CRC 2.251,
               and the COVID-19 emergency and by agreement of all parties, on January
               24, 2022, from the electronic notification address of the undersigned, I
               caused the within document(s) to be electronically served on the parties
               listed below, and the transmission was reported as complete and without
   10          error.
           /   U.S. MAIL:The correspondence or documents were placed in sealed, labeled
               envelopes with postage thereon fully prepaid on the above date and placed for
   12          collection and mailing at my place of business to be deposited with the U.S. Postal
               Service at El Segundo, California on this same date in the ordinary course of business.
   13
        PERSONS OR PARTIES SERVED:
   14
           Counsel for Defendants.
   15
           Jacob M. Harper Davis Wright Tremaine LLP
                            I

           Partner, Complex Business Litigation and
   16
           Class Action Defense
           865 South Figueroa Street, Suite 2400
   17
           Los Angeles, California 90017
           Tel: (2131 633-6863 Fax: (2131 633-6899
   18                           i


           Email: iharoer dwt.corn
   19

   20
                 I declare under penalty of perjury t                                   and correct
   21
        and that this declaration was executed on Ja

   22                                               II   v

   23                                                              Marti F. Clark
   24

   25

   26

   27

  28

                                              PROOF OF SERVICE
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 116 of 203 Page ID #:116
            Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 117 of 203 Page ID #:117
Electronically FILED by Superior Court of California, County of Los Angeles on 01/25/2022 11:19 AM Sherri R. Carter, Executive Officer/Clerk of Court, by P. Perez,Deputy Clerk

                                                                                                                                                               Cmc CM-110
        ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                          FOR COURT USE ONLY
        Jacob M. Harper (SBN 259463) James H. Moon (SBN 268215)
        Davis Wright Tremaine LLP
        865 S. Figueroa St., Ste. 2400
        Los Angeles, CA 90017-2566
                  TELEPHONE NO.: (213) 633-6800        FAX NO. (Optional): (213) 633-6899

         E-MAIL ADDRESS (Optional): jacobharper@dwt.com; jamesmoon@dwt.com

            ATTORNEY FOR (Name): Defendants Ralph’s Grocery Co. & The Kroger Co.

        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
          STREET ADDRESS: 825 Maple Ave.

          MAILING ADDRESS: 825 Maple Ave.

         CITY AND ZIP CODE: Torrance, CA 90503

             BRANCH NAME: Torrance Courthouse

             PLAINTIFF/PETITIONER: YOSUKE                HIRADATE
       DEFENDANT/RESPONDENT: RALPH’S                     GROCERY CO. et al.
                                          CASE MANAGEMENT STATEMENT                                                        CASE NUMBER:
                                                                                                                           21TRCV00301
       (Check one):                       UNLIMITED CASE                        LIMITED CASE
                                          (Amount demanded                      (Amount demanded is $25,000
                                          exceeds $25,000)                      or less)

       A CASE MANAGEMENT CONFERENCE is scheduled as follows:
       Date: February 2, 2022                            Time: 8:30 a.m.                 Dept.: B                       Div.:                          Room:
       Address of court (if different from the address above):

                  Notice of Intent to Appear by Telephone, by (name): James H. Moon

                        INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
      1.    Party or parties (answer one):
            a.        This statement is submitted by party (name): Defendants Ralph’s Grocery Co. & The Kroger Co. (“Defendants”)
            b.        This statement is submitted jointly by parties (names):



      2.    Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
            a. The complaint was filed on (date): April 19, 2021
            b.      The cross-complaint, if any, was filed on (date):

      3.    Service (to be answered by plaintiffs and cross-complainants only)
            a.        All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
            b.        The following parties named in the complaint or cross-complaint
                           (1)             have not been served (specify names and explain why not):

                           (2)             have been served but have not appeared and have not been dismissed (specify names):

                           (3)             have had a default entered against them (specify names):

             c.            The following additional parties may be added (specify names, nature of involvement in case, and date by which
                           they may be served):

      4.    Description of case
            a. Type of case in                  complaint                  cross-complaint               (Describe, including causes of action):
                    Plaintiff asserts individual claims against Defendants for violation of California’s Unfair Competition Law (UCL),
                    Consumers Legal Remedies Act (CLRA), and False Advertising Law (FAL) based on the sale of a $500 gift card
                    that was allegedly tampered with by third parties prior to the sale.
                                                                                                                                                                          Page 1 of 5
      Form Adopted for Mandatory Use                                                                                                                              Cal. Rules of Court,
         Judicial Council of California
                                                                  CASE MANAGEMENT STATEMENT                                                                        rules 3.720–3.730
           CM-110 [Rev. July 1, 2011]                                                                                                                             www.courts.ca.gov
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 118 of 203 Page ID #:118
                                                                                                                                             CM-110
                                                                                                         CASE NUMBER:
        PLAINTIFF/PETITIONER: YOSUKE HIRADATE
                                                                                                         21TRCV00301
  DEFENDANT/RESPONDENT: RALPH’S GROCERY CO. et al.

4.    b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
         damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
         earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)

            Plaintiff filed this action against Defendants to recover the value of a $500 gift card that he purchased from a
            Ralphs store and the $5.95 activation fee. Defendants have demurred and Plaintiff has not opposed the demurrer.


                 (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5.    Jury or nonjury trial
      The party or parties request              a jury triaI         a nonjury trial.   (If more than one party, provide the name of each party
      requesting a jury trial):

6.    Trial date
      a.         The trial has been set for (date):
      b.         No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain): No trial date should be set because the case is not yet at issue.

      c.     Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):

7.    Estimated length of trial
      The party or parties estimate that the trial will take (check one):
      a.        days (specify number): 3
      b.        hours (short causes) (specify):



8.    Trial representation (to be answered for each party)
      The party or parties will be represented at trial     by the attorney or party listed in the caption                  by the following:
      a. Attorney:
      b. Firm:
      c. Address:
      d. Telephone number:                                                       f. Fax number:
      e. E-mail address:                                                         g. Party represented:
             Additional representation is described in Attachment 8.
9.    Preference
            This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
      a.     ADR information package. Please note that different ADR processes are available in different courts and communities; read
             the ADR information package provided by the court under rule 3.221 for information about the processes available through the
             court and community programs in this case.
           (1) For parties represented by counsel: Counsel       has            has not          provided the ADR information package identified
               in rule 3.221 to the client and reviewed ADR options with the client.
           (2) For self-represented parties: Party             has      has not reviewed the ADR information package identified in rule 3.221.
      b.     Referral to judicial arbitration or civil action mediation (if available).
           (1)     This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                   mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                   statutory limit.
           (2)        Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                      Civil Procedure section 1141.11.
           (3)        This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                      mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):
                      CRC 3.811(b)(1)
CM-110 [Rev. July 1, 2011]                                                                                                                      Page 2 of 5
                                                  CASE MANAGEMENT STATEMENT
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 119 of 203 Page ID #:119
                                                                                                                                   CM-110
                                                                                                  CASE NUMBER:
      PLAINTIFF/PETITIONER: YOSUKE HIRADATE
                                                                                                  21TRCV00301
DEFENDANT/RESPONDENT: RALPH’S GROCERY CO. et al.

10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified information):


                             The party or parties completing     If the party or parties completing this form in the case have agreed to
                             this form are willing to            participate in or have already completed an ADR process or processes,
                             participate in the following ADR    indicate the status of the processes (attach a copy of the parties' ADR
                             processes (check all that apply):   stipulation):


                                                                       Mediation session not yet scheduled

                                                                       Mediation session scheduled for (date):
   (1) Mediation
                                                                       Agreed to complete mediation by (date):

                                                                       Mediation completed on (date):


                                                                       Settlement conference not yet scheduled

   (2) Settlement                                                      Settlement conference scheduled for (date):
       conference
                                                                       Agreed to complete settlement conference by (date) :

                                                                       Settlement conference completed on (date):


                                                                       Neutral evaluation not yet scheduled

                                                                       Neutral evaluation scheduled for (date):
   (3) Neutral evaluation
                                                                       Agreed to complete neutral evaluation by (date):

                                                                       Neutral evaluation completed on (date):


                                                                       Judicial arbitration not yet scheduled

   (4) Nonbinding judicial                                             Judicial arbitration scheduled for (date):
       arbitration
                                                                       Agreed to complete judicial arbitration by (date):

                                                                       Judicial arbitration completed on (date):


                                                                       Private arbitration not yet scheduled

   (5) Binding private                                                 Private arbitration scheduled for (date):
       arbitration
                                                                       Agreed to complete private arbitration by (date):

                                                                       Private arbitration completed on (date):


                                                                       ADR session not yet scheduled

   (6) Other (specify):                                                ADR session scheduled for (date):

                                                                       Agreed to complete ADR session by (date):

                                                                       ADR completed on (date):


CM-110 [Rev. July 1, 2011]                                                                                                          Page 3 of 5
                                            CASE MANAGEMENT STATEMENT
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 120 of 203 Page ID #:120
                                                                                                                                        CM-110
                                                                                                     CASE NUMBER:
        PLAINTIFF/PETITIONER: YOSUKE          HIRADATE
                                                                                                     21TRCV00301
  DEFENDANT/RESPONDENT: RALPH’S                GROCERY CO. et al.

11. Insurance
    a.      Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights:       Yes               No
    c.      Coverage issues will significantly affect resolution of this case (explain):




12. Jurisdiction
    Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
           Bankruptcy         Other (specify):
      Status:

13. Related cases, consolidation, and coordination
    a.       There are companion, underlying, or related cases.
             (1) Name of case:
             (2) Name of court:
             (3) Case number:
             (4) Status:
             Additional cases are described in Attachment 13a.
      b.            A motion to           consolidate            coordinate       wiII be filed by (name party):


14. Bifurcation
         The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
         action (specify moving party, type of motion, and reasons):



15. Other motions
              The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):
              Defendants filed a demurrer set for hearing on February 2 (the same date and time as the CMC). Plaintiff has not opposed
              the demurrer.

16. Discovery
    a.     The party or parties have completed all discovery.
    b      The following discovery will be completed by the date specified (describe all anticipated discovery):
                   Party                                     Description                                                 Date
Defendants                                                   Written Discovery                                          Per Code
Defendants                                                   Third-Party Discovery                                      Per Code
Defendants                                                   Depositions                                                Per Code
Defendants                                                   Expert Discovery                                           Per Code


      c.           The following discovery issues, including issues regarding the discovery of electronically stored information, are
                   anticipated (specify):




CM-110 [Rev. July 1, 2011]                                                                                                              Page 4 of 5
                                                 CASE MANAGEMENT STATEMENT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 121 of 203 Page ID #:121



                                                                                             CASE NUMBER:
             PLAINTIFF/PETITIONER: YOSUKE         HIRADATE
    1                                                                                        21TRCV00301
         DEFENDANT/RESPONDENT: RALPH’S             GROCERY CO. et al.
    2

    3   17. Economic litigation
            a.    This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation
                  procedures in Code of Civil Procedure sections 90-98 will apply to this case.
    4
            b.    This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or
                  for additional discovery will be filed (if checked, explain specifically why economic litigation procedures
    5
                  relating to discovery or trial should not apply to this case):
    6

    7

    8
        18. Other issues
    9
                  The party or parties request that the following additional matters be considered or determined at the case
   10             management conference (specify): Defendants filed a demurrer set for hearing on February 2 (the same
                  date and time as the CMC). Plaintiff has not opposed the demurrer.
   11

   12
        19. Meet and confer
   13       a.     The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the
                   California Rules of Court (if not, explain): If this matter is not dismissed with prejudice, Defendants
   14              request a 90-day continuance of the CMC to allow a determination on its pending demurrer, which was
                   not opposed by Plaintiff.
   15
            b.   After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on
   16            the following (specify):

   17

   18
        20. Total number of pages attached (if
            any):
                                               0
   19
        I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative
   20   dispute resolution, as well as other issues raised by this statement, and will possess the authority to enter into
        stipulations on these issues at the time of the case management conference, including the written authority of the
        party where required.
   21
        Date: January 25, 2022
   22
        James H. Moon                                                      
   23                      (TYPE OR PRINT NAME)                                             (SIGNATURE OF PARTY OR ATTORNEY)


   24
                                                                           
   25                           (TYPE OR PRINT NAME)                                        (SIGNATURE OF PARTY OR ATTORNEY)

                                                                               Additional signatures are attached.
   26

   27

   28
                                                                                                            Case No. 19CV02637
                                                        PROOF OF SERVICE
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 122 of 203 Page ID #:122



                                 PROOF OF SERVICE BY OVERNIGHT MAIL

           I am employed in the County of Los Angeles, State of California. I am over the age of 18
   and not a party to the within action. My business address is Davis Wright Tremaine, LLP, Suite
   2400, 865 South Figueroa Street, Los Angeles, California 90017-2566. I am familiar with the
   practice at my place of business for collection and processing of correspondence for overnight
   delivery by Overnight Service. Such correspondence will be deposited with a facility regularly
   maintained for Overnight Service for receipt on the next business day.

            On January 25, 2022, I served the following document(s):

   CASE MANAGEMENT STATEMENT

   by placing a true copy in a separate envelope for each addressee named below, with the name
   and address of the person served shown on the envelope as follows:

    Michael Louis Kelly, Esq.                               Attorneys for Plaintiff Yosuke Hiradate
    Joshua A. Fields, Esq.
    Kirtland & Packard LLP
    1638 South Pacific Coast Highway
    Redondo Beach, CA 90277
    mlk@kirtlandpackard.com
    jf@kirtlandpackard.com


   and by sealing the envelope and placing it for collection and delivery by an overnight mail
   service with delivery fees paid or provided for in accordance with ordinary business practices.

            Executed on January 25, 2022, at Los Angeles, California.

           State         I declare under penalty of perjury, under the laws of the State of California,
                          that the foregoing is true and correct.

           Federal       I declare under penalty of perjury under the laws of the United States of
                          America that the foregoing is true and correct and that I am employed in the
                          office of a member of the bar of this Court at whose direction the service was
                          made.



                          Frank M. Romero

                               Print Name                                        Signature




                                                        2
   4862-3618-5099v.1 0108587-000084
    Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 123 of 203 Page ID #:123



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Torrance Courthouse
Mailing Address: 825 Maple Avenue
City, State and Zip Code: Torrance CA 90503



SHORT TITLE: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.                 CASE NUMBER:
                                                                                21TRCV00301
         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Legal Connect
Reference Number: 5248928_2022_01_25_19_17_15_846_6
Submission Number: 22LA00098908
Court Received Date: 01/25/2022
Court Received Time: 11:19 am
Case Number: 21TRCV00301
Case Title: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.
Location: Torrance Courthouse
Case Type: Civil Unlimited
Case Category: Other Commercial/Business Tort (not fraud/ breach of contract)
Jurisdictional Amount: Over $25,000
Notice Generated Date: 01/25/2022
Notice Generated Time: 11:21 am

Documents Electronically Filed/Received                  Status

Case Management Statement                              Accepted




Comments
Submitter's Comments:

Clerk's Comments:

Electronic Filing Service Provider Information
Service Provider: Legal Connect
Contact: Legal Connect
Phone: (800) 909-6859




                                     NOTICE OF CONFIRMATION OF FILING
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 124 of 203 Page ID #:124
             Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 125 of 203 Page ID #:125
Electronically FILED by Superior Court of California, County of Los Angeles on 01/25/2022 11:16 AM Sherri R. Carter, Executive Officer/Clerk of Court, by P. Perez,Deputy Clerk


                    1     DAVIS WRIGHT TREMAINE LLP
                            Jacob M. Harper (SBN 259463)
                    2       jharper@dwt.com
                            James H. Moon (SBN 268215)
                    3       jamesmoon@dwt.com
                          865 South Figueroa Street, Suite 2400
                    4
                          Los Angeles, California 90017-2566
                    5     Telephone: (213) 633-6800
                          Facsimile: (213) 633-6899
                    6
                          Attorneys for Defendants
                    7     Ralphs Grocery Company
                          and The Kroger Co.
                    8

                    9
                                                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  10
                                                     COUNTY OF LOS ANGELES, SOUTHWEST DISTRICT
                  11

                  12
                          YOSUKE HIRADATE,                                                               Case No. 21TRCV00301
                  13                                                                                     Assigned to the Hon. Gary Y. Tanaka
                                                                   Plaintiff,
                  14                                                                                     DEFENDANTS’ NOTICE OF
                                      vs.                                                                PLAINTIFF’S NON-OPPOSITION TO
                  15                                                                                     DEMURRER TO PLAINTIFF’S
                          RALPHS GROCERY COMPANY, an Ohio                                                COMPLAINT
                  16      Corporation; THE KROGER COMPANY, an
                          Ohio Corporation; and DOES 1-50, inclusive,                                    Date:                  February 2, 2022
                  17                                                                                     Time:                  8:30 a.m.
                                                                   Defendants.                           Dept.:                 B
                  18
                                                                                                         Reservation ID No. 299213979011
                  19
                                                                                                         Action Filed: April 19, 2021
                  20                                                                                     Trial Date:   N/A
                  21

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                                                        NOTICE OF NON-OPPOSITION TO DEMURRER TO COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 126 of 203 Page ID #:126


   1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

   2          PLEASE TAKE NOTICE that Defendants Ralphs Grocery Company and The Kroger Co.
   3 (collectively, Defendants) have not received any opposition to its pending Demurrer to the

   4 Complaint of Plaintiff Yosuke Hiradate (“Plaintiff”).

   5          On July 7, 2021, Defendants timely filed their Demurrer as reflected on the Court’s docket
   6 and served it upon Plaintiff as reflected on the Proof of Service. The hearing on the Demurrer was

   7 originally set for December 21, 2021. The hearing was reset by the Court to February 2, 2022, at

   8 8:30 a.m. in Department B. Defendants provided notice of the new hearing date on September 22,

   9 2022, and filed the notice and Proof of Service with the Court that same day. Based on the new
  10 hearing date, Plaintiff’s opposition, if any, was required to be filed by January 20, 2022, and

  11 served in a manner calculated to ensure delivery by the close of the next business day. (See Code

  12 Civ. Proc., § 1005.) Defendants have not been served with any opposition to the Demurrer as of

  13 the time of this filing on January 25, 2022. The Court’s docket also does not reflect any filing.

  14          The lack of any timely opposition further supports dismissal of Plaintiff’s claims against
  15 Defendants with prejudice. (See Herzberg v. Cty. of Plumas (2005) 133 Cal.App.4th 1, 20 [failure

  16 to oppose demurrer to cause of action as abandonment of issue]; Thatcher v. Lucky Stores,

  17 Inc. (2000) 79 Cal.App.4th 1081, 1083; see also Weil et al., Cal. Practice Guide: Civil Procedure

  18 Before Trial (2006) ¶ 9:105.10 [failure to oppose may constitute admission that motion is

  19 meritorious: “The purpose is to prevent introduction of legal theories without notice to opposing
  20 counsel and the court.”].) For the reasons stated in the Demurrer, the lack of any opposition, and

  21 good cause shown, the Court should grant Defendants’ Motion and dismiss Plaintiff’s claims

  22 against them with prejudice.

  23   Dated: January 25, 2021                              DAVIS WRIGHT TREMAINE LLP
  24

  25                                                        By:
                                                                  Jacob M. Harper
  26
                                                            Attorneys for Defendants Ralphs Grocery
  27                                                        Company and The Kroger Co.
  28

                                                        2
                          NOTICE OF NON-OPPOSITION TO DEMURRER TO COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 127 of 203 Page ID #:127



                                 PROOF OF SERVICE BY OVERNIGHT MAIL

           I am employed in the County of Los Angeles, State of California. I am over the age of 18
   and not a party to the within action. My business address is Davis Wright Tremaine, LLP, Suite
   2400, 865 South Figueroa Street, Los Angeles, California 90017-2566. I am familiar with the
   practice at my place of business for collection and processing of correspondence for overnight
   delivery by Overnight Service. Such correspondence will be deposited with a facility regularly
   maintained for Overnight Service for receipt on the next business day.

            On January 25, 2022, I served the following document(s):

   DEFENDANTS’ NOTICE OF PLAINTIFF’S NON-OPPOSITION TO DEMURRER TO
   PLAINTIFF’S COMPLAINT

   by placing a true copy in a separate envelope for each addressee named below, with the name
   and address of the person served shown on the envelope as follows:

    Michael Louis Kelly, Esq.                             Attorneys for Plaintiff Yosuke Hiradate
    Joshua A. Fields, Esq.
    Kirtland & Packard LLP
    1638 South Pacific Coast Highway
    Redondo Beach, CA 90277
    mlk@kirtlandpackard.com
    jf@kirtlandpackard.com


   and by sealing the envelope and placing it for collection and delivery by an overnight mail
   service with delivery fees paid or provided for in accordance with ordinary business practices.

            Executed on January 25, 2022, at Los Angeles, California.

           State         I declare under penalty of perjury, under the laws of the State of California,
                          that the foregoing is true and correct.

           Federal       I declare under penalty of perjury under the laws of the United States of
                          America that the foregoing is true and correct and that I am employed in the
                          office of a member of the bar of this Court at whose direction the service was
                          made.



                          Frank M. Romero

                               Print Name                                       Signature




   4862-3618-5099v.1 0108587-000084
    Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 128 of 203 Page ID #:128



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Torrance Courthouse
Mailing Address: 825 Maple Avenue
City, State and Zip Code: Torrance CA 90503



SHORT TITLE: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.                 CASE NUMBER:
                                                                                21TRCV00301
         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Legal Connect
Reference Number: 5248823_2022_01_25_19_09_10_537_3
Submission Number: 22LA00098880
Court Received Date: 01/25/2022
Court Received Time: 11:16 am
Case Number: 21TRCV00301
Case Title: YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY, et al.
Location: Torrance Courthouse
Case Type: Civil Unlimited
Case Category: Other Commercial/Business Tort (not fraud/ breach of contract)
Jurisdictional Amount: Over $25,000
Notice Generated Date: 01/25/2022
Notice Generated Time: 11:20 am

Documents Electronically Filed/Received                  Status

Notice (name extension)                                Accepted




Comments
Submitter's Comments:

Clerk's Comments:

Electronic Filing Service Provider Information
Service Provider: Legal Connect
Contact: Legal Connect
Phone: (800) 909-6859




                                     NOTICE OF CONFIRMATION OF FILING
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 129 of 203 Page ID #:129
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 130 of 203 Page ID #:130
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 131 of 203 Page ID #:131
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 132 of 203 Page ID #:132
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 133 of 203 Page ID #:133
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 134 of 203 Page ID #:134

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                             Civil Division
                        Southwest District, Torrance Courthouse, Department B

   21TRCV00301                                                                  February 2, 2022
   YOSUKE HIRADATE vs RALPH'S GROCERY COMPANY,                                         8:30 AM
   et al.


   Judge: Honorable Gary Y. Tanaka                  CSR: None
   Judicial Assistant: J. Ahn                       ERM: None
   Courtroom Assistant: M. Fondon                   Deputy Sheriff: None

   APPEARANCES:
   For Plaintiff(s): Joshua A. Fields For Michael Kelly (Telephonic)
   For Defendant(s): James Moon For Jacob M. Harper (Telephonic)




   NATURE OF PROCEEDINGS: Case Management Conference

   Matter is called for hearing.

   Pursuant to the request of defendant, the Case Management Conference scheduled for
   02/02/2022 is continued to 4/12/2022 at 08:30 AM in Department B at Torrance Courthouse.

   Notice is waived.




                                            Minute Order                             Page 1 of 1
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 135 of 203 Page ID #:135
           Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 136 of 203 Page ID #:136
Electronically FILED by Superior Court of California, County of Los Angeles on 02/24/2022 11:49 AM Sherri R. Carter, Executive Officer/Clerk of Court, by T. Rhodes,Deputy Clerk




                   1 DAVIS WRIGHT TREMAINE LLP
                       Jacob M. Harper (SBN 259463)
                   2   jharper@dwt.com
                       James H. Moon (SBN 268215)
                   3
                       jamesmoon@dwt.com
                   4   Peter K. Bae (SBN 329158)
                       peterbae@dwt.com
                   5 865 South Figueroa Street, Suite 2400
                     Los Angeles, California 90017-2566
                   6 Telephone: (213) 633-6800
                     Facsimile: (213) 633-6899
                   7

                   8 Attorneys for Defendants Ralphs Grocery
                     Co. and The Kroger Co.
                   9
                 10
                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 11
                                                                         COUNTY OF LOS ANGELES
                 12

                 13

                 14 YOSHI HIRADATE,                                                                  Case No. 21TRCV00301
                                                                                                     Assigned to the Hon. Gary Y. Tanaka
                 15                                             Plaintiff,
                                                                                                     DECLARATION OF JACOB M. HARPER
                 16                v.                                                                REGARDING INABILITY TO MEET
                                                                                                     AND CONFER [CCP 430.41]
                 17
                    RALPHS GROCERY CO., an Ohio
                 18 corporation; THE KROGER CO., an Ohio                                             Action Filed:                   April 19, 2021
                    corporation; and DOES 1-50, inclusive,                                           Trial Date:                     n/a
                 19
                                            Defendants.
                 20

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                                                   HARPER DECLARATION RE INABILITY TO MEET AND CONFER
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 137 of 203 Page ID #:137



    1                            DECLARATION OF JACOB M. HARPER

    2          I, Jacob M. Harper, declare and state as follows:

    3          1.     I am a partner at the law firm of Davis Wright Tremaine LLP, counsel of record

    4 for Defendants Ralphs Grocery Co. and The Kroger Co. (collectively, Defendants) in this action.

    5 This declaration is based on my own personal knowledge or, where appropriate, on information

    6 and belief. If called as a witness, I could and would testify competently to the information set

    7 forth herein.

    8          2.     I make this declaration pursuant to Code of Civil Procedure section 430.41(a)(2)

    9 based on the inability of the parties to meet and confer at least five days prior to the date
   10 Defendants’ response to Plaintiff Yoshi Hiradate’s (Plaintiff) operative First Amended

   11 Complaint (FAC) is due.

   12          3.     Plaintiff filed the FAC on January 20, 2022, and served this pleading via U.S.

   13 Mail on Defendants. Therefore, Defendants’ response to the FAC would be due on February 24,

   14 2022.

   15          4.     On February 2, 2022, my colleague James Moon emailed Plaintiff’s counsel

   16 Joshua Fields to set up a time to meet and confer regarding this matter. Mr. Moon and Mr.

   17 Fields spoke on February 4, 2022. During that phone call, Mr. Moon advised Mr. Fields of

   18 several issues regarding the FAC, but Mr. Fields confirmed he would pursue, inter alia, the

   19 public injunctive relief claim. The parties agreed to exchange correspondence and meet and

   20 confer regarding these issues to see if they could be resolved without a court ruling.

   21          5.     On February 18, 2022, Mr. Fields emailed Mr. Moon requesting a follow up call.

   22 I responded to Mr. Fields’ email on February 22 and February 24, 2022, seeking to meet and

   23 confer regarding Defendants’ intent to demur to the FAC, but the parties were not able to

   24 schedule a time. Thus, the parties have not had an opportunity to have in-depth discussions

   25 regarding these issues or any other issues that may come up in meet and confer discussions five

   26 days before Defendants’ response to the FAC is due.

   27          6.     Defendants have not previously obtained an automatic extension of time to

   28 respond to the FAC.



                          HARPER DECLARATION RE INABILITY TO MEET AND CONFER
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 138 of 203 Page ID #:138



    1         7.     In light of the facts stated in this declaration, Defendants are entitled to the

    2 automatic 30-day extension of time within which to file a response to the FAC as provided by

    3 Code of Civil Procedure Section 430.41(a)(2). Defendants’ deadline to respond to the FAC is

    4 continued by 30 days until March 28, 2022.

    5         I declare under penalty of perjury under the laws of the State of California that the

    6 foregoing is true and correct. Executed this 24th day of February 2022, at Los Angeles,

    7 California.

    8

    9
                                                                          Jacob M. Harper
   10

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                                                        2
                         HARPER DECLARATION RE INABILITY TO MEET AND CONFER
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 139 of 203 Page ID #:139


   1                                  PROOF OF SERVICE BY U.S. MAIL
   2          I am employed in the County of Los Angeles, State of California. I am over the age of 18
       and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
   3   2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.
   4             On February 24, 2022, I served the foregoing document(s) described as:
   5                             DECLARATION OF JACOB M. HARPER
                         REGARDING INABLITY TO MEET AND CONFER [CCP 430.41]
   6
       by placing a true copy of said document(s) enclosed in a sealed envelope(s) for each addressee
   7   named below, with the name and address of the person served shown on the envelope as follows:
   8    Michael Louis Kelly, Esq.                           Attorneys for Plaintiff Yosuke Hiradate
        Joshua A. Fields, Esq.
   9    Kirtland & Packard LLP
        1638 South Pacific Coast Highway
  10    Redondo Beach, CA 90277
        mlk@kirtlandpackard.com
  11    jf@kirtlandpackard.com
  12          I placed such envelope(s) with postage thereon fully prepaid for deposit in the United
       States Mail in accordance with the office practice of Davis Wright Tremaine LLP, for collecting
  13   and processing correspondence for mailing with the United States Postal Service. I am familiar
       with the office practice of Davis Wright Tremaine LLP, for collecting and processing
  14   correspondence for mailing with the United States Postal Service, which practice is that when
       correspondence is deposited with the Davis Wright Tremaine LLP, personnel responsible for
  15   delivering correspondence to the United States Postal Service, such correspondence is delivered to
       the United States Postal Service that same day in the ordinary course of business.
  16
                 Executed on February 24, 2022, at Los Angeles, California.
  17

  18            State        I declare under penalty of perjury, under the laws of the State of California,
                              that the foregoing is true and correct.
  19
                Federal      I declare under penalty of perjury under the laws of the United States of
  20                          America that the foregoing is true and correct and that I am employed in the
                              office of a member of the bar of this Court at whose direction the service was
  21                          made.
  22
                              Monica Davis
  23
                               Print Name                                         Signature
  24

  25

  26

  27

  28

                                                                                       DAVIS WRIGHT TREMAINE LLP
                                                                                          865 S. FIGUEROA ST, SUITE 2400
       PROOF OF MAIL SERVICE                                                           LOS ANGELES, CALIFORNIA 90017-2566
                                                                                                    (213) 633-6800
       4817-8304-4020v.1 -                                                                        Fax: (213) 633-6899
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 140 of 203 Page ID #:140
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 141 of 203 Page ID #:141
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 142 of 203 Page ID #:142
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 143 of 203 Page ID #:143
                                              Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 144 of 203 Page ID #:144



                                                  1   DAVIS WRIGHT TREMAINE LLP
                                                        Jacob M. Harper (SBN 259463)
                                                  2     jharper@dwt.com
                                                        James H. Moon (SBN 268215)
                                                  3
                                                        jamesmoon@dwt.com
                                                  4     Peter K. Bae (SBN 329158)
                                                        peterbae@dwt.com
                                                  5   865 South Figueroa Street, Suite 2400
                                                      Los Angeles, California 90017-2566
                                                  6   Telephone: (213) 633-6800
                                                      Facsimile: (213) 633-6899
                                                  7

                                                  8   Attorneys for Defendants Ralphs Grocery
                                                      Company and The Kroger Co.
                                                  9
                                                 10
                                                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                 11
                                                                                     COUNTY OF LOS ANGELES
                                                 12

                                                 13

                                                 14   YOSHI HIRADATE,                           Case No. 21TRCV00301
Electronically Received 03/28/2022 12:29 PM




                                                                                                Assigned to the Hon. Gary Y. Tanaka
                                                 15                            Plaintiff,
                                                                                                STIPULATION TO EXTEND DEADLINE
                                                 16          v.                                 TO RESPOND TO FIRST AMENDED
                                                                                                COMPLAINT; [PROPOSED] ORDER
                                                 17
                                                      RALPHS GROCERY COMPANY, an Ohio
                                                 18   corporation; THE KROGER CO., an Ohio      Action Filed:      April 19, 2021
                                                      corporation; and DOES 1-50, inclusive,    Trial Date:        n/a
                                                 19
                                                                               Defendants.
                                                 20

                                                 21

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                                                 28



                                                           STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 145 of 203 Page ID #:145



    1          Plaintiff Yoshi Hiradate, together with Defendants Ralphs Grocery Company and The

    2 Kroger Co. (collectively, Defendants), present the following stipulation for the Court’s approval.

    3          A.      On April 19, 2021, Plaintiff filed the original Complaint. On April 23, 2021,

    4 Plaintiff personally served this pleading on Defendants. Therefore, Defendants’ response to the

    5 Complaint was due on May 24, 2021.

    6          B.      On or about May 21, 2021, Plaintiff’s counsel provided a 14-day extension for

    7 Defendants to respond to the Complaint until June 7, 2021.

    8          C.      On June 4, 2021, Defendants filed a Declaration Regarding Inability to Meet and

    9 Confer on the Complaint, which automatically continued Defendants’ deadline to respond to the
   10 Complaint until July 7, 2021.

   11          D.      On July 7, 2021, Defendants filed a Demurrer to the Complaint.

   12          E.      On January 20, 2022, Plaintiff filed the operative First Amended Complaint

   13 (FAC), and served this pleading on Defendants via U.S. Mail. Therefore, Defendants’ response

   14 to the FAC was due on February 24, 2022.

   15          F.      On February 24, 2022, Defendants filed a Declaration Regarding Inability to Meet

   16 and Confer on the FAC, which automatically continued Defendants’ deadline to respond to the

   17 FAC until March 28, 2022.

   18          G.      On March 18, 2022, counsel for the parties conferred telephonically regarding

   19 Defendants’ anticipated demurrer to the FAC and continue to confer on whether issues

   20 Defendants’ counsel have raised may be resolved without the filing of a demurrer.

   21          H.      The parties believe good cause exists to extend Defendants’ current response

   22 deadline to the FAC by 14 days (i.e., until April 11, 2022) to allow the parties to further confer

   23 regarding issues Defendants’ counsel has raised. The parties agree Defendants will not be in

   24 default if the Court does not rule on this stipulation before April 11, 2022, and Plaintiff will not

   25 seek an entry of default during that period.

   26          IT IS HEREBY STIPULATED and agreed by and between the parties as follows:

   27 Defendants’ deadline to respond to Plaintiff’s FAC is extended from March 28, 2022 to April 11,

   28



              STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 146 of 203 Page ID #:146



    1 2022. Defendants will not be in default if the Court does not rule on this stipulation before April

    2 11, 2022, and Plaintiff will not seek an entry of default during that period.

    3         IT IS SO STIPULATED.

    4
        Dated: March 28, 2022                          SCHONBRUN SEPLOW HARRIS HOFFMAN
    5                                                  & ZELDES, LLP
    6                                                  By: /s/ Joshua A. Fields
    7                                                     Joshua A. Fields

    8                                                  Attorneys for Plaintiff Yoshi Hiradate

    9 Dated: March 28, 2022                            DAVIS WRIGHT TREMAINE LLP
   10                                                  By: /s/ Jacob M. Harper
   11                                                      Jacob M. Harper

   12                                                 Attorneys for Defendants Ralphs Grocery
                                                      Company and The Kroger Co.
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              STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 147 of 203 Page ID #:147



    1                                      [PROPOSED] ORDER

    2           Upon the stipulation of the parties and for good cause shown, Defendants Ralphs Grocery

    3 Company and The Kroger Co.’s deadline to respond to Plaintiff’s First Amended Complaint is

    4 continued from March 28, 2022 to April 11, 2022.

    5           IT IS SO ORDERED.

    6

    7   Date:                 April 1 , 2022
                                                           Honorable Gary Y. Tanaka
    8                                                      Judge of the Superior Court
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                STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 148 of 203 Page ID #:148



                                  PROOF OF SERVICE BY MAIL

          I am employed in the County of Los Angeles, State of California. I am over the age of 18
   and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
   2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.

                  On March 28, 2022, I served the foregoing document(s) described as:
   STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED
   COMPLAINT; [PROPOSED] ORDER by placing a true copy of said document(s) enclosed
   in a sealed envelope(s) for each addressee named below, with the name and address of the person
   served shown on the envelope as follows:

    Joshua A. Fields                                 Attorneys for Plaintiff Yosuke Hiradate
    Schonbrun Seplow Harris Hoffman & Zeldes,
    LLP
    501 W. Broadway, Suite 800
    San Diego, CA 92101
    jf@sshhzlaw.com
    Tel: (619) 400-4990
    Fax: (310) 399-7040

           I placed such envelope(s) with postage thereon fully prepaid for deposit in the United
   States Mail in accordance with the office practice of Davis Wright Tremaine LLP, for collecting
   and processing correspondence for mailing with the United States Postal Service. I am familiar
   with the office practice of Davis Wright Tremaine LLP, for collecting and processing
   correspondence for mailing with the United States Postal Service, which practice is that when
   correspondence is deposited with the Davis Wright Tremaine LLP, personnel responsible for
   delivering correspondence to the United States Postal Service, such correspondence is delivered
   to the United States Postal Service that same day in the ordinary course of business.

          Executed on March 28, 2022, at Los Angeles, California.


         State        I declare under penalty of perjury, under the laws of the State of California,
                       that the foregoing is true and correct.

         Federal      I declare under penalty of perjury under the laws of the United States of
                       America that the foregoing is true and correct and that I am employed in the
                       office of a member of the bar of this Court at whose direction the service
                       was made.


                       Lina Pearmain
                        Print Name                                         Signature
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 149 of 203 Page ID #:149
          Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 150 of 203 Page ID #:150
Electronically FILED by Superior Court of California, County of Los Angeles on 04/08/2022 12:08 PM Sherri R. Carter, Executive Officer/Clerk of Court, by T. Rhodes,Deputy Clerk




                  1 DAVIS WRIGHT TREMAINE LLP
                      Jacob M. Harper (SBN 259463)
                  2   jharper@dwt.com
                      James H. Moon (SBN 268215)
                  3
                      jamesmoon@dwt.com
                  4   Peter K. Bae (SBN 329158)
                      peterbae@dwt.com
                  5 865 South Figueroa Street, Suite 2400
                    Los Angeles, California 90017-2566
                  6 Telephone: (213) 633-6800
                    Facsimile: (213) 633-6899
                  7

                  8 Attorneys for Defendants Ralph’s Grocery
                    Company and The Kroger Company
                  9
                10
                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                11
                                                                        COUNTY OF LOS ANGELES
                12

                13

                14 YOSHI HIRADATE,                                                                   Case No. 21TRCV00301
                                                                                                     Assigned to the Hon. Gary Y. Tanaka
                15                                             Plaintiff,
                                                                                                     NOTICE OF CONTINUANCE OF CASE
                16                 v.                                                                MANAGEMENT CONFERENCE
                17
                   RALPH’S GROCERY COMPANY, an Ohio                                                  Date:               June 1, 2022
                18 corporation; THE KROGER CO., an Ohio                                              Time:               8:30 a.m.
                   corporation; and DOES 1-50, inclusive,                                            Dept.:              B
                19
                                           Defendants.                                               Action Filed:                  April 19, 2021
                20                                                                                   Trial Date:                    n/a
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Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 151 of 203 Page ID #:151



    1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD

    2          PLEASE TAKE NOTICE that on April 8, 2022, the Court continued the Case

    3 Management Conference set on April 12, 2022 to June 1, 2022, at 8:30 a.m., in Dept. B, before

    4 Judge Gary Y. Tanaka.

    5

    6

    7
        Dated: April 8, 2022                          DAVIS WRIGHT TREMAINE LLP
    8

    9                                                 By:
                                                            Jacob M. Harper
   10

   11                                                 Attorneys for Defendant
                                                      Ralph’s Grocery Company and The Kroger Co.
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                                                 ANSWER
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 152 of 203 Page ID #:152



    1                                        PROOF OF SERVICE

    2        I am employed in the County of Los Angeles, State of California. I am over the age of 18
      and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
    3 2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.

    4       On April 8, 2022, I served the foregoing document(s) described as: NOTICE OF
        CONTINUANCE OF CASE MANAGEMENT CONFERENCE as follows:
    5
        Joshua A. Fields                                 Attorneys for Plaintiff Yosuke Hiradate
    6   Schonbrun Seplow Harris Hoffman & Zeldes,
        LLP
    7   501 W. Broadway, Suite 800
        San Diego, CA 92101
    8   jf@sshhzlaw.com
        Tel: (619) 400-4990
    9   Fax: (310) 399-7040

   10     X     (VIA MAIL) I placed such envelope(s) with postage thereon fully prepaid for deposit in
        the United States Mail in accordance with the office practice of Davis Wright Tremaine LLP, for
   11   collecting and processing correspondence for mailing with the United States Postal Service. I
        am familiar with the office practice of Davis Wright Tremaine LLP, for collecting and
   12   processing correspondence for mailing with the United States Postal Service, which practice is
        that when correspondence is deposited with the Davis Wright Tremaine LLP, personnel
   13   responsible for delivering correspondence to the United States Postal Service, such
        correspondence is delivered to the United States Postal Service that same day in the ordinary
   14   course of business.

   15   X     (VIA EMAIL) By forwarding a portable document file to the electronic mail address(es)
      below from electronic mail address linapearmain@dwt.com, at Suite 2400, 865 South Figueroa
   16 Street, Los Angeles, California.

   17          Executed on April 8, 2022, at Los Angeles, California.

   18         State        I declare under penalty of perjury, under the laws of the State of California,
                            that the foregoing is true and correct.
   19
              Federal      I declare under penalty of perjury under the laws of the United States of
   20                       America that the foregoing is true and correct and that I am employed in the
                            office of a member of the bar of this Court at whose direction the service
   21                       was made.

   22
                          Lina Pearmain
   23                      Print Name                                          Signature
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Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 153 of 203 Page ID #:153
                                              Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 154 of 203 Page ID #:154



                                                  1   DAVIS WRIGHT TREMAINE LLP
                                                        Jacob M. Harper (SBN 259463)
                                                  2     jharper@dwt.com
                                                        James H. Moon (SBN 268215)
                                                  3
                                                        jamesmoon@dwt.com
                                                  4     Peter K. Bae (SBN 329158)
                                                        peterbae@dwt.com
                                                  5   865 South Figueroa Street, Suite 2400
                                                      Los Angeles, California 90017-2566
                                                  6   Telephone: (213) 633-6800
                                                      Facsimile: (213) 633-6899
                                                  7

                                                  8   Attorneys for Defendants Ralphs Grocery
                                                      Company and The Kroger Co.
                                                  9
                                                 10
                                                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                 11
                                                                                     COUNTY OF LOS ANGELES
                                                 12

                                                 13

                                                 14   YOSHI HIRADATE,                           Case No. 21TRCV00301
Electronically Received 04/11/2022 04:01 PM




                                                                                                Assigned to the Hon. Gary Y. Tanaka
                                                 15                            Plaintiff,
                                                                                                STIPULATION TO EXTEND DEADLINE
                                                 16          v.                                 TO RESPOND TO FIRST AMENDED
                                                                                                COMPLAINT; [PROPOSED] ORDER
                                                 17
                                                      RALPHS GROCERY COMPANY, an Ohio
                                                 18   corporation; THE KROGER CO., an Ohio      Action Filed:      April 19, 2021
                                                      corporation; and DOES 1-50, inclusive,    Trial Date:        n/a
                                                 19
                                                                               Defendants.
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                                                           STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 155 of 203 Page ID #:155



    1          Plaintiff Yoshi Hiradate, together with Defendants Ralphs Grocery Company and The

    2 Kroger Co. (collectively, Defendants), present the following stipulation for the Court’s approval.

    3          A.     On April 19, 2021, Plaintiff filed the original Complaint.

    4          B.     On July 7, 2021, Defendants filed a Demurrer to the Complaint.

    5          C.     On January 20, 2022, Plaintiff filed the operative First Amended Complaint

    6 (FAC), and served this pleading on Defendants via U.S. Mail. Therefore, Defendants’ response

    7 to the FAC was due on February 24, 2022.

    8          D.     On February 24, 2022, Defendants filed a Declaration Regarding Inability to Meet

    9 and Confer on the FAC, which automatically continued Defendants’ deadline to respond to the
   10 FAC until March 28, 2022.

   11          E.     On March 18, 2022, counsel for the parties conferred telephonically regarding

   12 Defendants’ anticipated demurrer to the FAC.

   13          F.     On March 28, 2022, the parties stipulated to extend Defendants’ response

   14 deadline to the FAC until April 11, 2022, in order to further confer regarding issues Defendants’

   15 counsel had raised.

   16          G.     On April 1, 2022, the Court entered the parties’ stipulation to extend Defendants’

   17 response deadline to the FAC until April 11, 2022.

   18          H.     On April 11, 2022, Plaintiff’s counsel indicated he will amend the FAC no later

   19 than April 25, 2022.

   20          I.     The parties believe good cause exists to extend the deadline for Defendants to

   21 respond to the FAC to no later than April 29, 2022, in the interests of efficiency and judicial

   22 economy, to allow for the filing of Plaintiff’s second amended complaint. The parties agree

   23 Defendants will not be in default if the Court does not rule on this stipulation before April 29,

   24 2022, and Plaintiff will not seek an entry of default during that period.

   25          IT IS HEREBY STIPULATED and agreed by and between the parties as follows: The

   26 deadline for Defendants to respond to the First Amended Complaint is extended to April 29,

   27 2022. Defendants will not be in default if the Court does not rule on this stipulation before April

   28 29, 2022, and Plaintiff will not seek an entry of default during that period.



              STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 156 of 203 Page ID #:156



    1         IT IS SO STIPULATED.

    2
        Dated: April 11, 2022                 SCHONBRUN SEPLOW HARRIS HOFFMAN
    3                                         & ZELDES, LLP
    4                                         By: /s/ Joshua A. Fields
    5                                            Joshua A. Fields

    6                                         Attorneys for Plaintiff Yoshi Hiradate

    7 Dated: April 11, 2022                   DAVIS WRIGHT TREMAINE LLP
    8                                         By: /s/ Jacob M. Harper
    9                                             Jacob M. Harper

   10                                        Attorneys for Defendants Ralphs Grocery
                                             Company and The Kroger Co.
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              STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 157 of 203 Page ID #:157



    1                                      [PROPOSED] ORDER

    2           Upon the stipulation of the parties and for good cause shown, the deadline for Defendants

    3 to respond to the First Amended Complaint is extended to April 29, 2022.

    4           IT IS SO ORDERED.

    5

    6   Date:               April 14 , 2022
                                                            Honorable Gary Y. Tanaka
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                STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 158 of 203 Page ID #:158



    1                                        PROOF OF SERVICE

    2        I am employed in the County of Los Angeles, State of California. I am over the age of 18
      and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
    3 2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.

    4      On April 11, 2022, I served the foregoing document(s) described as: STIPULATION
      TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT;
    5 [PROPOSED] ORDER as follows:

    6    Joshua A. Fields                                   Attorneys for Plaintiff Yosuke Hiradate
         Schonbrun Seplow Harris Hoffman & Zeldes,
    7    LLP
         501 W. Broadway, Suite 800
    8    San Diego, CA 92101
         jfields@sshhzlaw.com
    9    Tel: (619) 400-4990
         Fax: (310) 399-7040
   10
          X     (VIA MAIL) I placed such envelope(s) with postage thereon fully prepaid for deposit in
   11   the United States Mail in accordance with the office practice of Davis Wright Tremaine LLP, for
        collecting and processing correspondence for mailing with the United States Postal Service. I
   12   am familiar with the office practice of Davis Wright Tremaine LLP, for collecting and
        processing correspondence for mailing with the United States Postal Service, which practice is
   13   that when correspondence is deposited with the Davis Wright Tremaine LLP, personnel
        responsible for delivering correspondence to the United States Postal Service, such
   14   correspondence is delivered to the United States Postal Service that same day in the ordinary
        course of business.
   15
        X     (VIA EMAIL) By forwarding a portable document file to the electronic mail address(es)
   16 below  from  electronic mail address linapearmain@dwt.com, at Suite 2400, 865 South Figueroa
      Street, Los Angeles, California.
   17
              Executed on April 11, 2022, at Los Angeles, California.
   18
             State         I declare under penalty of perjury, under the laws of the State of California,
   19                       that the foregoing is true and correct.

   20         Federal      I declare under penalty of perjury under the laws of the United States of
                            America that the foregoing is true and correct and that I am employed in the
   21                       office of a member of the bar of this Court at whose direction the service
                            was made.
   22

   23                       Lina Pearmain
                             Print Name                                          Signature
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               STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 159 of 203 Page ID #:159
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 160 of 203 Page ID #:160



   Helen I. Zeldes (SBN 220051)
 1 hzeldes@sshhzlaw.com
   Joshua A. Fields (SBN 242938)
 2 jfields@sshhzlaw.com
   SCHONBRUN SEPLOW HARRIS
 3 HOFFMAN & ZELDES LLP
   501 W. Broadway, Suite 800
 4 San Diego, CA 92101
   Telephone: (619) 400-4990
 5
   Counsel for Plaintiff,
 6 Yosuke Hiradate, on behalf of himself and
   all others similarly situated.
 7

 8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                       COUNTY OF LOS ANGELES, CENTRAL DISTRICT
10
     YOSUKE HIRADATE, an individual, on behalf           Case No. 21TRCV00301
11   of himself and all others similarly situated,       Assigned to the Hon. Gary Y. Tanaka, Dept. B
12                 Plaintiffs,
                                                         CLASS ACTION
13                 v.
                                                         SECOND AMENDED COMPLAINT FOR
14   RALPH’S GROCERY COMPANY, an Ohio                    DAMAGES AND PERMANENT
     Corporation; THE KROGER COMPANY, an                 INJUNCTIVE RELIEF:
15   Ohio Corporation; and DOES 1-50, inclusive,
16                                                          1. Violation of California’s Unfair
                   Defendants.                                 Competition Law (“UCL”); Bus. &
17                                                             Prof. Code § 17200 et seq.
                                                            2. Violation of California’s Consumer
18                                                             Legal Remedies Act (“CLRA”); Cal.
                                                               Civil Code §1750 et seq.
19                                                          3. Violation of California’s False
20                                                             Advertising Law (“FAL”), Bus & Prof.
                                                               Code § 17500 et seq.
21                                                          4. Breach of Implied Warranty of
                                                               Merchantability, Civil Code 1971 et seq.
22                                                          5. Unjust Enrichment
23                                                       JURY TRIAL DEMANDED
24

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                                                     1
                                    SECOND AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 161 of 203 Page ID #:161




 1          Plaintiff YOSUKE HIRADATE (“Plaintiff” or “Mr. Hiradate”), on behalf of himself and all

 2 others similarly situated, brings this Second Amended Class Action Complaint against Ralph’s Grocery

 3 Company (“Ralph’s”), The Kroger Company (“Kroeger”), and DOES 1-50 (collectively “Defendants”),

 4 and alleges as follows based on investigation of counsel and information and belief:

 5                                     THE NATURE OF THE CASE

 6          1.     Plaintiff Yosuke Hiradate brings this action on behalf of himself and all other similarly

 7 situated consumers, seeking relief from Defendants’ practice of selling gift cards to California consumers

 8 for specified monetary values where the gift cards actually have no value and are thus worthless to the

 9 consumers. Despite RALPH’s knowledge of this issue, RALPH’S sold Mr. Hiradate a worthless gift

10 card for which he paid a substantial amount of money to RALPH’S. In response to Mr. Hiradate’s

11 complaints related to this business practice, RALPH’S has maintained throughout that its express

12 company policy is that it considers all gift card sales to be “final.” KROGER did not respond at all when

13 Mr. Hiradate reached out to it on multiple occasions after RALPH’s did not refund the money for the

14 worthless gift card sold to Mr. Hiradate.

15          2.     Plaintiff thus brings claims under California’s Unfair Competition Law (“UCL”), the

16 Consumer Legal Remedies Act (“CLRA”), the False Advertising Law (“FAL”), for Breach of Implied

17 Warranty of Merchantability and for Unjust Enrichment. Plaintiff seeks a refund of the monies paid to

18 Defendants, actual damages, statutory damages, injunctive relief and all other relief that the Court deems
19 is necessary and proper.

20                                              THE PARTIES

21          3.     Plaintiff, at all relevant times herein, was and is a citizen and resident of Los Angeles

22 County, California. On December 21, 2019, Plaintiff visited Ralph’s Grocery Store located at 1770

23 Carson Street in Torrance, California, and purchased a $500 Visa Gift Card, as confirmed on the receipt

24 he received. Plaintiff also incurred a $5.95 Gift Card activation fee. As soon as Plaintiff returned home,

25 he opened the Gift Card package and checked the balance for the first time, prior to using the Gift Card.

26 Plaintiff was shocked to learn the Gift Card he had just paid Ralph’s $500 for actually had zero value.
27          4.     Defendant Ralph’s Grocery Company (“RALPH’S”) is an Ohio Corporation with its

28 principal place of business in Cincinnati, Ohio. RALPH’S is registered to do business in California and

                                                        2
                                       SECOND AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 162 of 203 Page ID #:162




 1 operates in Los Angeles County, where its local headquarters are in Compton, California. RALPH’S is

 2 a multistate corporation that operates a chain of grocery stores, selling goods to consumers throughout

 3 the country.

 4         5.      Defendant The Kroger Company (“KROGER”) is an Ohio Corporation with its principal

 5 place of business in Cincinnati, Ohio. KROGER is registered to do business in California and operates

 6 in Los Angeles County, where its local headquarters are in Compton, California. KROGER operates,

 7 either directly or through its subsidiaries such as defendant RALPH’S, which it wholly owns and

 8 operates, supermarkets and multi-department stores nationwide.            KROGER and RALPH’s are

 9 hereinafter collectively referred to as “Defendants”.

10         6.      Plaintiff does not know the true names or capacities of the persons or entities sued herein

11 as DOES 1-50, inclusive, and therefore sues such defendants by such fictitious names. Plaintiff is

12 informed and believes, and upon such information and belief alleges, that each of the DOE Defendants

13 is in some manner legally responsible for the damages suffered by Plaintiff as alleged herein. Plaintiff

14 will amend this Complaint to set forth the true names and capacities of these Defendants when they have

15 been ascertained, along with appropriate charging allegations, as may be necessary.

16         7.      At all times herein mentioned, Defendants, and each of them, were the agents, principals,

17 servants, employees, and subsidiaries of each of the remaining Defendants, and were at all times acting

18 within the purpose and scope of such agency, service, and employment, and directed, consented, ratified,
19 permitted, encouraged, and approved the acts of each remaining Defendant.

20                                     JURISDICTION AND VENUE

21         8.      This Court has jurisdiction over all causes of action asserted herein under the California

22 Constitution.

23         9.      Venue is proper in this County because the acts and occurrences alleged herein occurred

24 in this County, and pursuant to California Civil Code § 1780(d) because Defendants do business here.

25                                      FACTUAL ALLEGATIONS

26         10.     On December 21 2019, Plaintiff visited the RALPH’S store at 1770 Carson Street in
27 Torrance, California, where he saw a Visa Gift Card available for sale, with packaging that indicated it

28 could be purchased in “Any Amount” between “$20 and $500” but that it had “NO VALUE UNTIL

                                                        3
                                      SECOND AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 163 of 203 Page ID #:163




 1 PAID FOR AND ACTIVATED AT THE REGISTER.” (Emphasis added). At the RALPH’S STORE,

 2 Plaintiff purchased a $500 Visa Gift Card, by requesting that $500 be added to the Gift Card by the

 3 Ralph’s employee at the cash register, who agreed to do so, and the amount of the transaction was

 4 confirmed on the receipt Plaintiff received, which also demonstrated the Gift Card was activated.

 5 Plaintiff also incurred a $5.95 activation fee for the Gift Card. As soon as Plaintiff returned home after

 6 making this purchase, he opened the Gift Card package and checked the balance for the first time, prior

 7 to using the Gift Card. Plaintiff was shocked to learn the Gift Card he had just paid RALPH’S $500 for,

 8 in addition to the $5.95 activation fee, actually had zero value.

 9          11.    Plaintiff quickly returned to the RALPH’S store on the same day to request a refund and

10 get an explanation for why the Gift Card had no value when he first attempted to access it. Plaintiff

11 spoke to the Store Manager, Stephanie, who told him the Gift Card had been tampered with prior to

12 purchase. Stephanie also told Plaintiff she would call the Gift Card merchant in order to file a claim for

13 gift card fraud. After Stephanie filed the claim on that date, she was provided a case number and 10-

14 digit ID which she wrote on Plaintiff’s Gift Card receipt. Stephanie also told Plaintiff on that same date

15 that what happened to his card involved someone placing a photocopy of another gift card over the Gift

16 Card Plaintiff had purchased, prior to him checking out at RALPH’S, such that the bar card for the other

17 gift card would be the one receiving money added to it by the RALPH’S cashier at check out.

18          12.    Stephanie informed Plaintiff that a staff member meeting regarding this exact problem

19 had been held that very same morning at the store. There, staff members at the RALPH’S store were

20 instructed to check for any of the detectable signs of tampering on any gift cards RALPH’S sold, such

21 as different textures between a valid card with ridges at the bar code area and one that had been tampered

22 with and had no such ridges.

23          13.    Additionally, a former assistant manager from another RALPH’S store in the area named

24 Donald, who Plaintiff also spoke to that night, also told him gift card tampering has been an on-going

25 problem for years at RALPH’S, that he believes the tampering is an inside job, i.e. that someone at

26 RALPH’s was participating in the tampering, and that RALPH’S is aware of this precise issue happening
27 at its stores such as the one in Torrance.

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 1           14.     Thereafter, Stephanie (the RALPH’S Store Manager) told Plaintiff he needed to call the

 2 gift card company to request a new gift card, and then after calling, he would need to fax a copy of the

 3 receipt, gift card, the tampering gift card number (i.e. the photo with a gift card number that was placed

 4 over Plaintiff’s gift card prior to his purchase of it at RALPH’S), and that Plaintiff would then receive a

 5 new gift card within a few weeks. That night, Plaintiff tried to reach out to the Gift Card merchant

 6 several times at the phone number on the back of the card, in order to attempt to have this issue addressed

 7 but, despite several attempts, could not reach a service associate or anyone in management at the Gift

 8 Card merchant to resolve this matter.

 9           15.     Thereafter, that same night Plaintiff again returned to the RALPH’S store in Torrance

10 where Stephanie the Store Manager assisted him in submitting the documents via fax including the

11 receipt (with her writing of the case number and 10-digit ID), a photocopy of the gift card, a photocopy

12 of the package including the false bar code from the gift card, Plaintiff’s photo ID and contact

13 information. Shortly thereafter, on a later date, as Stephanie the Store Manager had also suggested,

14 Plaintiff called the 1-866-544-8062 phone number on the activation status receipt RALPH’S gave him

15 after his purchase (which apparently is KROGER’s customer relations number), but no one at KROGER

16 ever answered his multiple calls and there was no messaging system that would allow him to leave a

17 voicemail message. To date, Plaintiff received no response from the gift card merchant or a replacement

18 card with the value of $500 and the activation fee waived, despite his efforts, and Defendants also have
19 not compensated Plaintiff for the loss.

20           16.     RALPH’S own position is that gift cards such as the one Plaintiff purchased are subject

21 to tampering which can render them worthless, and which RALPH’S knows, yet it still sold the Gift

22 Card Plaintiff purchased to him and retained $505.95 of Plaintiff’s money, despite Plaintiff receiving no

23 value in return whatsoever. Further, RALPH’S maintains in response to consumer complaints regarding

24 this practice its express policy is that it considers all gift card sales at its stores to be “final”. Additionally,

25 KROGER’s express policy is to prohibit individual retail stores it owns such as RALPH’S from directly

26 refunding gift card purchases to consumers who paid money to RALPH’S for gift cards that are
27 worthless. KROGER maintains such an express policy even though KROGER does not respond to

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 1 attempts by consumers such as Plaintiff to obtain a refund for valueless gift cards sold at RALPH’s stores

 2 and provides no voicemail messaging system on which a consumer can leave a message for it.

 3           17.      Subsequently, Plaintiff has learned of numerous consumers at RALPH’S stores, including

 4 without limitation at RALPH’S stores in California, who have been similarly affected by purchasing a

 5 gift card at RALPH’S which was actually worthless, and that Defendants been aware of the issue of

 6 worthless gift card sold to consumers at RALPH’s stores, for many years. Despite their knowledge of

 7 this issue, Defendants improperly put the burden on the victimized consumer to attempt to obtain proper

 8 value for the gift cards after the purchase, even though it was Defendants’ stores that sold the consumers

 9 worthless gift cards, at full price, for their own profit.

10           18.      In a March 1, 2012 blog posted entitled “Scammers Hit Grocery Store Gift Card

11 Kiosk, Swap Out Empty Cards for New Ones,” on the Consumerist.com website, operated by

12 Consumer Reports, one consumer writes that an employer had purchased numerous $100 gift cards at a

13 RALPH’s store, which turned out to be valueless at purchase, and the “grocery store blame[d] card-

14 switching thieves.” The post also noted that both RALPH’S and parent company KROGER were
                      1


15 specifically notified by the consumer in that instance of the problem of the valueless gift cards being

16 sold at RALPH’S stores. Further, the consumer posed the question of why does RALPH’S “not keep

17 the ‘real’ cards behind a desk or locked up to prevent this”? The consumer also suggested RALPH’S

18 should “just do what Costco does and have the real thing in a safe place.”
19           19.      Similarly, in a May 13, 2015 blog post entitled “PSA: Don’t Buy US Bank Visa Gift

20 Cards from Ralphs / Kroger” on the Travel With Grant website blog, it was noted by the blogger Grant

21 that, several days prior to the post, he “was at a local Ralphs (Kroger) grocery store in Huntington Beach,

22 CA and bought a $500 Visa Gift Card”. Grant posted that, “shortly after purchasing the card (like 5
                                        2


23 minutes later),” he discovered it was valueless, so he went back to the RALPH’S store and was told by

24 the Store Manager to call and speak to a KROGER agent, which he did. Grant also noted that the Store

25 Manager then discovered numerous other compromised gift cards at the RALPH’S store during that visit

26 and “shared with me a similar story where someone bought 3 $500 Visa Gift Cards on Christmas Eve”
27           1
                  https://www.consumerist.com/2012/03/01/scammers-hit-grocery-store-gift-card-kiosk-swap-out-empty-cards-
     for-new-ones/index.html, last visited April 10, 2022.
28              2
                  https://travelwithgrant.boardingarea.com/2015/05/13/psa-dont-buy-us-bank-visa-gift-cards-from-ralphs-kroger/,
     last visited April 10, 2022.
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 1 with no value. The comments below the blog post show numerous additional consumers complaining

 2 of purchasing valueless gift cards at RALPH’s up to and including in 2022.

 3           20.        In an August 11, 2018 CBS News report out of Dallas Fort Worth, a Federal Trade

 4 Commission attorney M. Hassan Aijaz, explained how numerous gift cards sold at KROGER in Texas

 5 could have been compromised, by something as simple as hackers using pen and paper to write down
                                                         3
 6 the bar codes visible on the shelves of KROGER stores. In that instance, other individuals apparently

 7 made purchases a RALPH’S store in California with money that should have been on the consumer’s

 8 cards purchased a KROGER’s store in Texas.

 9           21.        As recently as February 2022, a consumer in the Los Angeles area complained on an

10 internet forum designed to raise awareness about unscrupulous businesses that he:

11                      purchased a Visa gift card for the amount $500 … on [] Feb 15 at the
                        Burbank, CA on victory Blvd., only to find out that the gift card that they
12                      sold me was a scam and they couldn’t do anything to refund my money. I
                        called the number on the back of the gift card only to be placed on hold for
13                      an hour and a half and nobody picked up. called corporate office in
                        Compton, CA only to hear prompts and was never able to get a customer
14                      service representative on the phone. Now… I’m out $500 because Ralphs
                        supermarket can not and will not refund my money.
15
                        And Luis the manager at ralphs was extremely rude and hung up on me,
16                      after he admitted on the phone that he know that some of the gift cards are
                        compromised but still sells the gift cards to their customers.4
17
             22.        Plaintiff is informed and believes that, unlike Defendants, retailers such as Costco
18
     Wholesale Corporation (“Costco”) take reasonable and necessary precautions to prevent the sale of
19
     valueless and/or compromised gift cards at their stores by, for example, restricting the public from having
20
     access to gift cards on their shelves by keeping them behind a counter where consumers who want to
21
     purchase gift cards must request them from an attendant.
22
             23.        Defendants have not adequately taken preventative measures to prevent the sale of
23
     valueless gift cards at their stores. Defendants have not adequately trained or required their associates
24
     to carefully and consistently inspect gift cards prior to sale for evidence of tampering, such as checking
25
     for any of the detectable signs of tampering on any gift cards sold at their stores, such as different textures
26
     between a valid card with ridges at the bar code area and one that had been tampered with and had no
27
             3
                 https://www.cbsnews.com/dfw/news/its-a-big-scam-retailers-respond-to-gift-card-theft/, last visited April 10,
28 2022.
             4
                 https://www.complaintsboard.com/ralphs-grocery-b120119, last visited April 24, 2022.
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 1 such ridges. Defendants also have not adequately restricted the public from having access to gift cards

 2 on the shelves of their stores by keeping them behind a counter where consumers who want to purchase

 3 gift cards must request them from an attendant, which is a preventative measures Plaintiff is informed

 4 and believes retailers such as Costco already engage in.

 5          24.      Defendants must be required to take such action to prevent valueless gift cards from being

 6 sold at their stores, or if not, Defendants should not be selling these gift cards, or be allowed to sell these

 7 gift cards at all, considering their actual knowledge of the pervasive tampering issue at RALPH’s stores,

 8 and that consumers such as Plaintiff end up having purchased gift cards with no value at all.

 9                           CLASS DEFINITION AND CLASS ALLEGATIONS

10          25.      Plaintiff brings this action on behalf of himself and on behalf of all others similarly

11 situated as members of the Class (collectively referred to hereinafter as the “Class”) defined as follows:

12                (1) Class: All persons who purchased a gift card from a RALPH’s and/or KROGER
                      store, for a specified monetary amount, and who were not able to utilize the
13                    total monetary amount of gift card value purchased, because the total monetary
                      amount was not available on the gift card after purchase.
14

15          26.       Numerosity: The proposed Class is so numerous that individual joinder of all its
16 members is impracticable. Due to the nature of the trade and commerce involved, Plaintiff believes the

17 total number of class members is at least in the thousands and that the members of the Class are

18 numerous. While the exact number and identities of all Class members are unknown at this time, such
19 information can be ascertained through appropriate investigation and discovery. The disposition of the

20 claims of the Class members in a single class action will provide substantial benefits to all parties and to

21 the Court.

22          27.      Commons Questions of Law and Fact Predominate: There are many questions of law
23 and fact common to the representative Plaintiff and the Class, and those questions substantially

24 predominate over any questions that may affect individual Class members. The common questions of

25 law and fact include, but are not limited to, the following:

26                       i. Whether Defendants were aware of the alleged tampering on gift cards prior to
27                           sales at their stores;
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 1                    ii. Whether Defendants should have known that gift cards were allegedly tampered

 2                        with at their stores prior to sale;

 3                   iii. Whether Defendants’ sale of gift cards for a specified monetary amount to

 4                        consumers who were not able to utilize the total monetary amount of gift card

 5                        value purchased, because the appropriate monetary amount was not available on

 6                        the gift card after purchase, violated the California’s Unfair Competition Law,

 7                        Business & Professions Code § 17200, et seq.;

 8                   iv. Whether Defendants’ sale of gift cards for a specified monetary amount to

 9                        consumers who were not able to utilize the total monetary amount of gift card

10                        value purchased, because the appropriate monetary amount was not available on

11                        the gift card after purchase, violated the California’s Civil Code §1750, et seq.;

12                    v. Whether Defendants’ sale of gift cards for a specified monetary amount to

13                        consumers who were not able to utilize the total monetary amount of gift card

14                        value purchased, because the appropriate monetary amount was not available on

15                        the gift card after purchase, violated California’s False Advertising Law, Business

16                        & Professions Code § 17500, et seq.;

17                   vi. Whether Defendants’ sale of gift cards for a specified monetary amount to

18                        consumers who were not able to utilize the total monetary amount of gift card

19                        value purchased, because the appropriate monetary amount was not available on

20                        the gift card after purchase, was a breach of the implied warranty of

21                        merchantability and thus violated the California’s Civil Code §1971, et seq.;

22                   vii. Whether Defendants were unjustly enriched as a result of their conduct in relation

23                        to the gift card sales;

24                  viii. The nature and extent of damages and other remedies to which the conduct of

25                        Defendant entitles Class members.

26         28.     These common questions of law and fact predominate over questions that may affect

27 individual class members in that the claims of all Class members for each of the claims herein can be

28 established with common proof. Additionally, a class action would be “superior to other available

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 1 methods for the fair and efficient adjudication of the controversy” because: (1) Class members have little

 2 interest in individually controlling the prosecution of separate actions because the individual damages

 3 claims of each Class member are not substantial enough to warrant individual filings; (2) Plaintiff is not

 4 aware of other lawsuits against Defendant commenced by or on behalf of members of the Class; and (3)

 5 the conduct alleged is common to all Class members and because resolution of the claims of Plaintiff

 6 will resolve the claims of the remaining Class, certification does not pose any manageability problems.

 7          29.    Typicality: Plaintiff’s claims are typical of the claims of the members of the Class.

 8 Plaintiff and all members of the Class have been similarly affected by Defendant’s conduct as they all

 9 purchased a gift card from a RALPH’s and/or KROGER store, for a specified monetary amount, and

10 were not able to utilize the total monetary amount of gift card value purchased, because the appropriate

11 monetary amount was not available on the gift card after purchase.

12          30.    Adequacy of representation: Plaintiff will fairly and adequately represent and protect

13 the interests of the Class. Plaintiff has retained counsel with substantial experience in handling complex

14 class action litigation. Plaintiff and his counsel are committed to prosecuting this action vigorously on

15 behalf of the Class and have the financial resources to do so.

16          31.    Superiority of Class Action: Plaintiff and the members of the Class suffered and will

17 continue to suffer harm as a result of Defendant’s unlawful and wrongful conduct. A class action is

18 superior to other available methods for the fair and efficient adjudication of the present controversy.
19 Class members have little interest in individually controlling the prosecution of separate actions because

20 the individual damages Claims of each Class member are not substantial enough to warrant individual

21 filings. In sum, for many, if not most, Class members, a class action is the only feasible mechanism that

22 will allow them an opportunity for legal redress and justice.

23          32.    Adjudication of individual Class members’ claims with respect to Defendants would, as

24 a practical matter, be dispositive of the interests of other members not parties to the adjudication, and

25 could substantially impair or impede the ability of other Class members to protect their interests.

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27 //

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 1                                       FIRST CAUSE OF ACTION

 2                                   Violation of Unfair Competition Law

 3                               Business & Professions Code § 17200 et seq.

 4       (By Plaintiff and the Class Against Defendants RALPH’S and KROGER and Does 1-50)

 5          33.     Plaintiff restates and incorporates by reference each and every allegation contained in

 6 paragraphs 1-30 as though fully set forth herein.

 7          34.    California Business & Professions Code § 17200 et seq. (hereafter referred to as the

 8 “Unfair Competition Law” or “UCL”) authorizes private lawsuits to enjoin acts of “unfair competition,”

 9 which include any unlawful, unfair, or fraudulent business practice.

10          35.    The UCL imposes strict liability. Plaintiff need not prove that Defendants intentionally

11 or negligently engaged in unlawful, unfair, or fraudulent business practices – only that such practices

12 occurred.

13          36.    Defendants’ selling of gift cards with specified values when the gift cards actually have

14 zero value to the consumer who purchased them, is an unlawful, unfair, and fraudulent business practice

15 prohibited by the UCL.

16          37.    In carrying out their selling of gift cards for specified values when the gift cards actually

17 have zero value to the consumer who purchased them, Defendants have violated the Consumer Legal

18 Remedies Act, the False Advertising Law, and various other laws, regulations, statutes, and/or common
19 law duties. Defendants’ business practices alleged herein, therefore, are unlawful within the meaning of

20 the UCL.

21          38.    The harm to Plaintiff and members of the public outweighs the utility of Defendants’

22 practices and, consequently, Defendants’ practices, as set forth fully above, constitute an unfair business

23 act or practice within the meaning of the UCL.

24          39.    Defendants’ practices are additionally unfair because they have caused Plaintiff and

25 members of the public substantial injury, which is not outweighed by any countervailing benefits to

26 consumers or to competition, and which is not an injury the consumers themselves could have reasonably
27 avoided.

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 1           40.      Defendants’ practices, as set forth above, have misled the general public in the past and

 2 will mislead the general public in the future. Consequently, Defendants’ practices constitute an unlawful

 3 and unfair business practice within the meaning of the UCL.

 4           41.      Pursuant to Business and Professions Code § 17204, an action for unfair competition may

 5 be brought by any “person … who has suffered injury in fact and has lost money or property as a result

 6 of such unfair competition.” Defendants’ misleading business practice – selling gift cards for specified

 7 values when the gift cards actually have zero value to the consumer who purchased them – directly and

 8 seriously injured Plaintiff and other members of the public who were thus deprived of their property

 9 rights.

10           42.      The unlawful, unfair and fraudulent business practices of Defendants are ongoing and

11 present a continuing threat that members of the public will be misled into believing they are purchasing

12 gift cards for specified values but, like Plaintiff, will be deprived of that value and damaged financially.

13           43.      Pursuant to the UCL, Plaintiff is entitled to preliminary and permanent injunctive relief

14 ordering Defendants to take preventative measures to stop the sale of valueless gift cards at their stores,

15 such as adequately training or requiring their associates to carefully and consistently inspect gift cards

16 prior to sale for evidence of tampering, adequately restrict the public from having access to gift cards on

17 the shelves of their stores by keeping them behind a counter, and/or cease this unfair business practice

18 entirely by refraining from the sale of pre-paid gift cards entirely, as well as disgorgement and restitution
19 of the money Defendants wrongfully obtained from Plaintiff associated with its unfair business practice.

20                                       SECOND CAUSE OF ACTION

21                               Violation of the Consumer Legal Remedies Act

22                                            Civil Code § 1750 et seq.

23                 (By Plaintiff and the Class Against RALPH’S and KROGER and Does 1-50)

24           44.      Plaintiff restates and incorporates by reference each and every allegation contained in

25 paragraphs 1-41 as though fully set forth herein.

26           45.      The Consumer Legal Remedies Act (hereafter referred to as the “CLRA”) creates a non-

27 exclusive statutory remedy for unfair methods of competition and unfair or deceptive acts or business
                                                              th
28 practices. See Reveles v. Toyota by the Bay, 57 Cal. App. 4 1139, 1164 (1997). Its self-declared purpose

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 1 is to protect consumers against these unfair and deceptive business practices, and to provide efficient

 2 and economical procedures to secure such protection. Cal. Civ. Code § 1760. The CLRA was designed

 3 to be liberally construed and applied in favor of consumers to promote its underlying purposes. Id.

 4          46.      More specifically, Plaintiff alleges that Defendants have violated paragraphs 4, 5, 9 and

 5 14 of Civil Code Section 1770(a) by engaging in the unfair and/or deceptive acts and practices set forth

 6 herein. Defendants’ unfair and deceptive business practices in carrying out the selling of gift cards for

 7 specified values when the gift cards actually have zero value to the consumer who purchased them, as

 8 described herein, were and are intended to and did and do result in Plaintiff, and other members of the

 9 public, being deprived of their right to a gift card with the value they paid for actually on it, in violation

10 of the CLRA. Cal. Civ. Code § 1770 et seq. Plaintiff, and other members of the class, were damaged in

11 that they paid purchase prices for gift cards higher than the zero value they received on the cards.

12          47.      As a result of Defendants’ unfair and/or deceptive business practices, Plaintiff and other

13 members of the class, as a result of the business practice alleged herein, have suffered damage in that

14 they lost a vested right in gift cards at specified values, because Defendants misrepresented that the offers

15 for sale conferred rights to Plaintiff, and other members of the class, which they did not. Plaintiff seeks

16 and is entitled to an order permanently enjoining Defendants from continuing to engage in the unfair and

17 deceptive business practices alleged herein.

18          48.      Pursuant to section 1782 of the CLRA, Plaintiff has notified Defendants in writing of the

19 particular violations of Section 1770 of the CLRA Plaintiff alleges Defendants committed. In response,

20 Defendants have not agreed to provide the monetary compensation Plaintiff demanded for himself and

21 the members of the class.

22                                        THIRD CAUSE OF ACTION

23                                   Violation of the False Advertising Law

24                                Business & Professions Code § 17500, et seq.

25                (By Plaintiff and the Class Against RALPH’S and KROGER and Does 1-50)

26          49.      Plaintiff re-alleges and incorporates by reference each and every allegation contained in

27 paragraphs 1-46 as if fully set forth herein.

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 1          50.      California Business & Professions Code § 17500 provides that “[I]t is unlawful for any

 2 … corporation … with intent … to dispose of … personal property … to induce the public to enter into

 3 any obligation relating thereto, to make or disseminate or cause to be made or disseminated … from this

 4 state before the public in any state, in any newspaper or other publication, or any advertising device, or

 5 by public outcry or proclamation, or in any other manner or means whatever … any statement … which

 6 is untrue or misleading, and which is known, or which by exercise of reasonable care should be known,

 7 to be untrue or misleading…”

 8          51.      Defendants misled consumers by selling gift cards that could be purchased in “Any

 9 Amount,” “between $20 and $500” and according to the packaging have value once “PAID FOR AND

10 ACTIVATED AT THE REGISTER,” when the gift cards actually have zero value to the consumers who

11 purchased them at RALPH’S. (Emphasis added)

12          52.      As a direct and proximate result of Defendants’ misleading and false advertising,

13 Plaintiff, along with other members of the class, has suffered injury in fact and has lost money and/or

14 property.

15          53.      The misleading and false advertising described herein presents a continuing threat to

16 Plaintiff, the class, and other members of the public, in that Defendants persist and continue to engage

17 in these practices, and will not cease doing so unless and until forced to do so by this Court. Defendants’

18 conduct will continue to cause irreparable injury to members of the public unless adequate preventative
19 measures are required or the practices are enjoined or restrained, permanently.

20                                       FOURTH CAUSE OF ACTION

21                              Breach of Implied Warranty of Merchantability
                                            Civil Code § 1971 et seq.
22
                  (By Plaintiff and the Class Against RALPH’S and KROGER and Does 1-50)
23
            54.      Plaintiff re-alleges and incorporates by reference each and every allegation contained in
24
     paragraphs 1-51 as if fully set forth herein.
25
            55.      Plaintiff purchased the Visa Gift Card from RALPH’s for $500 and paid a $5.95
26
     activation fee for a total of $505.95.
27
            56.      At the time of the purchase, RALPH’s was in the business of selling pre-paid gift cards
28
     such as the one Plaintiff purchased.
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 1             57.   The Visa Gift Card Plaintiff purchased in the amount of $500 was actually valueless, and

 2 thus was not fit for the ordinary purpose for which such gift cards are used, pursuant to Civil Code §

 3 1791.1(a)(2).

 4             58.   Plaintiff took reasonable steps to notify RALPH’S, and at RALPH’S request, to also

 5 notify KROGER, at its customer service telephone line, that the gift card did not have the expected

 6 quality, i.e. a $500 value.

 7             59.   Plaintiff was harmed as the gift card he purchased for $500 and a $5.95 activation fee did

 8 not have any value at all.

 9             60.   Defendants’ failure to adequately take preventative measures to prevent the sale of

10 valueless gift cards at their stores, such as Defendants’ failure to adequately train or require their

11 associates to carefully and consistently inspect gift cards prior to sale for evidence of tampering, and

12 failure to adequately restrict the public from having access to gift cards on the shelves of their stores by

13 keeping them behind a counter where consumers who want to purchase gift cards must request them

14 from an attendant, were a substantial factor in causing Plaintiff harm.

15             61.   As a result, Plaintiff and the putative class have been damaged in an amount to be proven

16 at trial.

17                                        FIFTH CAUSE OF ACTION

18                                             Unjust Enrichment
19                      (By Plaintiff Against RALPH’S and KROGER and Does 1-50)

20             62.   Plaintiff re-alleges and incorporates by reference each and every allegation contained in

21 paragraphs 1-59 as if fully set forth herein.

22             63.   When Plaintiff purchased the Visa Gift Card from the Ralph’s Grocery Store located at

23 1770 Carson Street in Torrance, California, he paid $500 for the Gift Card and also incurred a $5.95

24 activation fee. Thus, Defendants received a $505.95 benefit from the Gift Card transaction with Plaintiff,

25 who in return received a valueless Gift Card from the RALPH’S store. Despite his numerous requests,

26 Defendants retained the $505.95 benefit they received from Plaintiff, at his sole expense, and the $505.95
27 has not been otherwise returned to him by Defendants, who have therefore been unjustly enriched as a

28 result of their business practice.

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 1                                         PRAYER FOR RELIEF

 2        WHEREFORE, Plaintiff, individually and on behalf of the class, prays for relief and judgment

 3 as follows:

 4     1. For certification of the putative class;

 5     2. For restitution and disgorgement of the money and property wrongfully obtained by Defendants

 6        by means of their herein-alleged unlawful, unfair and fraudulent business practices;

 7     3. An award of general damages according to proof;

 8     4. An award of special damages according to proof;

 9     5. Exemplary damages in light of Defendants’ fraud, malice, and conscious disregard for the rights

10        of Plaintiff;

11     6. Injunctive relief, including without limitation, public injunctive relief, in the form of an order

12        requiring Defendants to take preventative measures to prevent the sale of valueless gift cards at

13        their stores and/or a permanent injunction enjoining Defendants from engaging in the unlawful,

14        unfair, and fraudulent business practices alleged herein;

15     7. For attorneys’ fees and expenses pursuant to all applicable laws, including, without limitation,

16        the CLRA, the common law private attorney general doctrine, Code of Civil Procedure § 1021.5,

17        and Civil Code § 1794;

18     8. For costs of suit;

19     9. For such other and further relief as the court deems just and proper.

20

21 Dated: April 25, 2022                                SCHONBRUN SEPLOW HARRIS
                                                        HOFFMAN & ZELDES LLP
22

23
                                                        By: ______________________________
24                                                             HELEN I. ZELDES
                                                               JOSHUA A. FIELDS
25
                                                              Counsel for Plaintiff,
26                                                            Yosuke Hiradate, on behalf of himself and
                                                              all others similarly situated.
27

28

                                                      16
                                      SECOND AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 176 of 203 Page ID #:176




 1                                DEMAND FOR JURY TRIAL
 2        Plaintiff YOSUKE HIRADATE hereby demands a jury trial.
 3

 4 Dated: April 25, 2022                         SCHONBRUN SEPLOW HARRIS
                                                 HOFFMAN & ZELDES LLP
 5

 6
                                                 By: ______________________________
 7                                                      HELEN I. ZELDES
                                                        JOSHUA A. FIELDS
 8
                                                       Counsel for Plaintiff,
 9                                                     Yosuke Hiradate, on behalf of himself and
                                                       all others similarly situated.
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                                 SECOND AMENDED COMPLAINT
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 177 of 203 Page ID #:177
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 178 of 203 Page ID #:178




    1                                 PROOF OF SERVICE
                         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    2
    3          I am employed in the County of Los Angeles, State of California; I am over the age of 18
        years and not a party to the within action; my business address is 9415 Culver Boulevard, #115,
    4   Culver City, CA 90232.
    5          On April 25, 2022, I caused the service of the following document(s) described as:
    6
               SECOND AMENDED COMPLAINT FOR DAMAGES AND PERMANENT
    7                           INJUNCTIVE RELIEF
    8
        on all interested parties in this action by the following means of service:
    9
        Jacob M. Harper
   10   jharper@dwt.com
        James H. Moon
   11   jamesmoon@dwt.com
   12   K. Peter Bae
        peterbae@dwt.com
   13   DAVIS WRIGHT TREMAINE LLP
        865 S Figueroa St, Ste 2400,
   14   Los Angeles, CA 90017
        Telephone: 213-633-6800
   15
        Facsimile: 213-633-6899
   16   Attorneys for Defendants RALPH’S GROCERY COMPANY, an Ohio Corporation;
        THE KROGER COMPANY, an Ohio Corporation.
   17
   18     X         [BY E-SERVICE] - Electronic Service through One Legal, LLC. I affected
                    electronic service by submitting an electronic version of the documents to One
   19               Legal, LLC, www.onelegal.com, which caused the documents to be sent by
                    electronic transmission to the person(s) at the electronic service address(es) listed
   20
                    above.
   21
          X          [STATE] I declare under penalty of perjury under the laws of the State of
   22                California that the foregoing is true and correct.
   23
               Executed on April 25, 2022, at Culver City, California.
   24
   25
                                     ________________________________
   26
                                               Carlos Gallegos
   27
   28




                                                PROOF OF SERVICE
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 179 of 203 Page ID #:179
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 180 of 203 Page ID #:180
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 181 of 203 Page ID #:181
                                                                                                                                            CM-110
      PLAINTIFF/PETITIONER: YOSUKE HIRADATE                                                          CASE NUMBER:
 DEFENDANT/RESPONDENT: RALPHS GROCERY COMPANY, et al.                                                21TRCV00301
4. b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
      damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
      earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)
      Plaintiff seeks restitution, damages, injunctive relief, and attorneys’ fees on behalf of a class of individuals who allegedly
      purchased, and was unable to redeem, a gift card from Defendants’ stores.


        (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5. Jury or nonjury trial
     The party or parties request         a jury triaI             a nonjury trial.    (If more than one party, provide the name of each party
     requesting a jury trial):


6. Trial date
     a.          The trial has been set for (date):
     b.          No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain): No trial date should be set because the case is not yet at issue.


     c. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):


7. Estimated length of trial
    The party or parties estimate that the trial will take (check one):
    a.       days (specify number): 3 days
     b.           hours (short causes) (specify):

8. Trial representation (to be answered for each party)
    The party or parties will be represented at trial             by the attorney or party listed in the caption             by the following:
    a. Attorney:
     b. Firm:
     c. Address:
     d. Telephone number:                                                         f.   Fax number:
     e. E-mail address:                                                           g. Party represented:
             Additional representation is described in Attachment 8.
9. Preference
          This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
    a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
        the ADR information package provided by the court under rule 3.221 of the California Rules of Court for information about the
        processes available through the court and community programs in this case.

          (1) For parties represented by counsel: Counsel           has           has not provided the ADR information package
              identified in rule 3.221 to the client and reviewed ADR options with the client.
          (2) For self-represented parties: Party          has          has not reviewed the ADR information package identified in rule 3.221.
     b. Referral to judicial arbitration or civil action mediation (if available).
        (1)     This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                statutory limit.
           (2)       Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                     Civil Procedure section 1141.11.
           (3)       This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                     mediation under Code of Civil Procedure section 1775 et seq. (specify exemption): CRC 3.811(b)(2)



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                                                                                                              American LegalNet, Inc.
                                                                                                              www.FormsWorkFlow.com
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                                                                                                                                        CM-110
      PLAINTIFF/PETITIONER: YOSUKE HIRADATE                                                          CASE NUMBER:
 DEFENDANT/RESPONDENT: RALPHS GROCERY COMPANY, et al.                                                21TRCV00301

10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified information):



                                  The party or parties completing     If the party or parties completing this form in the case have agreed to
                                  this form are willing to            participate in or have already completed an ADR process or processes,
                                  participate in the following ADR    indicate the status of the processes (attach a copy of the parties' ADR
                                  processes (check all that apply):   stipulation):

                                                                            Mediation session not yet scheduled
                                                                            Mediation session scheduled for (date):
     (1) Mediation
                                                                            Agreed to complete mediation by (date):
                                                                            Mediation completed on (date):

                                                                            Settlement conference not yet scheduled

     (2) Settlement                                                         Settlement conference scheduled for (date):
         conference                                                         Agreed to complete settlement conference by (date):
                                                                            Settlement conference completed on (date):
                                                                            Neutral evaluation not yet scheduled
                                                                            Neutral evaluation scheduled for (date):
   (3) Neutral evaluation
                                                                            Agreed to complete neutral evaluation by (date):
                                                                            Neutral evaluation completed on (date):

                                                                            Judicial arbitration not yet scheduled
   (4) Nonbinding judicial                                                  Judicial arbitration scheduled for (date):
        arbitration
                                                                            Agreed to complete judicial arbitration by (date):
                                                                            Judicial arbitration completed on (date):

                                                                            Private arbitration not yet scheduled
     (5) Binding private                                                    Private arbitration scheduled for (date):
         arbitration                                                        Agreed to complete private arbitration by (date):
                                                                            Private arbitration completed on (date):

                                                                             ADR session not yet scheduled
     (6) Other (specify):                                                    ADR session scheduled for (date):
                                                                             Agreed to complete ADR session by (date):
                                                                             ADR completed on (date):




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                                                                                                              American LegalNet, Inc.
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                                                                                                                                                CM-110
      PLAINTIFF/PETITIONER: YOSUKE HIRADATE                                                          CASE NUMBER:
 DEFENDANT/RESPONDENT: RALPHS GROCERY COMPANY, et al.                                                21TRCV00301

11. Insurance
     a.           Insurance carrier, if any, for party filing this statement (name):
     b. Reservation of rights:            Yes            No
     c.           Coverage issues will significantly affect resolution of this case (explain):



12. Jurisdiction
     Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
             Bankruptcy           Other (specify):
     Status:

13. Related cases, consolidation, and coordination
    a.       There are companion, underlying, or related cases.
                  (1) Name of case:
                  (2) Name of court:
                  (3) Case number:
                  (4) Status:
                  Additional cases are described in Attachment 13a.

     b.           A motion to             consolidate                 coordinate       wiII be filed by (name party):

14. Bifurcation
             The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
             action (specify moving party, type of motion, and reasons):



15. Other motions

             The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):
             Motion for summary judgment


16. Discovery
     a.           The party or parties have completed all discovery.
     b.           The following discovery will be completed by the date specified (describe all anticipated discovery):
               Party                                    Description                                                                      Date
               Defendant                                Written Discovery                                                                Per Code
               Defendant                                Third-Party Discovery                                                            Per Code
               Defendant                                Depositions                                                                      Per Code
               Defendant                                Expert Discovery                                                                 Per Code

     c.          The following discovery issues, including issues regarding the discovery of electronically stored information, are
                 anticipated (specify):




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                                                                                                               American LegalNet, Inc.
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     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 184 of 203 Page ID #:184
                                                                                                                                         CM-110
      PLAINTIFF/PETITIONER: YOSUKE HIRADATE                                                         CASE NUMBER:
 DEFENDANT/RESPONDENT: RALPHS GROCERY COMPANY et al.                                                21TRCV00301

17. Economic litigation
     a.           This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
                  of Civil Procedure sections 90-98 will apply to this case.
     b.           This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                  discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                  should not apply to this case):




18. Other issues
             The party or parties request that the following additional matters be considered or determined at the case management
             conference (specify):




19. Meet and confer
     a.           The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
                  of Court (if not, explain):




     b.           After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
                  (specify):




20. Total number of pages attached (if any):
I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required.
Date: May 17, 2022


James H. Moon                                                                 ►
                            (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PARTY OR ATTORNEY)



                                                                              ►
                            (TYPE OR PRINT NAME)                                                   (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                        Additional signatures are attached.




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                                                                                                             American LegalNet, Inc.
                                                                                                             www.FormsWorkFlow.com
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 185 of 203 Page ID #:185


   1                         PROOF OF SERVICE BY ELECTRONIC AND U.S. MAIL
   2          I am employed in the County of Los Angeles, State of California. I am over the age of 18
       and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
   3   2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.
   4           On May 17, 2022, I served the foregoing document(s) described as: DEFENDANTS’
       CASE MANAGEMENT STATEMENT by forwarding a portable document file to the
   5   electronic mail address(es) below:
   6   EMAIL ADDRESSES: jfields@sshhzlaw.com; hzeldes@sshhzlaw.com;
       cgallegos@sshhzlaw.com
   7

   8         (FROM ELECTRONIC MAIL ADDRESS monicadavis@dwt.com) at Suite 2400, 865
       South Figueroa Street, Los Angeles, California.
   9
       SERVICE ADDRESS
  10
        Joshua A. Fields                                     Attorneys for Plaintiff Yosuke Hiradate
  11    Helen Zeldes
        Carlos Gallegaos
  12    Schonbrun Seplow Harris Hoffman & Zeldes,
        LLP
  13    501 W. Broadway, Suite 800
        San Diego, CA 92101
  14    Tel: (619) 400-4990
        Fax: (310) 399-7040
  15

  16          I placed such envelope(s) with postage thereon fully prepaid for deposit in the United
       States Mail in accordance with the office practice of Davis Wright Tremaine LLP, for collecting
  17   and processing correspondence for mailing with the United States Postal Service. I am familiar
       with the office practice of Davis Wright Tremaine LLP, for collecting and processing
  18   correspondence for mailing with the United States Postal Service, which practice is that when
       correspondence is deposited with the Davis Wright Tremaine LLP, personnel responsible for
  19   delivering correspondence to the United States Postal Service, such correspondence is delivered to
       the United States Postal Service that same day in the ordinary course of business.
  20
                 Executed on May 17, 2022, at Los Angeles, California.
  21

  22            State         I declare under penalty of perjury, under the laws of the State of California,
                               that the foregoing is true and correct.
  23
                Federal       I declare under penalty of perjury under the laws of the United States of
  24                           America that the foregoing is true and correct and that I am employed in the
                               office of a member of the bar of this Court at whose direction the service was
  25                           made.
  26
                               Monica Davis
  27
                                Print Name                                         Signature
  28

                                                                                        DAVIS WRIGHT TREMAINE LLP
                                                                                           865 S. FIGUEROA ST, SUITE 2400
       PROOF OF ELECTRONIC & U.S. MAIL SERVICE                                          LOS ANGELES, CALIFORNIA 90017-2566
                                                                                                     (213) 633-6800
       4842-3383-6695v.2 -                                                                         Fax: (213) 633-6899
Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 186 of 203 Page ID #:186
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 187 of 203 Page ID #:187
                                                                                                                                                                         CM-110
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                              FOR COURT USE ONLY
Helen I. Zeldes - SBN 2200751 / Joshua A. Fields - SBN 242938
SCHONBRUN SEPLOW HARRIS HOFFMAN & ZELDES, LLP
501 W. Broadway, Suite 800
San Diego, CA 92101

            TELEPHONE NO.:    619-400-4990                FAX NO. (Optional): 310-399-7040
            E-MAIL ADDRESS:   hzeldes@sshhzlaw.com, jfields@sshhzlaw.com
    ATTORNEY FOR (Name): Plaintiff Yosuke Hiradate, an individual, on behalf of himself and all others similarly situated.

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 STREET ADDRESS:         825 Maple Avenue
 MAILING ADDRESS:        825 Maple Avenue
CITY AND ZIP CODE:       Torrance, CA 90503
    BRANCH NAME:         Torrance Courthouse
         PLAINTIFF/PETITIONER: Yosuke Hiradate, an individual, on behalf of himself and all others similarly situated.
 DEFENDANT/RESPONDENT: Ralph's Grocery Company and The Kroger Company, et al.

                                  CASE MANAGEMENT STATEMENT                                                                    CASE NUMBER:

(Check one):                   UNLIMITED CASE                                LIMITED CASE                                      21TRCV00301
                               (Amount demanded                              (Amount demanded is $25,000
                               exceeds $25,000)                              or less)

A CASE MANAGEMENT CONFERENCE is scheduled as follows:
Date: June 1, 2022                                   Time: 8:30 a.m.                  Dept.: B                         Div.:                        Room:
Address of court (if different from the address above):

         Notice of Intent to Appear by Telephone, by (name):
               INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1. Party or parties (answer one):
   a.       This statement is submitted by party (name): Plaintiff Yosuke Hiradate
    b.             This statement is submitted jointly by parties (names):
2. Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
    a. The complaint was filed on (date):
   b.       The cross-complaint, if any, was filed on (date):
3. Service (to be answered by plaintiffs and cross-complainants only)
   a.       All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
    b.             The following parties named in the complaint or cross-complaint
                   (1)            have not been served (specify names and explain why not):

                   (2)            have been served but have not appeared and have not been dismissed (specify names):


                   (3)            have had a default entered against them (specify names):

    c.            The following additional parties may be added (specify names, nature of involvement in case, and date by which
                  they may be served):




4. Description of case
   a. Type of case in          complaint              cross-complaint         (Describe, including causes of action):
      Claims for violations of Bus. & Prof. Code 17200, et seq. ("UCL"), Civil Code 1750, et seq. ("CLRA"), and Bus. & Prof. Code
      17500, et seq. ("FAL"), and unjust enrichment against Ralph's & Kroger for selling a valueless gift card but charging $505.95.

                                                                                                                                                                          Page 1 of 5

Form Adopted for Mandatory Use                                                                                                                                     Cal. Rules of Court,
Judicial Council of California
                                                             CASE MANAGEMENT STATEMENT                                                                              rules 3.720–3.730
CM-110 [Rev. September 1, 2021]                                                                                                                                    www.courts.ca.gov
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 188 of 203 Page ID #:188
                                                                                                                                                    CM-110
      PLAINTIFF/PETITIONER: Yosuke Hiradate, an individual, on behalf of himself and all others similarly situated.   CASE NUMBER:

 DEFENDANT/RESPONDENT: Ralph's Grocery Company and The Kroger Company, et al.                                         21TRCV00301

4. b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
      damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
      earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)
      Defendants Ralph's Grocery and Kroger Co. sold Plaintiff a valueless gift card while charging him $500 for the supposed card
      value and $5.95 to activate it. Defendants did not return Plaintiff's money, which they've unlawfully retained. Plaintiff seeks a
      public injunction and damages from Defendants on behalf of a class for engaging in this unfair and unlawful business practice.

        (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5. Jury or nonjury trial
   The party or parties request     a jury triaI          a nonjury trial. (If more than one party, provide the name of each party
   requesting a jury trial):


6. Trial date
    a.           The trial has been set for (date):
    b.           No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain):


    c. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):



7. Estimated length of trial
    The party or parties estimate that the trial will take (check one):
    a.       days (specify number): Five (5)
     b.          hours (short causes) (specify):
8. Trial representation (to be answered for each party)
    The party or parties will be represented at trial                      by the attorney or party listed in the caption            by the following:
    a. Attorney:
    b. Firm:
    c. Address:
    d. Telephone number:                                                                     f.   Fax number:
    e. E-mail address:                                                                      g. Party represented:
            Additional representation is described in Attachment 8.
9. Preference
            This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
    a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
        the ADR information package provided by the court under rule 3.221 of the California Rules of Court for information about the
        processes available through the court and community programs in this case.
      (1) For parties represented by counsel: Counsel                 has           has not provided the ADR information package identified
          in rule 3.221 to the client and reviewed ADR options with the client.
      (2) For self-represented parties: Party             has          has not reviewed the ADR information package identified in rule 3.221.
    b. Referral to judicial arbitration or civil action mediation (if available).
       (1)       This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                 mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                 statutory limit.
       (2)       Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                 Civil Procedure section 1141.11.
       (3)       This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                 mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):


CM-110 [Rev. September 1, 2021]                                                                                                                      Page 2 of 5
                                                           CASE MANAGEMENT STATEMENT
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 189 of 203 Page ID #:189
                                                                                                                                              CM-110
      PLAINTIFF/PETITIONER: Yosuke Hiradate, an individual, on behalf of himself and all others similarly situated.   CASE NUMBER:

 DEFENDANT/RESPONDENT: Ralph's Grocery Company and The Kroger Company, et al.                                         21TRCV00301


10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified information):




                                  The party or parties completing            If the party or parties completing this form in the case have agreed to
                                  this form are willing to                   participate in or have already completed an ADR process or processes,
                                  participate in the following ADR           indicate the status of the processes (attach a copy of the parties' ADR
                                  processes (check all that apply):          stipulation):
                                                                                      Mediation session not yet scheduled
                                                                                      Mediation session scheduled for (date):
    (1) Mediation
                                                                                      Agreed to complete mediation by (date):
                                                                                      Mediation completed on (date):

                                                                                      Settlement conference not yet scheduled
    (2) Settlement                                                                    Settlement conference scheduled for (date):
        conference                                                                    Agreed to complete settlement conference by (date):
                                                                                      Settlement conference completed on (date):

                                                                                      Neutral evaluation not yet scheduled
                                                                                      Neutral evaluation scheduled for (date):
   (3) Neutral evaluation
                                                                                      Agreed to complete neutral evaluation by (date):
                                                                                      Neutral evaluation completed on (date):

                                                                                      Judicial arbitration not yet scheduled
  (4) Nonbinding judicial                                                             Judicial arbitration scheduled for (date):
       arbitration                                                                    Agreed to complete judicial arbitration by (date):
                                                                                      Judicial arbitration completed on (date):

                                                                                      Private arbitration not yet scheduled
    (5) Binding private                                                               Private arbitration scheduled for (date):
        arbitration                                                                   Agreed to complete private arbitration by (date):
                                                                                      Private arbitration completed on (date):

                                                                                      ADR session not yet scheduled
                                                                                      ADR session scheduled for (date):
    (6) Other (specify):
                                                                                      Agreed to complete ADR session by (date):
                                                                                      ADR completed on (date):




CM-110 [Rev. September 1, 2021]                                                                                                                Page 3 of 5
                                                           CASE MANAGEMENT STATEMENT
     Case 2:22-cv-03593-DMG-PD Document 1 Filed 05/25/22 Page 190 of 203 Page ID #:190
                                                                                                                                                       CM-110
      PLAINTIFF/PETITIONER: Yosuke Hiradate, an individual, on behalf of himself and all others similarly situated.   CASE NUMBER:

 DEFENDANT/RESPONDENT: Ralph's Grocery Company and The Kroger Company, et al.                                         21TRCV00301

11. Insurance
    a.           Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights:                 Yes             No
    c.           Coverage issues will significantly affect resolution of this case (explain):




12. Jurisdiction
    Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
          Bankruptcy                 Other (specify):
    Status:

13. Related cases, consolidation, and coordination
    a.       There are companion, underlying, or related cases.
                 (1) Name of case:
                 (2) Name of court:
                 (3) Case number:
                 (4) Status:
                  Additional cases are described in Attachment 13a.

    b.            A motion to                consolidate                    coordinate            wiII be filed by (name party):

14. Bifurcation
            The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
            action (specify moving party, type of motion, and reasons):




15. Other motions

            The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):
            Motion for Class Certification; Motion for preliminary public injunctive relief under UCL, FAL, and CLRA.



16. Discovery
    a.            The party or parties have completed all discovery.
    b.            The following discovery will be completed by the date specified (describe all anticipated discovery):
                Party                                        Description                                                                        Date
    Plaintiff                                               Percipient depositions                                                   Per Code
    Plaintiff                                               Written discovery (RFPs, ROGs, RFPs)                                     Per Code
    Plaintiff                                               Expert discovery                                                         Per Code



    c.           The following discovery issues, including issues regarding the discovery of electronically stored information, are
                 anticipated (specify):




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                                                           CASE MANAGEMENT STATEMENT
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                                                                                                                                                         CM-110
      PLAINTIFF/PETITIONER: Yosuke Hiradate, an individual, on behalf of himself and all others similarly situated.   CASE NUMBER:

 DEFENDANT/RESPONDENT: Ralph's Grocery Company and The Kroger Company, et al.                                         21TRCV00301


17. Economic litigation
    a.            This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
                  of Civil Procedure sections 90-98 will apply to this case.
    b.            This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                  discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                  should not apply to this case):




18. Other issues
            The party or parties request that the following additional matters be considered or determined at the case management
            conference (specify):




19. Meet and confer
     a.           The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
                  of Court (if not, explain):




     b.          After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
                 (specify):




20. Total number of pages attached (if any): 0
I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required.

Date: May 17, 2022

Joshua A. Fields                                                                                   /s/ Joshua A. Fields
                            (TYPE OR PRINT NAME)                                                                      (SIGNATURE OF PARTY OR ATTORNEY)




                            (TYPE OR PRINT NAME)                                                                      (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                                      Additional signatures are attached.




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                                                        CASE MANAGEMENT STATEMENT
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    1                                 PROOF OF SERVICE
                         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    2
    3          I am employed in the County of Los Angeles, State of California; I am over the age of 18
        years and not a party to the within action; my business address is 9415 Culver Boulevard, #115,
    4   Culver City, CA 90232.
    5          On May 17, 2022, I caused the service of the following document(s) described as:
    6
                            PLAINTIFF’S CASE MANAGEMENT STATEMENT
    7
        on all interested parties in this action by the following means of service:
    8
    9   Jacob M. Harper
        jharper@dwt.com
   10   James H. Moon
        jamesmoon@dwt.com
   11   Peter K. Bae
   12   peterbae@dwt.com
        DAVIS WRIGHT TREMAINE LLP
   13   865 S Figueroa St, Ste 2400,
        Los Angeles, CA 90017
   14   Telephone: 213-633-6800
        Facsimile: 213-633-6899
   15
        Attorneys for Defendants RALPH’S GROCERY COMPANY, an Ohio Corporation;
   16   THE KROGER COMPANY, an Ohio Corporation.
   17
          X         [BY E-SERVICE] - Electronic Service through One Legal, LLC. I affected
   18               electronic service by submitting an electronic version of the documents to One
                    Legal, LLC, www.onelegal.com, which caused the documents to be sent by
   19               electronic transmission to the person(s) at the electronic service address(es) listed
                    above.
   20
   21     X          [STATE] I declare under penalty of perjury under the laws of the State of
                     California that the foregoing is true and correct.
   22
   23          Executed on May 17, 2022, at Culver City, California.
   24
   25                                ________________________________
                                               Carlos Gallegos
   26
   27
   28




                                                PROOF OF SERVICE
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    1   DAVIS WRIGHT TREMAINE LLP
          Jacob M. Harper (SBN 259463)
    2     jharper@dwt.com
          James H. Moon (SBN 268215)
    3
          jamesmoon@dwt.com
    4     Peter K. Bae (SBN 329158)
          peterbae@dwt.com
    5   865 South Figueroa Street, Suite 2400
        Los Angeles, California 90017-2566
    6   Telephone: (213) 633-6800
        Facsimile: (213) 633-6899
    7

    8   Attorneys for Defendants Ralphs Grocery
        Company and The Kroger Co.
    9
   10
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
   11
                                       COUNTY OF LOS ANGELES
   12

   13

   14   YOSUKE HIRADATE, an individual, on behalf Case No. 21TRCV00301
        of himself and all others similarly situated, Assigned to the Hon. Gary Y. Tanaka
   15
                                 Plaintiff,           NOTICE TO STATE COURT AND TO
   16                                                 ADVERSE PARTIES OF REMOVAL TO
               v.                                     FEDERAL COURT
   17

   18   RALPHS GROCERY COMPANY, an Ohio               Action Filed:      April 19, 2021
        Corporation; THE KROGER COMPANY, an           Trial Date:        n/a
   19   Ohio Corporation; and DOES 1-50, inclusive,
   20                            Defendants.
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             NOTICE TO STATE COURT AND ADVERSE PARTIES OF REMOVAL TO FEDERAL COURT
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    1 TO THE CLERK OF THE COURT AND TO ADVERSE PARTIES:

    2         PLEASE TAKE NOTICE THAT on May 25, 2022, Defendants Ralphs Grocery

    3 Company and The Kroger Co. (Defendants) filed a Notice of Removal of this action to the

    4 United States District Court for the Central District of California. A true and correct copy of the

    5 Notice of Removal in this action is attached hereto as Exhibit A and is served and filed herewith.

    6 The action has therefore been removed to the United States District Court for the Central District

    7 of California, and, pursuant to 28 U.S.C. § 1446(d), the State court action is stayed and “the State

    8 court shall proceed no further unless and until the case is remanded.”

    9
        DATED: May 25, 2022                           DAVIS WRIGHT TREMAINE LLP
   10

   11                                                 By:
   12                                                       Jacob M. Harper

   13                                                Attorneys for Defendants Ralphs Grocery
                                                     Company and The Kroger Co.
   14

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             NOTICE TO STATE COURT AND ADVERSE PARTIES OF REMOVAL TO FEDERAL COURT
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                   EXHIBIT A

       Omitted for Purposes of Notice of
 Removal to United States District Court
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    1                                        PROOF OF SERVICE

    2        I am employed in the County of Los Angeles, State of California. I am over the age of 18
      and not a party to the within action. My business address is Davis Wright Tremaine LLP, Suite
    3 2400, 865 South Figueroa Street, Los Angeles, California 90017-2566.

    4         On May 25, 2022, I served the foregoing document(s) described as: NOTICE TO
      STATE COURT AND TO ADVERSE PARTIES OF REMOVAL TO FEDERAL COURT
    5 as follows:

    6    Joshua A. Fields                                   Attorneys for Plaintiff Yosuke Hiradate
         Schonbrun Seplow Harris Hoffman & Zeldes,
    7    LLP
         501 W. Broadway, Suite 800
    8    San Diego, CA 92101
         jfields@sshhzlaw.com
    9    Tel: (619) 400-4990
         Fax: (310) 399-7040
   10
          X     (VIA MAIL) I placed such envelope(s) with postage thereon fully prepaid for deposit in
   11   the United States Mail in accordance with the office practice of Davis Wright Tremaine LLP, for
        collecting and processing correspondence for mailing with the United States Postal Service. I
   12   am familiar with the office practice of Davis Wright Tremaine LLP, for collecting and
        processing correspondence for mailing with the United States Postal Service, which practice is
   13   that when correspondence is deposited with the Davis Wright Tremaine LLP, personnel
        responsible for delivering correspondence to the United States Postal Service, such
   14   correspondence is delivered to the United States Postal Service that same day in the ordinary
        course of business.
   15
        X     (VIA EMAIL) By forwarding a portable document file to the electronic mail address(es)
   16 below  from  electronic mail address linapearmain@dwt.com, at Suite 2400, 865 South Figueroa
      Street, Los Angeles, California.
   17
              Executed on May 25, 2022, at Los Angeles, California.
   18
             State         I declare under penalty of perjury, under the laws of the State of California,
   19                       that the foregoing is true and correct.

   20         Federal      I declare under penalty of perjury under the laws of the United States of
                            America that the foregoing is true and correct and that I am employed in the
   21                       office of a member of the bar of this Court at whose direction the service
                            was made.
   22

   23                       Lina Pearmain
                             Print Name                                          Signature
   24

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                                                        2
              NOTICE TO STATE COURT AND ADVERSE PARTIES OF REMOVAL TO FEDERAL COURT
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